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BTXN 049 (rev. 03/15)
                                       UNITED STATES BANKRUPTCY COURT
                                         NORTHERN DISTRICT OF TEXAS


In Re:                                                       §
Highland Capital Management, L.P.                            §
                                                             §    Case No.: 19−34054−sgj11
                                   Debtor(s)                 §    Chapter No.: 11
Highland Capital Management Fund Advisors, L.P. and          §
NexPoint Advisors, L.P.                                      §
                                   Appellant(s)              §
      vs.                                                    §
Highland Capital Management, L.P.                            §
                                   Appellee(s)               §
                                                             §
                                                             §
                                                             §


                                          NOTICE OF TRANSMITTAL
I am transmitting:

                The Motion for leave to Appeal 28 U.S.C. § (USDC Civil Action No. DNC Case).
                The Motion for Stay Pending Appeal (USDC Action No. − DNC Case).
                The Proposed Findings of Fact and Conclusions of Law.
                The Motion to Extend Time To File Designation (USDC Civil Action No DNC Case).
                On , the Record on Appeal was transmitted. The designation of record or item(s) designated by
                were not filed when the record was transmitted. The item(s) were filed on awaiting instructions
                from the assigned district judge.
                Other
                Copies of: Notice of appeal, appealed orders [3671, 3672] and supporting documents

TO ALL ATTORNEYS: File all subsequent papers captioned and numbered with the appropriate division of the
United States District Clerk's Office. Any questions concerning this proceeding should be directed to the U.S. District
Clerk's Office at (214) 753−2200.



DATED: 3/15/23                                    FOR THE COURT:
                                                  Robert P. Colwell, Clerk of Court

                                                  by: /s/Sheniqua Whitaker, Deputy Clerk
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                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS




                        WITHDRAWAL OF REFERENCE SERVICE LIST
                                      Transmission of the Record
BK Case No.: 19−34054−sgj11

Received in District Court by:

Date:

Volume Number(s):

cc: Stacey G Jernigan
    Courtney Lauer
    Caroline Nowlin
    Attorney(s) for Appellant
    US Trustee




Appellant : Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors, L.P.

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Appellee Highland Capital Management, L.P.
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BTXN 150 (rev. 11/10)
In Re:                                                                                §
Highland Capital Management, L.P.                                                     §           Case No.: 19−34054−sgj11
                                                                                      §           Chapter No.: 11
                                                           Debtor(s)                  §



                                                              CIVIL CASE COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet.

             I. (a) APPELLANT                                                                     APPELLEE
                    Highland Capital Management Fund Advisors, L.P. and NexPoint                  Highland Capital Management, L.P.
                    Advisors, L.P.
                 (b) County of Residence of First Listed Party:                                   County of Residence of First Listed Party:
                     (EXCEPT IN U.S. PLAINTIFF CASES)                                             (IN U.S. PLAINTIFF CASES ONLY)
                 (c) Attorney's (Firm Name, Address, and Telephone Number)                        Attorney's (If Known)
                     Davor Rukavina                                                               Jeffrey N. Pomerantz
                     Julian P. Vasek                                                              Ira D. Kharasch
                     MUNSCH HARDT KOPF & HARR, P.C.                                               John A. Morris
                     3800 Ross Tower                                                              Gregory V. Demo
                     500 N. Akard Street                                                          Hayley R. Winograd
                     Dallas, Texas 75201−6659                                                     PACHULSKI STANG ZIEHL & JONES LLP
                     Telephone: (214) 855−7587                                                    10100 Santa Monica Blvd., 13th Floor
                                                                                                  Los Angeles, CA 90067
                                                                                                  Telephone: (310) 277−6910


             II. BASIS OF JURISDICTION
                                                                                                      Federal Question                     Diversity
                          U.S. Government                   U.S. Government
                                                                                                      (U.S. Government                     (Indicate Citizenship
                  1       Plaintiff                  2      Defendant                         3                                     4
                                                                                                      Not a Party)                         of Parties in Item III)


             III. CITIZENSHIP OF PRINCIPAL PARTIES
                                                                                   Incorporated or Principal Place
             Citizen of This State
                                                      1                1           of Business In This State                              4                     4
                                                                                   Incorporated and Principal Place
             Citizen of Another State
                                                      2                2           of Business In Another State                           5                     5
             Citizen or Subject of a
                                                                                   Foreign Nation
             Foreign Country                          3                3                                                                  6                     6


             IV. NATURE OF SUIT

                  422 Appeal 28 USC 158                      423 Withdrawal 28 USC 157                             890 Other Statutory Actions


             V. ORIGIN
                                                           Removed from State                                                                        Reinstated or
                        Original Proceeding                                                       Remanded from Appellate Court
                  1                                  2     Court                          3                                                    4     Reopened
                        Transferred from                   Multidistrict                          Appeal to District Judge from
                  5     another district             6     Litigation                     7       Magistrate Judgment


             VI. CAUSE OF ACTION
             Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
             422 Appeal 28 USC 158
             Brief description of cause:
             Notice of appeal of a bankruptcy court orde


             VII. REQUESTED IN COMPLAINT:
                                                                                                                   CHECK YES only if demanded in complaint:
                        CHECK IF THIS IS A CLASS ACTION UNDER F.R.C.P. 23                          DEMAND $
                                                                                                                   JURY DEMAND:                Yes         No


            VIII. RELATED CASE(S) IF ANY
                                                                                      Docket Number: 20−cv−3408, 21−cv−0538 ,21−cv−0539 ,21−cv−546,
                                                                                      21−cv−550, 21−cv−261, 21−cv−1295 ,21−cv−1979, 21−cv−2268,
            Judge:
                                                                                      22−cv−335, 22−cv−2051, 21−cv−1169 ,21−cv−1710, 21−cv−1974,
                                                                                      21−cv−1590, 22−cv−02697


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                              by: /s/Sheniqua Whitaker, Deputy Clerk
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 ATTORNEYS FOR HIGHLAND CAPITAL
 MANAGEMENT FUND ADVISORS, L.P. AND
 NEXPOINT ADVISORS, L.P.

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                               )
In re:                                                         )        Chapter 11
                                                               )
HIGHLAND CAPITAL MANAGEMENT, L.P.                              )        Case No. 19-34054 (SGJ11)
                                                               )
         Debtor.                                               )
                                                               )
                                                               )

                                       JOINT NOTICE OF APPEAL

         COME NOW Highland Capital Management Fund Advisors, L.P. and NexPoint Advisors,

L.P. (the “Appellants”), creditors and parties-in-interest in the above styled and numbered

bankruptcy case (the “Bankruptcy Case”) of Highland Capital Management, L.P. (the “Debtor”),

and, pursuant to 28 U.S.C. § 158(a), hereby appeal to the United States District Court for the

Northern District of Texas that certain Memorandum Opinion and Order on Reorganized Debtor’s

Motion to Conform Plan [DE #3503] entered by the Bankruptcy Court on February 27, 2023 at

docket no. 3671 in the Bankruptcy Case (the “Order”).1

         A copy of the Order is attached hereto as Exhibit “A.”


         1
           The Order is also entered at docket number 3672, apparently once as an order and once as a memorandum
opinion. To the extent necessary, the Appellants also appeal by this notice the same Order as entered at docket number
3672 in addition to as entered at docket number 3671.

JOINT NOTICE OF APPEAL—Page 1
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       The names of the parties to the Order, and the contact information for their attorneys, is as

follows:

1.     Appellants:

              Highland Capital Management Fund Advisors, L.P.
              NexPoint Advisors, L.P.

              Attorneys:

                      Davor Rukavina
                      Julian P. Vasek
                      MUNSCH HARDT KOPF & HARR, P.C.
                      3800 Ross Tower
                      500 N. Akard Street
                      Dallas, Texas 75201-6659
                      Telephone: (214) 855-7587
                      Facsimile: (214) 855-7584
                      Email: drukavina@munsch.com

2.     Appellee:

              Highland Capital Management, L.P.

              Attorneys:

                      Jeffrey N. Pomerantz
                      Ira D. Kharasch
                      John A. Morris
                      Gregory V. Demo
                      Hayley R. Winograd
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                              hwinograd@pszjlaw.com




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         RESPECTFULLY SUBMITTED this 13th day of March, 2023.

                                              MUNSCH HARDT KOPF & HARR, P.C.


                                              By: /s/ Davor Rukavina
                                                   Davor Rukavina, Esq.
                                                   Texas Bar No. 24030781
                                                   3800 Ross Tower
                                                   500 N. Akard Street
                                                   Dallas, Texas 75201-6659
                                                   Telephone: (214) 855-7500
                                                   Facsimile: (214) 855-7584
                                                   Email: drukavina@munsch.com

                                              ATTORNEYS FOR HIGHLAND CAPITAL
                                              MANAGEMENT FUND ADVISORS, L.P. AND
                                              NEXPOINT ADVISORS, L.P.




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 13th day of March, 2023, true and correct
copies of this document were electronically served by the Court’s ECF system on parties entitled
to notice thereof, including on counsel for the Appellee.

                                              By: /s/ Davor Rukavina
                                                     Davor Rukavina, Esq.




JOINT NOTICE OF APPEAL—Page 3
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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 27, 2023
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                            §
         In re:                                                                 Chapter 11
                                                                            §
                                                                            §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     Case No. 19-34054-sgj11
                                                                            §
                                                                            §
                                            Reorganized Debtor.
                                                                            §


         MEMORANDUM OPINION AND ORDER ON REORGANIZED DEBTOR’S MOTION
                          TO CONFORM PLAN [DE # 3503]


           I.        INTRODUCTION
                  This Memorandum Opinion and Order addresses a Motion to Conform Plan [DE # 3503]

     (“Motion”) filed by Highland Capital Management, L.P. (“Highland” or the “Reorganized

     Debtor”).1 The Motion was filed in response to a ruling of the United States Court of Appeals for

     the Fifth Circuit (“Fifth Circuit”) in connection with an appeal of the confirmation order on



                                        
     1
      The court will sometimes use the term “Debtor” when referring to Highland during the post-petition/pre-
     confirmation time period.

                                                             1
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                                                                                                        EXHIBIT "A"
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Highland’s Chapter 11 plan (“Plan”). As further explained herein, the Fifth Circuit affirmed the

confirmation order in all respects except the following: it determined that certain exculpations in

the Plan, as to certain parties, were impermissible pursuant to section 524(e) of the Bankruptcy

Code and should be stricken as to those parties. More specifically, the Fifth Circuit held that the

only parties properly entitled to Plan exculpations were: the Debtor, the Official Committee of

Unsecured Creditors (the “UCC”) and its members, and the “Independent Directors”2 (collectively,

the “Properly Exculpated Parties”). The Fifth Circuit then remanded “to the Bankruptcy Court for

further proceedings in accordance with the opinion of this Court.”3

        Accordingly, the Reorganized Debtor filed the Motion, proposing that the bankruptcy court

approve a scaled down defined term for “Exculpated Parties” in the Plan. This, says the

Reorganized Debtor, is all that the Fifth Circuit’s mandate required—i.e., a narrowing of the

defined universe of persons who received exculpations under the Plan.

        Three sets of parties objected to the Motion: (a) Highland Income Fund, NexPoint Strategic

Opportunities Fund, Highland Global Allocation Fund, and NexPoint Capital, Inc. (the “Funds”)

[DE # 3539]; (b) the Dugaboy Investment Trust (“Dugaboy”)4 [DE # 3540]; and (c) NexPoint

Advisors, L.P. and Highland Capital Management Fund Advisors, L.P. (the “Advisors”) [DE #

3551].5 These objectors argue that the Fifth Circuit’s ruling requires more surgery on the Plan

than simply narrowing the defined term for “Exculpated Parties.” The Reorganized Debtor

disagreed in a Reply [DE # 3566], and the court thereafter held a hearing to allow oral argument.

The court gave an oral ruling from the bench at the hearing, stating that the Reorganized Debtor’s

                                   
2
  The Independent Directors—consisting of James P. Seery, Jr., John Dubel, and Retired Bankruptcy Judge Russell
Nelms—were appointed by the bankruptcy court and were comparable to “quasi-trustees.”
3
  NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
4
  Dugaboy is a family trust of James Dondero (“Mr. Dondero”), the co-founder and former CEO of the Debtor.
5
  It has been conceded at prior hearings that the Advisors are controlled by Mr. Dondero. The court assumes that is
still the case.

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proposal of simply changing the defined term in the Plan for “Exculpated Parties” would seem to

properly address the Fifth Circuit’s ruling and mandate, but the parties asked the court to draft a

formal written Order providing its reasoning, for the parties’ benefit and in case there were appeals

of the court’s ruling on the Motion. This constitutes the court’s written ruling.

    II.      RELEVANT BACKGROUND

          On October 16, 2019, Highland filed a voluntary petition for relief under chapter 11 of the

Bankruptcy Code. On February 22, 2021, the bankruptcy court entered a Confirmation Order [DE

# 1943] confirming the Fifth Amended Plan of Reorganization of Highland Capital Management,

L.P. (as Modified) [Docket No. 1808] (as subsequently modified, the “Plan”). The Confirmation

Order was appealed by the Funds, the Advisors, Dugaboy, the Get Good Trust (the latter of which

is another family trust of Mr. Dondero), and Mr. Dondero in his individual capacity (“Appellants”)

[DE ## 1957, 1966, 1970, 1972]. Appellants’ appeal was certified for direct appeal to the Fifth

Circuit.

          On August 19, 2022, the Fifth Circuit issued an opinion (the “Initial Fifth Circuit

Opinion”)6 and a judgment (“Judgment”) affirming in substantial part the Confirmation Order,

stating that it reversed “only insofar as the plan exculpates certain non-debtors in violation of 11

U.S.C. § 524(e),” and would “strike those few parties from the plan’s exculpation, and affirm on

all remaining grounds.”7 The Fifth Circuit remanded to the bankruptcy court “for further

proceedings in accordance with the opinion of this Court.”8




                                   
6
  NexPoint v. Highland Capital Management, 2022 WL 3571094, Case No. 21-10449, slip opinion previously
available at DE # 194 (5th Cir. Aug. 19, 2022). The Initial Fifth Circuit Opinion was attached to the Funds’
objection to the Motion as an Exhibit A [DE # 3539].
7
  Id. at p. 2.
8
  Id.

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         On September 2, 2022, the Funds filed a short (four-and-one-half pages) motion for

rehearing at the Fifth Circuit (the “Motion for Rehearing”).9 This was on the Friday before Labor

Day. The Funds requested “that the Court narrowly amend the [Initial Fifth Circuit] Opinion in

order to confirm the Court’s holding that the impermissibly exculpated parties are similarly struck

from the protections of the injunction and gatekeeper provisions of the plan (in other words, that

such parties cannot constitute ‘Protected Parties’).” As later explained, the Plan contained distinct

“Exculpation,” “Injunctions,” and “Gatekeeper” provisions. On September 7, 2022 (the Tuesday

after Labor Day), the Fifth Circuit granted the Motion for Rehearing and, without entertaining

responses or oral argument, withdrew the Initial Fifth Circuit Opinion and entered a substituted

opinion (the “Final Fifth Circuit Opinion”).10 The Final Fifth Circuit Opinion replaced only one

sentence that had been in the Initial Fifth Circuit Opinion:

         “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful” 11

         with the following sentence:

         “We now turn to the Plan’s injunction and gatekeeper provisions.” 12

         However, in the Final Fifth Circuit Opinion, same as the Initial Fifth Circuit Opinion, the

Fifth Circuit stated that, with regard to the Confirmation Order, the panel would “reverse only

insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strike those

few parties from the plan’s exculpation, and affirm on all remaining grounds.”13 To be clear, no



                                    
9
  DE # 3539, Exhibit C thereto.
10
   NexPoint v. Highland Capital Management, 48 F.4th 419, Case No. 21-10449, slip opinion at DE # 210 (5th Cir.
Sep. 7, 2022). The Final Fifth Circuit Opinion was attached to the Funds’ objection to the Motion as an Exhibit C
[DE # 3539]. Most subsequent references to the Final Fifth Circuit Opinion will cite to the published version of it in
the West Reporter Service, appearing at 48 F.4th 419.
11
   See slip opinion, at p. 27 [DE # 3539, Exhibit A thereto].
12
   See Final Fifth Circuit Opinion, slip opinion at p. 28 [DE # 3539, Exhibit C thereto]. 48 F.4th at 438.
13
   48 F.4th at 424.

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findings, discussion, or rulings regarding the injunction and gatekeeper provisions that were in the

Initial Fifth Circuit Opinion were disturbed.

            The Fifth Circuit’s docket reflects that it issued its Judgment and a mandate on September

12, 2022, remanding “to the Bankruptcy Court for further proceedings in accordance with the

opinion of this Court.”14

            On October 7, 2022, the Fifth Circuit denied a motion by certain Appellants for a stay of

the mandate.15

            Thereafter, on January 10 and 23, 2023, petitions for writ of certiorari to the United States

Supreme Court were filed by the Reorganized Debtor and certain Appellants.16 There being no

stay of the Final Fifth Circuit Opinion or the mandate, this court now issues this ruling on the

Motion.

     III.      JURISDICTION

            The bankruptcy court has jurisdiction to rule on the Motion pursuant to the mandate of the

Fifth Circuit issued on September 12, 2022. Furthermore, the underlying statutory authority that

is applicable is 11 U.S.C. §§ 105(a) and 1142.

     IV.       THE PLAN PROVISIONS THAT ARE CONCEIVABLY AT ISSUE

            To put the relief sought in the Motion and the objections thereto into proper context, a

review of three sets of Plan provisions is appropriate. First, the exculpation provisions. Second,

the injunction provisions. Third, the gatekeeping provisions. These all had distinct functions;




                                   
14
   NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
15
   Id. at DE # 222 (5th Cir. Oct. 7, 2022).
16
   Id. at DE ## 227 & 228 (5th Cir. Jan. 10 & 23, 2023).

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they were not in any way redundant. Sometimes they have been collectively referred to as the

“Protection Provisions.”

       Exculpations. The Plan addressed Exculpation at Article IX.C thereof. The “Exculpation”

provision, in pertinent part, stated as follows:

                Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
       extent permitted by applicable law, no Exculpated Party will have or incur, and
       each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
       judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability
       for conduct occurring on or after the Petition Date in connection with or arising
       out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
       and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
       confirmation of, the Plan; (iii) the funding or consummation of the Plan (including
       the Plan Supplement) or any related agreements, instruments, or other documents,
       the solicitation of votes on the Plan, the offer, issuance, and Plan Distribution of
       any securities issued or to be issued pursuant to the Plan, including the Claimant
       Trust Interests, whether or not such Plan Distributions occur following the Effective
       Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions,
       and documentation in connection with the foregoing clauses (i)-(iv); provided,
       however, the foregoing will not apply to (a) any acts or omissions of an
       Exculpated Party arising out of or related to acts or omissions that constitute bad
       faith, fraud, gross negligence, criminal misconduct, or willful misconduct or (b)
       Strand or any Employee other than with respect to actions taken by such Entities
       from the date of appointment of the Independent Directors through the Effective
       Date. This exculpation shall be in addition to, and not in limitation of, all other
       releases, indemnities, exculpations, any other applicable law or rules, or any other
       provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
       Parties from liability. (Emphasis added.)



       The Plan had a defined term for “Exculpated Parties,” at Article I.B.62 that read as follows:

                “Exculpated Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the
       Committee, (vi) the members of the Committee (in their official capacities), (vii)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (viii) the CEO/CRO; and (ix) the Related Persons of each of the parties listed in
       (iv) through (viii); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its

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       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       Highland Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
       managed entities), NexBank, SSB (and any of its subsidiaries), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy
       Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
       the term “Exculpated Party.”


       Simply stated, the Exculpation Provisions shielded a specified list of parties from any

negligence liability for post-petition conduct in connection with the Highland Chapter 11 cases.

The provisions effectuated an absolution of liability for the Exculpated Parties—but, again, only

for mere negligent conduct occurring on or after the Petition Date and in connection with the case.

It is also notable that the Exculpation Provisions deal only with pre-Effective Date Parties (i.e.,

not any parties created by the terms of the Plan, such as the Litigation Trustee or Claimant Trustee).

        Injunctions. The Plan addresses Injunctions at Article IX.F, in the first three paragraphs

thereof. The “Injunctions” provision, in pertinent part, stated as follows:

               Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, from taking any actions to
       interfere with the implementation or consummation of the Plan.
               Except as expressly provided in the Plan, the Confirmation Order, or a
       separate order of the Bankruptcy Court, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, with respect to any Claims
       and Equity Interests, from directly or indirectly (i) commencing, conducting, or
       continuing in any manner any suit, action, or other proceeding of any kind
       (including any proceeding in a judicial, arbitral, administrative or other forum)
       against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
       levying, attaching (including any prejudgment attachment), collecting, or otherwise
       recovering, enforcing, or attempting to recover or enforce, by any manner or means,
       any judgment, award, decree, or order against the Debtor or the property of the
       Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
       security interest, lien or encumbrance of any kind against the Debtor or the
       property of the Debtor, (iv) asserting any right of setoff, directly or indirectly,
       against any obligation due to the Debtor or against property or interests in property
       of the Debtor, except to the limited extent permitted under Sections 553 and 1141
       of the Bankruptcy Code, and (v) acting or proceeding in any manner, in any place
       whatsoever, that does not conform to or comply with the provisions of the Plan.

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                 The injunctions set forth herein shall extend to, and apply to any act of the
         type set forth in any of clauses (i)-(v) of the immediately preceding paragraph
         against any successors of the Debtor, including, but not limited to, the Reorganized
         Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective
         property and interests in property. (Emphasis added.)


         The Plan had a defined term for “Enjoined Parties,” at Article I.B.56 that read as follows:

                 “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
         Claims against or Equity Interests in the Debtor (whether or not proof of such
         Claims or Equity Interests has been filed and whether or not such Entities vote in
         favor of, against or abstain from voting on the Plan or are presumed to have
         accepted or deemed to have rejected the Plan), (ii) James Dondero (“Dondero”),
         (iii) any Entity that has appeared and/or filed any motion, objection, or other
         pleading in this Chapter 11 Case regardless of the capacity in which such Entity
         appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
         Persons17 of each of the foregoing.


         Simply stated, the injunctions were not a release, or absolution of liability, or exculpation

per se, but were, rather, an equitable device aimed at: (a) enforcing the discharge of the Debtor;

(b) protecting the Debtor’s property dealt with by the Plan; and (c) preventing interference with

implementation of the Plan. It was directed to claimants, equity interest holders, those who had

participated in the Chapter 11 Case (including Mr. Dondero) and parties related to them. In sum—

similar to so many Chapter 11 plans that this court sees—this provision was “belts and suspenders”

to the Plan discharge and was essentially a policing mechanism to deter actions in violations of

the discharge or otherwise inconsistent with the Plan.

         Gatekeeper Provisions. The Plan set forth gatekeeper provisions in the fourth paragraph

of Article IX.F, although the gatekeeper provision did not use this title. This provision was very




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  “Related Entity” and “Related Persons” were defined terms under the Plan, but the definitions will not be set forth
herein, because they are not deemed relevant to the court’s analysis.

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much part and parcel to the Injunctions (which explains why it is located in the same section of

the Plan). The provision stated:

               Subject in all respects to ARTICLE XII.D, no Enjoined Party may
       commence or pursue a claim or cause of action of any kind against any Protected
       Party that arose or arises from or is related to the Chapter 11 Case, the
       negotiation of the Plan, the administration of the Plan or property to be
       distributed under the Plan, the wind down of the business of the Debtor or
       Reorganized Debtor, the administration of the Claimant Trust or the Litigation
       Sub-Trust, or the transactions in furtherance of the foregoing without the
       Bankruptcy Court (i) first determining, after notice and a hearing, that such claim
       or cause of action represents a colorable claim of any kind, including, but not
       limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or
       gross negligence against a Protected Party and (ii) specifically authorizing such
       Enjoined Party to bring such claim or cause of action against any such Protected
       Party; provided, however, the foregoing will not apply to a claim or cause of action
       against Strand or against any Employee other than with respect to actions taken,
       respectively, by Strand or by such Employee from the date of appointment of the
       Independent Directors through the Effective Date. The Bankruptcy Court will
       have sole and exclusive jurisdiction to determine whether a claim or cause of
       action is colorable and, only to the extent legally permissible and as provided for
       in ARTICLE XI, shall have jurisdiction to adjudicate the underlying colorable
       claim or cause of action. (Emphasis added.)


       The Plan had a defined term for “Protected Parties” as follows:

               “Protected Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the
       Independent Directors, (vi) the Committee, (vii) the members of the Committee (in
       their official capacities), (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the
       Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the members of the Claimant
       Trust Oversight Committee (in their official capacities), (xiii) New GP LLC, (xiv)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in
       (iv) through (xv); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
       Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy


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         Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
         the term “Protected Party.”



         Notably, the list of “Protected Parties” was not identical to the list of “Exculpated Parties.”

Namely, the “Protected Parties” list included several parties that were not even in existence prior

to confirmation—such as the Claimant Trustee, Claimant Trust Oversight Board, and Litigation

Trustee. In any event, simply put, the Gatekeeper Provision was somewhat of a tool to deal with

any future, potential lawsuits that might be deemed to run afoul of the Injunctions. It did not

effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname implies,

it simply provided that a plaintiff would have to ask the gatekeeper before bringing a claim. No

one would be allowed to bring a claim against a defined universe of “Protected Parties” without

first asking the bankruptcy court. The bankruptcy court would have to determine, after notice, that

such claim or cause of action represents a colorable claim against a Protected Party and specifically

authorize such plaintiff to bring such claim against any such Protected Party. If the bankruptcy

court were to deny permission, then, presumably, such denial could be appealed.

         The Confirmation Order addressed Exculpation, the Injunctions, and the Gatekeeper

Provisions at length at pages 48-59.

    V.      THE RELIEF SOUGHT IN THE MOTION TO CONFORM PLAN

         As noted earlier, in the Motion, the Reorganized Debtor proposes that only one change is

needed to make the Plan compliant with the Fifth Circuit’s ruling: narrow the defined term for

“Exculpated Parties” to read as follows:

                 “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the
         Independent Directors, (iii) the Committee, and (iv) members of the Committee (in
         their official capacities).


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         The Reorganized Debtor states that this one simple revision of this defined term “directly

addresses all instances of exculpation deemed by the Fifth Circuit to violate section 524(e) of the

Bankruptcy Code, and no other changes” are required to conform the Plan and Confirmation Order

to the Final Fifth Circuit Opinion.18

         The Funds’ Opposition. The Funds support the revision of the defined term “Exculpated

Parties,” as proposed by the Reorganized Debtor, but they argue that the defined term “Protected

Parties” must likewise be revised to “fully implement[ ] the mandate of the Fifth Circuit . . . .” 19

The Funds point to their Motion for Rehearing filed at the Fifth Circuit, wherein they expressed

concern that “the Court’s statement that the injunction and gatekeeper provisions are ‘perfectly

lawful,’ might be argued to mean that the injunction and gatekeeper provisions – without any

tailoring – are allowed to stand.”20 The Funds specifically asked the Fifth Circuit panel to revise

its opinion to clarify and “to confirm the Court’s holding that the impermissibly exculpated parties

are similarly struck from the protections of the injunction and gatekeeper provisions of the Plan

(in other words, that such parties cannot constitute ‘Protected Parties’), such that the injunction

and gatekeeper provisions extend only to Highland Capital, the Committee and its members, and

the Independent Directors.”21 The Funds’ argue that the fact that the panel granted the Motion for

Rehearing and removed the “perfectly lawful” sentence (replacing it with the sentence noted

above) and otherwise left the language unchanged means that the panel agreed with the Funds’

interpretation of the Initial Fifth Circuit Opinion that “the parties protected by the injunction and



                                     
18
   DE # 3503, ¶ 11.
19
   DE # 3539, ¶ 3.
20
   DE # 3539, ¶ 5.
21
   DE # 3539, Exhibit B thereto, at ¶ 3.

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gatekeeper provisions (the Protected Parties) must similarly be limited to the Properly Exculpated

Parties – Highland, the Committee and its members, and the Independent Directors.”22

Accordingly, the Funds request that, in addition to narrowing the defined term “Exculpated

Parties,” the bankruptcy court order a similar narrowing of the defined term “Protected Parties” to

read:

                “Protected Parties” means, collectively, (i) the Debtor, (ii) the Independent
        Directors, (iii) the Committee, and (iv) members of the Committee (in their official
        capacities).23


        Dugaboy’s Opposition. Dugaboy filed a short Joinder simply adopting the arguments of

the Funds.24

        The Advisors’ Opposition. The Advisors filed an Objection adopting the Funds’ Response

but requesting two additional revisions to the Plan.25 First, the Advisors proposed fully deleting

the provision in the Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims

against successors of the Debtor who are not entitled to limited qualified immunity under” the

Final Fifth Circuit Opinion.26 Second, the Advisors proposed “carv[ing] out from the gatekeeping

provision of the injunction those suits that are expressly allowed by 28 U.S.C. § 959(a),” by

“amend[ing] the fourth paragraph of Article IX.F of the Plan by excepting from the gatekeeping

provisions actions that relate to the Independent Directors or Debtor ‘carrying on business

connected with [their] property’ as provided in § 959(a).” With respect to the “carve out” request,

the Advisors point to footnote 18 of the Final Fifth Circuit Opinion, which states, “[W]e also leave



                               
22
   DE # 3539, ¶ 14.
23
   DE # 3539, ¶ 19.
24
   DE # 3540.
25
   DE # 3551.
26
   Id. at ¶ 6.

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the applicability of Barton’s27 limited statutory exception to the bankruptcy and district courts in

the first instance.”28

           Highland’s Reply.        Highland replied to all of this by arguing that the Motion for

Rehearing—and what the Funds asked for therein—is hugely significant. The Funds specifically

requested, in their Motion for Rehearing, that the Fifth Circuit panel (a) limit the definition of

“Protected Parties” in the same way that it did with respect to the parties entitled to exculpation,

and (b) “tailor” the injunction and gatekeeper provisions, in order to confirm that the Fifth Circuit

meant to narrow the parties covered by the injunctions and gatekeeper provisions of the Plan. The

Fifth Circuit did none of those things when it granted the Motion for Rehearing; it simply deleted

the sentence stating that the gatekeeper provisions and injunction are “perfectly lawful” and

otherwise left its initial affirmance of the gatekeeper provisions and injunctions intact. Highland

argues that “the Fifth Circuit . . . clarified that the Injunction was ‘sound’ but not ‘perfectly lawful’”

and that nothing in the Final Fifth Circuit Opinion supports the position that the Fifth Circuit

intended to limit the Protected Parties that are protected by the Gatekeeper Provision from

“harassing and frivolous litigation.” Highland further argues that, since the Gatekeeper Provision

is not a release, it does not implicate § 524(e), but is necessary to prevent harassment.

     VI.      RULING ON MOTION TO CONFORM PLAN

           The court grants the request of the Reorganized Debtor, holding that the only thing that

needs to be done in response to the Final Fifth Circuit Opinion and mandate is to change the defined

term for “Exculpated Parties,” at Art. I.B.62 of the Plan as follows:



                                     
27
   This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
28
   48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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         “‘Exculpated Parties’ means, collectively, (i) the Debtor, (ii) the Independent
         Directors, (iii) the Committee, and (iv) the members of the Committee (in their
         official capacities).”


         In so holding, this court has scoured the Final Fifth Circuit Opinion to be clear what

language survived and to discern what the Court did or did not find problematic with the Plan

Protections. In that regard, this court notes the following:

         On Page 429, the Fifth Circuit states:

               We then turn to the merits, conclude the Plan exculpates certain non-debtors
         beyond the bankruptcy court’s authority, and affirm in all other respects.29


         On Page 432, the Court states:

                  We do, however, agree with Appellants that the bankruptcy court exceeded
         its statutory authority under § 524(e) by exculpating certain non-debtors, and so we
         reverse and vacate the Plan only to that extent.30



         On Page 435, the Fifth Circuit states, before launching into a discussion of the various type

of Plan Protections:

                 The bankruptcy court deemed the provisions legal, necessary under the
         circumstances, and in the best interest of all parties. We agree, but only in part.
         Though the injunction and gatekeeping provisions are sound, the exculpation of
         certain non-debtors exceeds the bankruptcy court’s authority. We reverse and
         vacate that limited portion of the Plan. . . . In a Chapter 11 bankruptcy proceeding,
         ‘‘discharge of a debt of the debtor does not affect the liability of any other entity
         on, or the property of any other entity for, such debt.’’ 11 U.S.C. § 524(e). Contrary
         to the bankruptcy court’s holding, the exculpation here partly runs afoul of that
         statutory bar on non-debtor discharge by reaching beyond Highland Capital, the
         Committee, and the Independent Directors. See Pacific Lumber, 584 F.3d at 251–
         53. We must reverse and strike the few unlawful parts of the Plan’s exculpation
         provision.31

                                
29
   48 F.4th at 429.
30
   Id. at 432.
31
   Id. at 435.

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         On pages 437-438, in wrapping up its discussion of the Exculpation Provisions, the Fifth

Circuit states:

                 In sum, our precedent and § 524(e) require any exculpation in a Chapter 11
         reorganization plan be limited to the debtor, the creditors’ committee and its
         members for conduct within the scope of their duties, 11 U.S.C. § 1103(c), and the
         trustees within the scope of their duties, see Baron, 914 F.3d at 993. And so,
         excepting the Independent Directors and the Committee members, the exculpation
         of non-debtors here was unlawful. Accordingly, the other non-debtor exculpations
         must be struck from the Plan. See Pacific Lumber, 584 F.3d at 253.
                 As it stands, the Plan’s exculpation provision extends to Highland Capital
         and its employees and CEO; Strand; the Reorganized Debtor and HCMLP GP LLC;
         the Independent Directors; the Committee and its members; the Claimant Trust, its
         trustee, and the members of its Oversight Board; the Litigation Sub-Trust and its
         trustee; professionals retained by the Highland Capital and the Committee in this
         case; and all ‘‘Related Persons.’’ Consistent with § 524(e), we strike all exculpated
         parties from the Plan except Highland Capital, the Committee and its members, and
         the Independent Directors.32



         On page 438, immediately after the previously quoted language, the next section of the

Final Fifth Circuit Opinion has a subheading “Injunction & Gatekeeper Provisions,”

and then states:

                We now turn to the Plan’s injunction and gatekeeper provisions.
         Appellants object to the bankruptcy court’s injunction as vague and the gatekeeper
         provision as overbroad. We are unpersuaded.33


         Note that the bolded sentence above is the only new sentence in the Final Fifth Circuit

Opinion, and it replaced a previous sentence that read: “The injunction and gatekeeper provisions

are on the other hand, perfectly lawful.”



                                  
32
   Id. at 437-38.
33
   Id. at 438 (emphasis added).

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          Finally, in the penultimate paragraph of the entire Final Fifth Circuit Opinion, the Fifth

Circuit states:

                  In sum, the Plan violates § 524(e), but only insofar as it exculpates and
          enjoins certain non-debtors. The exculpatory order is therefore vacated as to all
          parties except Highland Capital, the Committee and its members, and the
          Independent Directors for conduct within the scope of their duties. We otherwise
          affirm the inclusion of the injunction and the gatekeeper provisions in the Plan.



          On balance, this court does not know how it could be clearer, that the Fifth Circuit was

holding that the exculpations of certain parties violated section 524(e), but the other Plan

Protections were “sound.”34

          Of course, this still begs the question: what might the Fifth Circuit have meant in replacing

the sentence “The injunction and gatekeeper provisions are on the other hand, perfectly lawful”

with the sentence “We now turn to the Plan’s injunction and gatekeeper provisions”?35

          It is certainly awkward for this court to attempt to be a mind-reader regarding editorial or

wordsmithing decisions undertaken by the Fifth Circuit. All this court can be sure of is that the

Fifth Circuit declined the Funds' request, in their Motion for Rehearing, to strike or modify the

defined term “Protected Parties” (that pertains to the Gatekeeper Provision) so that it would be

coterminous with the defined term “Exculpated Parties.” The Fifth Circuit did not modify the

Gatekeeper Provision or its applicable definition of “Protected Parties” in any way, let alone in the

manner that the Funds requested. And the Fifth Circuit did not include anything in its Final Fifth

Circuit Opinion to indicate that the panel agreed with the Funds’ analysis.




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34
   Id. at 435.
35
   Id. at 438.

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       Moreover, limiting the definition of “Protected Parties” to be coterminous with the defined

term “Exculpated Parties” would mean that the Gatekeeper Provision would have no effect on any

conduct that occurs after the Plan Effective Date. Why? Because the persons included in the

defined term “Exculpated Parties”—as now limited by the Fifth Circuit’s ruling to include only

the Debtor, the UCC, the UCC members, and Independent Directors—are all gone now. They

all ceased to exist on the Effective Date. Additionally, the Debtor would not even need a

Gatekeeper Provision for pre-Effective Date conduct because the Debtor was discharged. The

Gatekeeper Provision is largely forward-looking, to prevent interference with post-Effective-Date

management as they consummate the Plan, wind down the assets, and administer the Claimant

Trust and the Litigation Sub-Trust. As noted, the defined term for “Protected Parties” includes

several parties that did not even exist pre-confirmation such as the Claimant Trustee, Claimant

Trust Oversight Board, and Litigation Trustee. It is mostly a tool to deal with any future, potential

lawsuits that might be deemed to run afoul of Plan implementation. The Gatekeeper Provision did

not effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname

implies, it simply provided that a plaintiff would have to ask the gatekeeper before bringing a

claim against the defined universe of “Protected Parties.” If such a request is made, the bankruptcy

court will determine, after notice, whether such claim or cause of action represents a colorable

claim against a Protected Party and specifically authorize such plaintiff to bring such claim against

any such Protected Party. If the bankruptcy court denies permission, then, presumably, such denial

could be appealed.

       The bankruptcy court humbly suggests that the Fifth Circuit well understood all of this.

Perhaps they deleted the one sentence out of concern that there might be something in the

Injunction Provisions that ran afoul of the new, narrowed defined term for “Exculpated Parties”—


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for example, the catchall clause at Article IX.F(v) of the Injunction Provision. Specifically, that

catchall clause, appearing after the injunctions of all sorts of conduct against the Debtor or its

property, also enjoins parties from “(v) acting or proceeding in any manner, in any place

whatsoever, that does not conform to or comply with the provisions of the Plan.” Perhaps the

Fifth Circuit thought this injunctive language was a little vague or broad, but it had fixed any

problem with it, by making clear that no one was absolved from any liability except the Debtor,

the UCC, the UCC members, and the Independent Directors. The Fifth Circuit had fixed any

problem with the cause by ruling that the defined term “Exculpated Parties” was too broad.

       But perhaps the Fifth Circuit was simply making a stylistic edit—maybe they thought the

words “perfectly lawful” may have sounded a bit too rosy or glowing, with regard to gatekeeper

provisions generally, and they did not want to suggest that they had blessed them for every plan in

the future, no matter what the facts and circumstances were. Perhaps the word “sound” seemed

more measured and case-specific than the words “perfectly lawful.”

       In any event, in light of the Fifth Circuit keeping intact, in its Final Fifth Circuit Opinion,

the language that the “the injunction and gatekeeping provisions are sound,” this court sees no

need to tailor those provisions in any manner. This tailoring request was made to the Fifth Circuit

in the Motion for Rehearing, and they declined.

       Finally, with regard to the Advisors’ request that this court delete the provision in the

Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims against successors

of the Debtor who are not entitled to limited qualified immunity” pursuant to the Final Fifth Circuit

Opinion and “carve out from the gatekeeping provision . . . those suits that are expressly allowed

by 28 U.S.C. § 959(a),” the bankruptcy court declines this request. This court does not read

footnote 18 of the Fifth Circuit’s Final Opinion, which states, “[W]e also leave the applicability of

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Barton’s36 limited statutory exception to the bankruptcy and district courts in the first instance,”37

as necessitating any modification to the Plan whatsoever.

     VII.    CONCLUSION

     The court grants the Motion and orders that one change be made to the Plan to conform it to

the mandate of the Fifth Circuit: revise the definition of “Exculpated Parties” as proposed in the

Motion and no more.

                  # # # END OF MEMORANDUM OPINION AND ORDER # # #




                                     
36
   This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
37
   48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 27, 2023
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                            §
         In re:                                                                 Chapter 11
                                                                            §
                                                                            §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     Case No. 19-34054-sgj11
                                                                            §
                                                                            §
                                         Reorganized Debtor.
                                                                            §


         MEMORANDUM OPINION AND ORDER ON REORGANIZED DEBTOR’S MOTION
                          TO CONFORM PLAN [DE # 3503]


           I.        INTRODUCTION
                  This Memorandum Opinion and Order addresses a Motion to Conform Plan [DE # 3503]

     (“Motion”) filed by Highland Capital Management, L.P. (“Highland” or the “Reorganized

     Debtor”).1 The Motion was filed in response to a ruling of the United States Court of Appeals for

     the Fifth Circuit (“Fifth Circuit”) in connection with an appeal of the confirmation order on




     1
      The court will sometimes use the term “Debtor” when referring to Highland during the post-petition/pre-
     confirmation time period.

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Highland’s Chapter 11 plan (“Plan”). As further explained herein, the Fifth Circuit affirmed the

confirmation order in all respects except the following: it determined that certain exculpations in

the Plan, as to certain parties, were impermissible pursuant to section 524(e) of the Bankruptcy

Code and should be stricken as to those parties. More specifically, the Fifth Circuit held that the

only parties properly entitled to Plan exculpations were: the Debtor, the Official Committee of

Unsecured Creditors (the “UCC”) and its members, and the “Independent Directors”2 (collectively,

the “Properly Exculpated Parties”). The Fifth Circuit then remanded “to the Bankruptcy Court for

further proceedings in accordance with the opinion of this Court.”3

        Accordingly, the Reorganized Debtor filed the Motion, proposing that the bankruptcy court

approve a scaled down defined term for “Exculpated Parties” in the Plan. This, says the

Reorganized Debtor, is all that the Fifth Circuit’s mandate required—i.e., a narrowing of the

defined universe of persons who received exculpations under the Plan.

        Three sets of parties objected to the Motion: (a) Highland Income Fund, NexPoint Strategic

Opportunities Fund, Highland Global Allocation Fund, and NexPoint Capital, Inc. (the “Funds”)

[DE # 3539]; (b) the Dugaboy Investment Trust (“Dugaboy”)4 [DE # 3540]; and (c) NexPoint

Advisors, L.P. and Highland Capital Management Fund Advisors, L.P. (the “Advisors”) [DE #

3551].5 These objectors argue that the Fifth Circuit’s ruling requires more surgery on the Plan

than simply narrowing the defined term for “Exculpated Parties.” The Reorganized Debtor

disagreed in a Reply [DE # 3566], and the court thereafter held a hearing to allow oral argument.

The court gave an oral ruling from the bench at the hearing, stating that the Reorganized Debtor’s


2
  The Independent Directors—consisting of James P. Seery, Jr., John Dubel, and Retired Bankruptcy Judge Russell
Nelms—were appointed by the bankruptcy court and were comparable to “quasi-trustees.”
3
  NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
4
  Dugaboy is a family trust of James Dondero (“Mr. Dondero”), the co-founder and former CEO of the Debtor.
5
  It has been conceded at prior hearings that the Advisors are controlled by Mr. Dondero. The court assumes that is
still the case.

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proposal of simply changing the defined term in the Plan for “Exculpated Parties” would seem to

properly address the Fifth Circuit’s ruling and mandate, but the parties asked the court to draft a

formal written Order providing its reasoning, for the parties’ benefit and in case there were appeals

of the court’s ruling on the Motion. This constitutes the court’s written ruling.

    II.      RELEVANT BACKGROUND

          On October 16, 2019, Highland filed a voluntary petition for relief under chapter 11 of the

Bankruptcy Code. On February 22, 2021, the bankruptcy court entered a Confirmation Order [DE

# 1943] confirming the Fifth Amended Plan of Reorganization of Highland Capital Management,

L.P. (as Modified) [Docket No. 1808] (as subsequently modified, the “Plan”). The Confirmation

Order was appealed by the Funds, the Advisors, Dugaboy, the Get Good Trust (the latter of which

is another family trust of Mr. Dondero), and Mr. Dondero in his individual capacity (“Appellants”)

[DE ## 1957, 1966, 1970, 1972]. Appellants’ appeal was certified for direct appeal to the Fifth

Circuit.

          On August 19, 2022, the Fifth Circuit issued an opinion (the “Initial Fifth Circuit

Opinion”)6 and a judgment (“Judgment”) affirming in substantial part the Confirmation Order,

stating that it reversed “only insofar as the plan exculpates certain non-debtors in violation of 11

U.S.C. § 524(e),” and would “strike those few parties from the plan’s exculpation, and affirm on

all remaining grounds.”7 The Fifth Circuit remanded to the bankruptcy court “for further

proceedings in accordance with the opinion of this Court.”8




6
  NexPoint v. Highland Capital Management, 2022 WL 3571094, Case No. 21-10449, slip opinion previously
available at DE # 194 (5th Cir. Aug. 19, 2022). The Initial Fifth Circuit Opinion was attached to the Funds’
objection to the Motion as an Exhibit A [DE # 3539].
7
  Id. at p. 2.
8
  Id.

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         On September 2, 2022, the Funds filed a short (four-and-one-half pages) motion for

rehearing at the Fifth Circuit (the “Motion for Rehearing”).9 This was on the Friday before Labor

Day. The Funds requested “that the Court narrowly amend the [Initial Fifth Circuit] Opinion in

order to confirm the Court’s holding that the impermissibly exculpated parties are similarly struck

from the protections of the injunction and gatekeeper provisions of the plan (in other words, that

such parties cannot constitute ‘Protected Parties’).” As later explained, the Plan contained distinct

“Exculpation,” “Injunctions,” and “Gatekeeper” provisions. On September 7, 2022 (the Tuesday

after Labor Day), the Fifth Circuit granted the Motion for Rehearing and, without entertaining

responses or oral argument, withdrew the Initial Fifth Circuit Opinion and entered a substituted

opinion (the “Final Fifth Circuit Opinion”).10 The Final Fifth Circuit Opinion replaced only one

sentence that had been in the Initial Fifth Circuit Opinion:

         “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful” 11

         with the following sentence:

         “We now turn to the Plan’s injunction and gatekeeper provisions.” 12

         However, in the Final Fifth Circuit Opinion, same as the Initial Fifth Circuit Opinion, the

Fifth Circuit stated that, with regard to the Confirmation Order, the panel would “reverse only

insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strike those

few parties from the plan’s exculpation, and affirm on all remaining grounds.”13 To be clear, no




9
  DE # 3539, Exhibit C thereto.
10
   NexPoint v. Highland Capital Management, 48 F.4th 419, Case No. 21-10449, slip opinion at DE # 210 (5th Cir.
Sep. 7, 2022). The Final Fifth Circuit Opinion was attached to the Funds’ objection to the Motion as an Exhibit C
[DE # 3539]. Most subsequent references to the Final Fifth Circuit Opinion will cite to the published version of it in
the West Reporter Service, appearing at 48 F.4th 419.
11
   See slip opinion, at p. 27 [DE # 3539, Exhibit A thereto].
12
   See Final Fifth Circuit Opinion, slip opinion at p. 28 [DE # 3539, Exhibit C thereto]. 48 F.4th at 438.
13
   48 F.4th at 424.

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findings, discussion, or rulings regarding the injunction and gatekeeper provisions that were in the

Initial Fifth Circuit Opinion were disturbed.

            The Fifth Circuit’s docket reflects that it issued its Judgment and a mandate on September

12, 2022, remanding “to the Bankruptcy Court for further proceedings in accordance with the

opinion of this Court.”14

            On October 7, 2022, the Fifth Circuit denied a motion by certain Appellants for a stay of

the mandate.15

            Thereafter, on January 10 and 23, 2023, petitions for writ of certiorari to the United States

Supreme Court were filed by the Reorganized Debtor and certain Appellants.16 There being no

stay of the Final Fifth Circuit Opinion or the mandate, this court now issues this ruling on the

Motion.

     III.      JURISDICTION

            The bankruptcy court has jurisdiction to rule on the Motion pursuant to the mandate of the

Fifth Circuit issued on September 12, 2022. Furthermore, the underlying statutory authority that

is applicable is 11 U.S.C. §§ 105(a) and 1142.

     IV.       THE PLAN PROVISIONS THAT ARE CONCEIVABLY AT ISSUE

            To put the relief sought in the Motion and the objections thereto into proper context, a

review of three sets of Plan provisions is appropriate. First, the exculpation provisions. Second,

the injunction provisions. Third, the gatekeeping provisions. These all had distinct functions;




14
   NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
15
   Id. at DE # 222 (5th Cir. Oct. 7, 2022).
16
   Id. at DE ## 227 & 228 (5th Cir. Jan. 10 & 23, 2023).

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they were not in any way redundant. Sometimes they have been collectively referred to as the

“Protection Provisions.”

       Exculpations. The Plan addressed Exculpation at Article IX.C thereof. The “Exculpation”

provision, in pertinent part, stated as follows:

                Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
       extent permitted by applicable law, no Exculpated Party will have or incur, and
       each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
       judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability
       for conduct occurring on or after the Petition Date in connection with or arising
       out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
       and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
       confirmation of, the Plan; (iii) the funding or consummation of the Plan (including
       the Plan Supplement) or any related agreements, instruments, or other documents,
       the solicitation of votes on the Plan, the offer, issuance, and Plan Distribution of
       any securities issued or to be issued pursuant to the Plan, including the Claimant
       Trust Interests, whether or not such Plan Distributions occur following the Effective
       Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions,
       and documentation in connection with the foregoing clauses (i)-(iv); provided,
       however, the foregoing will not apply to (a) any acts or omissions of an
       Exculpated Party arising out of or related to acts or omissions that constitute bad
       faith, fraud, gross negligence, criminal misconduct, or willful misconduct or (b)
       Strand or any Employee other than with respect to actions taken by such Entities
       from the date of appointment of the Independent Directors through the Effective
       Date. This exculpation shall be in addition to, and not in limitation of, all other
       releases, indemnities, exculpations, any other applicable law or rules, or any other
       provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
       Parties from liability. (Emphasis added.)



       The Plan had a defined term for “Exculpated Parties,” at Article I.B.62 that read as follows:

                “Exculpated Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the
       Committee, (vi) the members of the Committee (in their official capacities), (vii)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (viii) the CEO/CRO; and (ix) the Related Persons of each of the parties listed in
       (iv) through (viii); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its

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       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       Highland Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
       managed entities), NexBank, SSB (and any of its subsidiaries), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy
       Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
       the term “Exculpated Party.”


       Simply stated, the Exculpation Provisions shielded a specified list of parties from any

negligence liability for post-petition conduct in connection with the Highland Chapter 11 cases.

The provisions effectuated an absolution of liability for the Exculpated Parties—but, again, only

for mere negligent conduct occurring on or after the Petition Date and in connection with the case.

It is also notable that the Exculpation Provisions deal only with pre-Effective Date Parties (i.e.,

not any parties created by the terms of the Plan, such as the Litigation Trustee or Claimant Trustee).

        Injunctions. The Plan addresses Injunctions at Article IX.F, in the first three paragraphs

thereof. The “Injunctions” provision, in pertinent part, stated as follows:

               Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, from taking any actions to
       interfere with the implementation or consummation of the Plan.
               Except as expressly provided in the Plan, the Confirmation Order, or a
       separate order of the Bankruptcy Court, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, with respect to any Claims
       and Equity Interests, from directly or indirectly (i) commencing, conducting, or
       continuing in any manner any suit, action, or other proceeding of any kind
       (including any proceeding in a judicial, arbitral, administrative or other forum)
       against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
       levying, attaching (including any prejudgment attachment), collecting, or otherwise
       recovering, enforcing, or attempting to recover or enforce, by any manner or means,
       any judgment, award, decree, or order against the Debtor or the property of the
       Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
       security interest, lien or encumbrance of any kind against the Debtor or the
       property of the Debtor, (iv) asserting any right of setoff, directly or indirectly,
       against any obligation due to the Debtor or against property or interests in property
       of the Debtor, except to the limited extent permitted under Sections 553 and 1141
       of the Bankruptcy Code, and (v) acting or proceeding in any manner, in any place
       whatsoever, that does not conform to or comply with the provisions of the Plan.

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                 The injunctions set forth herein shall extend to, and apply to any act of the
         type set forth in any of clauses (i)-(v) of the immediately preceding paragraph
         against any successors of the Debtor, including, but not limited to, the Reorganized
         Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective
         property and interests in property. (Emphasis added.)


         The Plan had a defined term for “Enjoined Parties,” at Article I.B.56 that read as follows:

                 “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
         Claims against or Equity Interests in the Debtor (whether or not proof of such
         Claims or Equity Interests has been filed and whether or not such Entities vote in
         favor of, against or abstain from voting on the Plan or are presumed to have
         accepted or deemed to have rejected the Plan), (ii) James Dondero (“Dondero”),
         (iii) any Entity that has appeared and/or filed any motion, objection, or other
         pleading in this Chapter 11 Case regardless of the capacity in which such Entity
         appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
         Persons17 of each of the foregoing.


         Simply stated, the injunctions were not a release, or absolution of liability, or exculpation

per se, but were, rather, an equitable device aimed at: (a) enforcing the discharge of the Debtor;

(b) protecting the Debtor’s property dealt with by the Plan; and (c) preventing interference with

implementation of the Plan. It was directed to claimants, equity interest holders, those who had

participated in the Chapter 11 Case (including Mr. Dondero) and parties related to them. In sum—

similar to so many Chapter 11 plans that this court sees—this provision was “belts and suspenders”

to the Plan discharge and was essentially a policing mechanism to deter actions in violations of

the discharge or otherwise inconsistent with the Plan.

         Gatekeeper Provisions. The Plan set forth gatekeeper provisions in the fourth paragraph

of Article IX.F, although the gatekeeper provision did not use this title. This provision was very




17
  “Related Entity” and “Related Persons” were defined terms under the Plan, but the definitions will not be set forth
herein, because they are not deemed relevant to the court’s analysis.

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much part and parcel to the Injunctions (which explains why it is located in the same section of

the Plan). The provision stated:

               Subject in all respects to ARTICLE XII.D, no Enjoined Party may
       commence or pursue a claim or cause of action of any kind against any Protected
       Party that arose or arises from or is related to the Chapter 11 Case, the
       negotiation of the Plan, the administration of the Plan or property to be
       distributed under the Plan, the wind down of the business of the Debtor or
       Reorganized Debtor, the administration of the Claimant Trust or the Litigation
       Sub-Trust, or the transactions in furtherance of the foregoing without the
       Bankruptcy Court (i) first determining, after notice and a hearing, that such claim
       or cause of action represents a colorable claim of any kind, including, but not
       limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or
       gross negligence against a Protected Party and (ii) specifically authorizing such
       Enjoined Party to bring such claim or cause of action against any such Protected
       Party; provided, however, the foregoing will not apply to a claim or cause of action
       against Strand or against any Employee other than with respect to actions taken,
       respectively, by Strand or by such Employee from the date of appointment of the
       Independent Directors through the Effective Date. The Bankruptcy Court will
       have sole and exclusive jurisdiction to determine whether a claim or cause of
       action is colorable and, only to the extent legally permissible and as provided for
       in ARTICLE XI, shall have jurisdiction to adjudicate the underlying colorable
       claim or cause of action. (Emphasis added.)


       The Plan had a defined term for “Protected Parties” as follows:

               “Protected Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the
       Independent Directors, (vi) the Committee, (vii) the members of the Committee (in
       their official capacities), (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the
       Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the members of the Claimant
       Trust Oversight Committee (in their official capacities), (xiii) New GP LLC, (xiv)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in
       (iv) through (xv); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
       Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy


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        Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
        the term “Protected Party.”



        Notably, the list of “Protected Parties” was not identical to the list of “Exculpated Parties.”

Namely, the “Protected Parties” list included several parties that were not even in existence prior

to confirmation—such as the Claimant Trustee, Claimant Trust Oversight Board, and Litigation

Trustee. In any event, simply put, the Gatekeeper Provision was somewhat of a tool to deal with

any future, potential lawsuits that might be deemed to run afoul of the Injunctions. It did not

effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname implies,

it simply provided that a plaintiff would have to ask the gatekeeper before bringing a claim. No

one would be allowed to bring a claim against a defined universe of “Protected Parties” without

first asking the bankruptcy court. The bankruptcy court would have to determine, after notice, that

such claim or cause of action represents a colorable claim against a Protected Party and specifically

authorize such plaintiff to bring such claim against any such Protected Party. If the bankruptcy

court were to deny permission, then, presumably, such denial could be appealed.

        The Confirmation Order addressed Exculpation, the Injunctions, and the Gatekeeper

Provisions at length at pages 48-59.

   V.      THE RELIEF SOUGHT IN THE MOTION TO CONFORM PLAN

        As noted earlier, in the Motion, the Reorganized Debtor proposes that only one change is

needed to make the Plan compliant with the Fifth Circuit’s ruling: narrow the defined term for

“Exculpated Parties” to read as follows:

                “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the
        Independent Directors, (iii) the Committee, and (iv) members of the Committee (in
        their official capacities).


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         The Reorganized Debtor states that this one simple revision of this defined term “directly

addresses all instances of exculpation deemed by the Fifth Circuit to violate section 524(e) of the

Bankruptcy Code, and no other changes” are required to conform the Plan and Confirmation Order

to the Final Fifth Circuit Opinion.18

         The Funds’ Opposition. The Funds support the revision of the defined term “Exculpated

Parties,” as proposed by the Reorganized Debtor, but they argue that the defined term “Protected

Parties” must likewise be revised to “fully implement[ ] the mandate of the Fifth Circuit . . . .” 19

The Funds point to their Motion for Rehearing filed at the Fifth Circuit, wherein they expressed

concern that “the Court’s statement that the injunction and gatekeeper provisions are ‘perfectly

lawful,’ might be argued to mean that the injunction and gatekeeper provisions – without any

tailoring – are allowed to stand.”20 The Funds specifically asked the Fifth Circuit panel to revise

its opinion to clarify and “to confirm the Court’s holding that the impermissibly exculpated parties

are similarly struck from the protections of the injunction and gatekeeper provisions of the Plan

(in other words, that such parties cannot constitute ‘Protected Parties’), such that the injunction

and gatekeeper provisions extend only to Highland Capital, the Committee and its members, and

the Independent Directors.”21 The Funds’ argue that the fact that the panel granted the Motion for

Rehearing and removed the “perfectly lawful” sentence (replacing it with the sentence noted

above) and otherwise left the language unchanged means that the panel agreed with the Funds’

interpretation of the Initial Fifth Circuit Opinion that “the parties protected by the injunction and




18
   DE # 3503, ¶ 11.
19
   DE # 3539, ¶ 3.
20
   DE # 3539, ¶ 5.
21
   DE # 3539, Exhibit B thereto, at ¶ 3.

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gatekeeper provisions (the Protected Parties) must similarly be limited to the Properly Exculpated

Parties – Highland, the Committee and its members, and the Independent Directors.”22

Accordingly, the Funds request that, in addition to narrowing the defined term “Exculpated

Parties,” the bankruptcy court order a similar narrowing of the defined term “Protected Parties” to

read:

                “Protected Parties” means, collectively, (i) the Debtor, (ii) the Independent
        Directors, (iii) the Committee, and (iv) members of the Committee (in their official
        capacities).23


        Dugaboy’s Opposition. Dugaboy filed a short Joinder simply adopting the arguments of

the Funds.24

        The Advisors’ Opposition. The Advisors filed an Objection adopting the Funds’ Response

but requesting two additional revisions to the Plan.25 First, the Advisors proposed fully deleting

the provision in the Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims

against successors of the Debtor who are not entitled to limited qualified immunity under” the

Final Fifth Circuit Opinion.26 Second, the Advisors proposed “carv[ing] out from the gatekeeping

provision of the injunction those suits that are expressly allowed by 28 U.S.C. § 959(a),” by

“amend[ing] the fourth paragraph of Article IX.F of the Plan by excepting from the gatekeeping

provisions actions that relate to the Independent Directors or Debtor ‘carrying on business

connected with [their] property’ as provided in § 959(a).” With respect to the “carve out” request,

the Advisors point to footnote 18 of the Final Fifth Circuit Opinion, which states, “[W]e also leave




22
   DE # 3539, ¶ 14.
23
   DE # 3539, ¶ 19.
24
   DE # 3540.
25
   DE # 3551.
26
   Id. at ¶ 6.

                                                  12
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the applicability of Barton’s27 limited statutory exception to the bankruptcy and district courts in

the first instance.”28

           Highland’s Reply.        Highland replied to all of this by arguing that the Motion for

Rehearing—and what the Funds asked for therein—is hugely significant. The Funds specifically

requested, in their Motion for Rehearing, that the Fifth Circuit panel (a) limit the definition of

“Protected Parties” in the same way that it did with respect to the parties entitled to exculpation,

and (b) “tailor” the injunction and gatekeeper provisions, in order to confirm that the Fifth Circuit

meant to narrow the parties covered by the injunctions and gatekeeper provisions of the Plan. The

Fifth Circuit did none of those things when it granted the Motion for Rehearing; it simply deleted

the sentence stating that the gatekeeper provisions and injunction are “perfectly lawful” and

otherwise left its initial affirmance of the gatekeeper provisions and injunctions intact. Highland

argues that “the Fifth Circuit . . . clarified that the Injunction was ‘sound’ but not ‘perfectly lawful’”

and that nothing in the Final Fifth Circuit Opinion supports the position that the Fifth Circuit

intended to limit the Protected Parties that are protected by the Gatekeeper Provision from

“harassing and frivolous litigation.” Highland further argues that, since the Gatekeeper Provision

is not a release, it does not implicate § 524(e), but is necessary to prevent harassment.

     VI.      RULING ON MOTION TO CONFORM PLAN

           The court grants the request of the Reorganized Debtor, holding that the only thing that

needs to be done in response to the Final Fifth Circuit Opinion and mandate is to change the defined

term for “Exculpated Parties,” at Art. I.B.62 of the Plan as follows:




27
  This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
28
  48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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         “‘Exculpated Parties’ means, collectively, (i) the Debtor, (ii) the Independent
         Directors, (iii) the Committee, and (iv) the members of the Committee (in their
         official capacities).”


         In so holding, this court has scoured the Final Fifth Circuit Opinion to be clear what

language survived and to discern what the Court did or did not find problematic with the Plan

Protections. In that regard, this court notes the following:

         On Page 429, the Fifth Circuit states:

               We then turn to the merits, conclude the Plan exculpates certain non-debtors
         beyond the bankruptcy court’s authority, and affirm in all other respects.29


         On Page 432, the Court states:

                  We do, however, agree with Appellants that the bankruptcy court exceeded
         its statutory authority under § 524(e) by exculpating certain non-debtors, and so we
         reverse and vacate the Plan only to that extent.30



         On Page 435, the Fifth Circuit states, before launching into a discussion of the various type

of Plan Protections:

                 The bankruptcy court deemed the provisions legal, necessary under the
         circumstances, and in the best interest of all parties. We agree, but only in part.
         Though the injunction and gatekeeping provisions are sound, the exculpation of
         certain non-debtors exceeds the bankruptcy court’s authority. We reverse and
         vacate that limited portion of the Plan. . . . In a Chapter 11 bankruptcy proceeding,
         ‘‘discharge of a debt of the debtor does not affect the liability of any other entity
         on, or the property of any other entity for, such debt.’’ 11 U.S.C. § 524(e). Contrary
         to the bankruptcy court’s holding, the exculpation here partly runs afoul of that
         statutory bar on non-debtor discharge by reaching beyond Highland Capital, the
         Committee, and the Independent Directors. See Pacific Lumber, 584 F.3d at 251–
         53. We must reverse and strike the few unlawful parts of the Plan’s exculpation
         provision.31


29
   48 F.4th at 429.
30
   Id. at 432.
31
   Id. at 435.

                                                  14
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           On pages 437-438, in wrapping up its discussion of the Exculpation Provisions, the Fifth

Circuit states:

                   In sum, our precedent and § 524(e) require any exculpation in a Chapter 11
           reorganization plan be limited to the debtor, the creditors’ committee and its
           members for conduct within the scope of their duties, 11 U.S.C. § 1103(c), and the
           trustees within the scope of their duties, see Baron, 914 F.3d at 993. And so,
           excepting the Independent Directors and the Committee members, the exculpation
           of non-debtors here was unlawful. Accordingly, the other non-debtor exculpations
           must be struck from the Plan. See Pacific Lumber, 584 F.3d at 253.
                   As it stands, the Plan’s exculpation provision extends to Highland Capital
           and its employees and CEO; Strand; the Reorganized Debtor and HCMLP GP LLC;
           the Independent Directors; the Committee and its members; the Claimant Trust, its
           trustee, and the members of its Oversight Board; the Litigation Sub-Trust and its
           trustee; professionals retained by the Highland Capital and the Committee in this
           case; and all ‘‘Related Persons.’’ Consistent with § 524(e), we strike all exculpated
           parties from the Plan except Highland Capital, the Committee and its members, and
           the Independent Directors.32



           On page 438, immediately after the previously quoted language, the next section of the

Final Fifth Circuit Opinion has a subheading “Injunction & Gatekeeper Provisions,”

and then states:

                  We now turn to the Plan’s injunction and gatekeeper provisions.
           Appellants object to the bankruptcy court’s injunction as vague and the gatekeeper
           provision as overbroad. We are unpersuaded.33


           Note that the bolded sentence above is the only new sentence in the Final Fifth Circuit

Opinion, and it replaced a previous sentence that read: “The injunction and gatekeeper provisions

are on the other hand, perfectly lawful.”




32
     Id. at 437-38.
33
     Id. at 438 (emphasis added).

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            Finally, in the penultimate paragraph of the entire Final Fifth Circuit Opinion, the Fifth

Circuit states:

                    In sum, the Plan violates § 524(e), but only insofar as it exculpates and
            enjoins certain non-debtors. The exculpatory order is therefore vacated as to all
            parties except Highland Capital, the Committee and its members, and the
            Independent Directors for conduct within the scope of their duties. We otherwise
            affirm the inclusion of the injunction and the gatekeeper provisions in the Plan.



            On balance, this court does not know how it could be clearer, that the Fifth Circuit was

holding that the exculpations of certain parties violated section 524(e), but the other Plan

Protections were “sound.”34

            Of course, this still begs the question: what might the Fifth Circuit have meant in replacing

the sentence “The injunction and gatekeeper provisions are on the other hand, perfectly lawful”

with the sentence “We now turn to the Plan’s injunction and gatekeeper provisions”?35

            It is certainly awkward for this court to attempt to be a mind-reader regarding editorial or

wordsmithing decisions undertaken by the Fifth Circuit. All this court can be sure of is that the

Fifth Circuit declined the Funds' request, in their Motion for Rehearing, to strike or modify the

defined term “Protected Parties” (that pertains to the Gatekeeper Provision) so that it would be

coterminous with the defined term “Exculpated Parties.” The Fifth Circuit did not modify the

Gatekeeper Provision or its applicable definition of “Protected Parties” in any way, let alone in the

manner that the Funds requested. And the Fifth Circuit did not include anything in its Final Fifth

Circuit Opinion to indicate that the panel agreed with the Funds’ analysis.




34
     Id. at 435.
35
     Id. at 438.

                                                     16
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       Moreover, limiting the definition of “Protected Parties” to be coterminous with the defined

term “Exculpated Parties” would mean that the Gatekeeper Provision would have no effect on any

conduct that occurs after the Plan Effective Date. Why? Because the persons included in the

defined term “Exculpated Parties”—as now limited by the Fifth Circuit’s ruling to include only

the Debtor, the UCC, the UCC members, and Independent Directors—are all gone now. They

all ceased to exist on the Effective Date. Additionally, the Debtor would not even need a

Gatekeeper Provision for pre-Effective Date conduct because the Debtor was discharged. The

Gatekeeper Provision is largely forward-looking, to prevent interference with post-Effective-Date

management as they consummate the Plan, wind down the assets, and administer the Claimant

Trust and the Litigation Sub-Trust. As noted, the defined term for “Protected Parties” includes

several parties that did not even exist pre-confirmation such as the Claimant Trustee, Claimant

Trust Oversight Board, and Litigation Trustee. It is mostly a tool to deal with any future, potential

lawsuits that might be deemed to run afoul of Plan implementation. The Gatekeeper Provision did

not effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname

implies, it simply provided that a plaintiff would have to ask the gatekeeper before bringing a

claim against the defined universe of “Protected Parties.” If such a request is made, the bankruptcy

court will determine, after notice, whether such claim or cause of action represents a colorable

claim against a Protected Party and specifically authorize such plaintiff to bring such claim against

any such Protected Party. If the bankruptcy court denies permission, then, presumably, such denial

could be appealed.

       The bankruptcy court humbly suggests that the Fifth Circuit well understood all of this.

Perhaps they deleted the one sentence out of concern that there might be something in the

Injunction Provisions that ran afoul of the new, narrowed defined term for “Exculpated Parties”—


                                                 17
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for example, the catchall clause at Article IX.F(v) of the Injunction Provision. Specifically, that

catchall clause, appearing after the injunctions of all sorts of conduct against the Debtor or its

property, also enjoins parties from “(v) acting or proceeding in any manner, in any place

whatsoever, that does not conform to or comply with the provisions of the Plan.” Perhaps the

Fifth Circuit thought this injunctive language was a little vague or broad, but it had fixed any

problem with it, by making clear that no one was absolved from any liability except the Debtor,

the UCC, the UCC members, and the Independent Directors. The Fifth Circuit had fixed any

problem with the cause by ruling that the defined term “Exculpated Parties” was too broad.

       But perhaps the Fifth Circuit was simply making a stylistic edit—maybe they thought the

words “perfectly lawful” may have sounded a bit too rosy or glowing, with regard to gatekeeper

provisions generally, and they did not want to suggest that they had blessed them for every plan in

the future, no matter what the facts and circumstances were. Perhaps the word “sound” seemed

more measured and case-specific than the words “perfectly lawful.”

       In any event, in light of the Fifth Circuit keeping intact, in its Final Fifth Circuit Opinion,

the language that the “the injunction and gatekeeping provisions are sound,” this court sees no

need to tailor those provisions in any manner. This tailoring request was made to the Fifth Circuit

in the Motion for Rehearing, and they declined.

       Finally, with regard to the Advisors’ request that this court delete the provision in the

Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims against successors

of the Debtor who are not entitled to limited qualified immunity” pursuant to the Final Fifth Circuit

Opinion and “carve out from the gatekeeping provision . . . those suits that are expressly allowed

by 28 U.S.C. § 959(a),” the bankruptcy court declines this request. This court does not read

footnote 18 of the Fifth Circuit’s Final Opinion, which states, “[W]e also leave the applicability of

                                                 18
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Barton’s36 limited statutory exception to the bankruptcy and district courts in the first instance,”37

as necessitating any modification to the Plan whatsoever.

     VII.    CONCLUSION

     The court grants the Motion and orders that one change be made to the Plan to conform it to

the mandate of the Fifth Circuit: revise the definition of “Exculpated Parties” as proposed in the

Motion and no more.

                  # # # END OF MEMORANDUM OPINION AND ORDER # # #




36
  This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
37
  48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 27, 2023
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                                            §
         In re:                                                                 Chapter 11
                                                                            §
                                                                            §
         HIGHLAND CAPITAL MANAGEMENT, L.P.,                                     Case No. 19-34054-sgj11
                                                                            §
                                                                            §
                                         Reorganized Debtor.
                                                                            §


         MEMORANDUM OPINION AND ORDER ON REORGANIZED DEBTOR’S MOTION
                          TO CONFORM PLAN [DE # 3503]


           I.        INTRODUCTION
                  This Memorandum Opinion and Order addresses a Motion to Conform Plan [DE # 3503]

     (“Motion”) filed by Highland Capital Management, L.P. (“Highland” or the “Reorganized

     Debtor”).1 The Motion was filed in response to a ruling of the United States Court of Appeals for

     the Fifth Circuit (“Fifth Circuit”) in connection with an appeal of the confirmation order on




     1
      The court will sometimes use the term “Debtor” when referring to Highland during the post-petition/pre-
     confirmation time period.

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Highland’s Chapter 11 plan (“Plan”). As further explained herein, the Fifth Circuit affirmed the

confirmation order in all respects except the following: it determined that certain exculpations in

the Plan, as to certain parties, were impermissible pursuant to section 524(e) of the Bankruptcy

Code and should be stricken as to those parties. More specifically, the Fifth Circuit held that the

only parties properly entitled to Plan exculpations were: the Debtor, the Official Committee of

Unsecured Creditors (the “UCC”) and its members, and the “Independent Directors”2 (collectively,

the “Properly Exculpated Parties”). The Fifth Circuit then remanded “to the Bankruptcy Court for

further proceedings in accordance with the opinion of this Court.”3

        Accordingly, the Reorganized Debtor filed the Motion, proposing that the bankruptcy court

approve a scaled down defined term for “Exculpated Parties” in the Plan. This, says the

Reorganized Debtor, is all that the Fifth Circuit’s mandate required—i.e., a narrowing of the

defined universe of persons who received exculpations under the Plan.

        Three sets of parties objected to the Motion: (a) Highland Income Fund, NexPoint Strategic

Opportunities Fund, Highland Global Allocation Fund, and NexPoint Capital, Inc. (the “Funds”)

[DE # 3539]; (b) the Dugaboy Investment Trust (“Dugaboy”)4 [DE # 3540]; and (c) NexPoint

Advisors, L.P. and Highland Capital Management Fund Advisors, L.P. (the “Advisors”) [DE #

3551].5 These objectors argue that the Fifth Circuit’s ruling requires more surgery on the Plan

than simply narrowing the defined term for “Exculpated Parties.” The Reorganized Debtor

disagreed in a Reply [DE # 3566], and the court thereafter held a hearing to allow oral argument.

The court gave an oral ruling from the bench at the hearing, stating that the Reorganized Debtor’s


2
  The Independent Directors—consisting of James P. Seery, Jr., John Dubel, and Retired Bankruptcy Judge Russell
Nelms—were appointed by the bankruptcy court and were comparable to “quasi-trustees.”
3
  NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
4
  Dugaboy is a family trust of James Dondero (“Mr. Dondero”), the co-founder and former CEO of the Debtor.
5
  It has been conceded at prior hearings that the Advisors are controlled by Mr. Dondero. The court assumes that is
still the case.

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proposal of simply changing the defined term in the Plan for “Exculpated Parties” would seem to

properly address the Fifth Circuit’s ruling and mandate, but the parties asked the court to draft a

formal written Order providing its reasoning, for the parties’ benefit and in case there were appeals

of the court’s ruling on the Motion. This constitutes the court’s written ruling.

    II.      RELEVANT BACKGROUND

          On October 16, 2019, Highland filed a voluntary petition for relief under chapter 11 of the

Bankruptcy Code. On February 22, 2021, the bankruptcy court entered a Confirmation Order [DE

# 1943] confirming the Fifth Amended Plan of Reorganization of Highland Capital Management,

L.P. (as Modified) [Docket No. 1808] (as subsequently modified, the “Plan”). The Confirmation

Order was appealed by the Funds, the Advisors, Dugaboy, the Get Good Trust (the latter of which

is another family trust of Mr. Dondero), and Mr. Dondero in his individual capacity (“Appellants”)

[DE ## 1957, 1966, 1970, 1972]. Appellants’ appeal was certified for direct appeal to the Fifth

Circuit.

          On August 19, 2022, the Fifth Circuit issued an opinion (the “Initial Fifth Circuit

Opinion”)6 and a judgment (“Judgment”) affirming in substantial part the Confirmation Order,

stating that it reversed “only insofar as the plan exculpates certain non-debtors in violation of 11

U.S.C. § 524(e),” and would “strike those few parties from the plan’s exculpation, and affirm on

all remaining grounds.”7 The Fifth Circuit remanded to the bankruptcy court “for further

proceedings in accordance with the opinion of this Court.”8




6
  NexPoint v. Highland Capital Management, 2022 WL 3571094, Case No. 21-10449, slip opinion previously
available at DE # 194 (5th Cir. Aug. 19, 2022). The Initial Fifth Circuit Opinion was attached to the Funds’
objection to the Motion as an Exhibit A [DE # 3539].
7
  Id. at p. 2.
8
  Id.

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         On September 2, 2022, the Funds filed a short (four-and-one-half pages) motion for

rehearing at the Fifth Circuit (the “Motion for Rehearing”).9 This was on the Friday before Labor

Day. The Funds requested “that the Court narrowly amend the [Initial Fifth Circuit] Opinion in

order to confirm the Court’s holding that the impermissibly exculpated parties are similarly struck

from the protections of the injunction and gatekeeper provisions of the plan (in other words, that

such parties cannot constitute ‘Protected Parties’).” As later explained, the Plan contained distinct

“Exculpation,” “Injunctions,” and “Gatekeeper” provisions. On September 7, 2022 (the Tuesday

after Labor Day), the Fifth Circuit granted the Motion for Rehearing and, without entertaining

responses or oral argument, withdrew the Initial Fifth Circuit Opinion and entered a substituted

opinion (the “Final Fifth Circuit Opinion”).10 The Final Fifth Circuit Opinion replaced only one

sentence that had been in the Initial Fifth Circuit Opinion:

         “The injunction and gatekeeper provisions are, on the other hand, perfectly lawful” 11

         with the following sentence:

         “We now turn to the Plan’s injunction and gatekeeper provisions.” 12

         However, in the Final Fifth Circuit Opinion, same as the Initial Fifth Circuit Opinion, the

Fifth Circuit stated that, with regard to the Confirmation Order, the panel would “reverse only

insofar as the plan exculpates certain non-debtors in violation of 11 U.S.C. § 524(e), strike those

few parties from the plan’s exculpation, and affirm on all remaining grounds.”13 To be clear, no




9
  DE # 3539, Exhibit C thereto.
10
   NexPoint v. Highland Capital Management, 48 F.4th 419, Case No. 21-10449, slip opinion at DE # 210 (5th Cir.
Sep. 7, 2022). The Final Fifth Circuit Opinion was attached to the Funds’ objection to the Motion as an Exhibit C
[DE # 3539]. Most subsequent references to the Final Fifth Circuit Opinion will cite to the published version of it in
the West Reporter Service, appearing at 48 F.4th 419.
11
   See slip opinion, at p. 27 [DE # 3539, Exhibit A thereto].
12
   See Final Fifth Circuit Opinion, slip opinion at p. 28 [DE # 3539, Exhibit C thereto]. 48 F.4th at 438.
13
   48 F.4th at 424.

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findings, discussion, or rulings regarding the injunction and gatekeeper provisions that were in the

Initial Fifth Circuit Opinion were disturbed.

            The Fifth Circuit’s docket reflects that it issued its Judgment and a mandate on September

12, 2022, remanding “to the Bankruptcy Court for further proceedings in accordance with the

opinion of this Court.”14

            On October 7, 2022, the Fifth Circuit denied a motion by certain Appellants for a stay of

the mandate.15

            Thereafter, on January 10 and 23, 2023, petitions for writ of certiorari to the United States

Supreme Court were filed by the Reorganized Debtor and certain Appellants.16 There being no

stay of the Final Fifth Circuit Opinion or the mandate, this court now issues this ruling on the

Motion.

     III.      JURISDICTION

            The bankruptcy court has jurisdiction to rule on the Motion pursuant to the mandate of the

Fifth Circuit issued on September 12, 2022. Furthermore, the underlying statutory authority that

is applicable is 11 U.S.C. §§ 105(a) and 1142.

     IV.       THE PLAN PROVISIONS THAT ARE CONCEIVABLY AT ISSUE

            To put the relief sought in the Motion and the objections thereto into proper context, a

review of three sets of Plan provisions is appropriate. First, the exculpation provisions. Second,

the injunction provisions. Third, the gatekeeping provisions. These all had distinct functions;




14
   NexPoint v. Highland Capital Management, Case No. 21-10449 at DE # 213 (5th Cir. Sep. 12, 2022).
15
   Id. at DE # 222 (5th Cir. Oct. 7, 2022).
16
   Id. at DE ## 227 & 228 (5th Cir. Jan. 10 & 23, 2023).

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they were not in any way redundant. Sometimes they have been collectively referred to as the

“Protection Provisions.”

       Exculpations. The Plan addressed Exculpation at Article IX.C thereof. The “Exculpation”

provision, in pertinent part, stated as follows:

                Subject in all respects to ARTICLE XII.D of this Plan, to the maximum
       extent permitted by applicable law, no Exculpated Party will have or incur, and
       each Exculpated Party is hereby exculpated from, any claim, obligation, suit,
       judgment, damage, demand, debt, right, Cause of Action, remedy, loss, and liability
       for conduct occurring on or after the Petition Date in connection with or arising
       out of (i) the filing and administration of the Chapter 11 Case; (ii) the negotiation
       and pursuit of the Disclosure Statement, the Plan, or the solicitation of votes for, or
       confirmation of, the Plan; (iii) the funding or consummation of the Plan (including
       the Plan Supplement) or any related agreements, instruments, or other documents,
       the solicitation of votes on the Plan, the offer, issuance, and Plan Distribution of
       any securities issued or to be issued pursuant to the Plan, including the Claimant
       Trust Interests, whether or not such Plan Distributions occur following the Effective
       Date; (iv) the implementation of the Plan; and (v) any negotiations, transactions,
       and documentation in connection with the foregoing clauses (i)-(iv); provided,
       however, the foregoing will not apply to (a) any acts or omissions of an
       Exculpated Party arising out of or related to acts or omissions that constitute bad
       faith, fraud, gross negligence, criminal misconduct, or willful misconduct or (b)
       Strand or any Employee other than with respect to actions taken by such Entities
       from the date of appointment of the Independent Directors through the Effective
       Date. This exculpation shall be in addition to, and not in limitation of, all other
       releases, indemnities, exculpations, any other applicable law or rules, or any other
       provisions of this Plan, including ARTICLE IV.C.2, protecting such Exculpated
       Parties from liability. (Emphasis added.)



       The Plan had a defined term for “Exculpated Parties,” at Article I.B.62 that read as follows:

                “Exculpated Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Independent Directors, (v) the
       Committee, (vi) the members of the Committee (in their official capacities), (vii)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (viii) the CEO/CRO; and (ix) the Related Persons of each of the parties listed in
       (iv) through (viii); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its

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       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       Highland Capital Management Fund Advisors, L.P. (and any of its subsidiaries and
       managed entities), NexBank, SSB (and any of its subsidiaries), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy
       Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
       the term “Exculpated Party.”


       Simply stated, the Exculpation Provisions shielded a specified list of parties from any

negligence liability for post-petition conduct in connection with the Highland Chapter 11 cases.

The provisions effectuated an absolution of liability for the Exculpated Parties—but, again, only

for mere negligent conduct occurring on or after the Petition Date and in connection with the case.

It is also notable that the Exculpation Provisions deal only with pre-Effective Date Parties (i.e.,

not any parties created by the terms of the Plan, such as the Litigation Trustee or Claimant Trustee).

        Injunctions. The Plan addresses Injunctions at Article IX.F, in the first three paragraphs

thereof. The “Injunctions” provision, in pertinent part, stated as follows:

               Upon entry of the Confirmation Order, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, from taking any actions to
       interfere with the implementation or consummation of the Plan.
               Except as expressly provided in the Plan, the Confirmation Order, or a
       separate order of the Bankruptcy Court, all Enjoined Parties are and shall be
       permanently enjoined, on and after the Effective Date, with respect to any Claims
       and Equity Interests, from directly or indirectly (i) commencing, conducting, or
       continuing in any manner any suit, action, or other proceeding of any kind
       (including any proceeding in a judicial, arbitral, administrative or other forum)
       against or affecting the Debtor or the property of the Debtor, (ii) enforcing,
       levying, attaching (including any prejudgment attachment), collecting, or otherwise
       recovering, enforcing, or attempting to recover or enforce, by any manner or means,
       any judgment, award, decree, or order against the Debtor or the property of the
       Debtor, (iii) creating, perfecting, or otherwise enforcing in any manner, any
       security interest, lien or encumbrance of any kind against the Debtor or the
       property of the Debtor, (iv) asserting any right of setoff, directly or indirectly,
       against any obligation due to the Debtor or against property or interests in property
       of the Debtor, except to the limited extent permitted under Sections 553 and 1141
       of the Bankruptcy Code, and (v) acting or proceeding in any manner, in any place
       whatsoever, that does not conform to or comply with the provisions of the Plan.

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                 The injunctions set forth herein shall extend to, and apply to any act of the
         type set forth in any of clauses (i)-(v) of the immediately preceding paragraph
         against any successors of the Debtor, including, but not limited to, the Reorganized
         Debtor, the Litigation Sub-Trust, and the Claimant Trust and their respective
         property and interests in property. (Emphasis added.)


         The Plan had a defined term for “Enjoined Parties,” at Article I.B.56 that read as follows:

                 “Enjoined Parties” means (i) all Entities who have held, hold, or may hold
         Claims against or Equity Interests in the Debtor (whether or not proof of such
         Claims or Equity Interests has been filed and whether or not such Entities vote in
         favor of, against or abstain from voting on the Plan or are presumed to have
         accepted or deemed to have rejected the Plan), (ii) James Dondero (“Dondero”),
         (iii) any Entity that has appeared and/or filed any motion, objection, or other
         pleading in this Chapter 11 Case regardless of the capacity in which such Entity
         appeared and any other party in interest, (iv) any Related Entity, and (v) the Related
         Persons17 of each of the foregoing.


         Simply stated, the injunctions were not a release, or absolution of liability, or exculpation

per se, but were, rather, an equitable device aimed at: (a) enforcing the discharge of the Debtor;

(b) protecting the Debtor’s property dealt with by the Plan; and (c) preventing interference with

implementation of the Plan. It was directed to claimants, equity interest holders, those who had

participated in the Chapter 11 Case (including Mr. Dondero) and parties related to them. In sum—

similar to so many Chapter 11 plans that this court sees—this provision was “belts and suspenders”

to the Plan discharge and was essentially a policing mechanism to deter actions in violations of

the discharge or otherwise inconsistent with the Plan.

         Gatekeeper Provisions. The Plan set forth gatekeeper provisions in the fourth paragraph

of Article IX.F, although the gatekeeper provision did not use this title. This provision was very




17
  “Related Entity” and “Related Persons” were defined terms under the Plan, but the definitions will not be set forth
herein, because they are not deemed relevant to the court’s analysis.

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much part and parcel to the Injunctions (which explains why it is located in the same section of

the Plan). The provision stated:

               Subject in all respects to ARTICLE XII.D, no Enjoined Party may
       commence or pursue a claim or cause of action of any kind against any Protected
       Party that arose or arises from or is related to the Chapter 11 Case, the
       negotiation of the Plan, the administration of the Plan or property to be
       distributed under the Plan, the wind down of the business of the Debtor or
       Reorganized Debtor, the administration of the Claimant Trust or the Litigation
       Sub-Trust, or the transactions in furtherance of the foregoing without the
       Bankruptcy Court (i) first determining, after notice and a hearing, that such claim
       or cause of action represents a colorable claim of any kind, including, but not
       limited to, negligence, bad faith, criminal misconduct, willful misconduct, fraud, or
       gross negligence against a Protected Party and (ii) specifically authorizing such
       Enjoined Party to bring such claim or cause of action against any such Protected
       Party; provided, however, the foregoing will not apply to a claim or cause of action
       against Strand or against any Employee other than with respect to actions taken,
       respectively, by Strand or by such Employee from the date of appointment of the
       Independent Directors through the Effective Date. The Bankruptcy Court will
       have sole and exclusive jurisdiction to determine whether a claim or cause of
       action is colorable and, only to the extent legally permissible and as provided for
       in ARTICLE XI, shall have jurisdiction to adjudicate the underlying colorable
       claim or cause of action. (Emphasis added.)


       The Plan had a defined term for “Protected Parties” as follows:

               “Protected Parties” means, collectively, (i) the Debtor and its successors
       and assigns, direct and indirect majority-owned subsidiaries, and the Managed
       Funds, (ii) the Employees, (iii) Strand, (iv) the Reorganized Debtor, (v) the
       Independent Directors, (vi) the Committee, (vii) the members of the Committee (in
       their official capacities), (viii) the Claimant Trust, (ix) the Claimant Trustee, (x) the
       Litigation Sub-Trust, (xi) the Litigation Trustee, (xii) the members of the Claimant
       Trust Oversight Committee (in their official capacities), (xiii) New GP LLC, (xiv)
       the Professionals retained by the Debtor and the Committee in the Chapter 11 Case,
       (xv) the CEO/CRO; and (xvi) the Related Persons of each of the parties listed in
       (iv) through (xv); provided, however, that, for the avoidance of doubt, none of
       James Dondero, Mark Okada, NexPoint Advisors, L.P. (and any of its subsidiaries
       and managed entities), the Charitable Donor Advised Fund, L.P. (and any of its
       subsidiaries, including CLO Holdco, Ltd., and managed entities), Highland CLO
       Funding, Ltd. (and any of its subsidiaries, members, and managed entities),
       NexBank, SSB (and any of its subsidiaries), Highland Capital Management Fund
       Advisors, L.P. (and any of its subsidiaries and managed entities), the Hunter
       Mountain Investment Trust (or any trustee acting for the trust), the Dugaboy


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        Investment Trust (or any trustee acting for the trust), or Grant Scott is included in
        the term “Protected Party.”



        Notably, the list of “Protected Parties” was not identical to the list of “Exculpated Parties.”

Namely, the “Protected Parties” list included several parties that were not even in existence prior

to confirmation—such as the Claimant Trustee, Claimant Trust Oversight Board, and Litigation

Trustee. In any event, simply put, the Gatekeeper Provision was somewhat of a tool to deal with

any future, potential lawsuits that might be deemed to run afoul of the Injunctions. It did not

effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname implies,

it simply provided that a plaintiff would have to ask the gatekeeper before bringing a claim. No

one would be allowed to bring a claim against a defined universe of “Protected Parties” without

first asking the bankruptcy court. The bankruptcy court would have to determine, after notice, that

such claim or cause of action represents a colorable claim against a Protected Party and specifically

authorize such plaintiff to bring such claim against any such Protected Party. If the bankruptcy

court were to deny permission, then, presumably, such denial could be appealed.

        The Confirmation Order addressed Exculpation, the Injunctions, and the Gatekeeper

Provisions at length at pages 48-59.

   V.      THE RELIEF SOUGHT IN THE MOTION TO CONFORM PLAN

        As noted earlier, in the Motion, the Reorganized Debtor proposes that only one change is

needed to make the Plan compliant with the Fifth Circuit’s ruling: narrow the defined term for

“Exculpated Parties” to read as follows:

                “Exculpated Parties” means, collectively, (i) the Debtor, (ii) the
        Independent Directors, (iii) the Committee, and (iv) members of the Committee (in
        their official capacities).


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         The Reorganized Debtor states that this one simple revision of this defined term “directly

addresses all instances of exculpation deemed by the Fifth Circuit to violate section 524(e) of the

Bankruptcy Code, and no other changes” are required to conform the Plan and Confirmation Order

to the Final Fifth Circuit Opinion.18

         The Funds’ Opposition. The Funds support the revision of the defined term “Exculpated

Parties,” as proposed by the Reorganized Debtor, but they argue that the defined term “Protected

Parties” must likewise be revised to “fully implement[ ] the mandate of the Fifth Circuit . . . .” 19

The Funds point to their Motion for Rehearing filed at the Fifth Circuit, wherein they expressed

concern that “the Court’s statement that the injunction and gatekeeper provisions are ‘perfectly

lawful,’ might be argued to mean that the injunction and gatekeeper provisions – without any

tailoring – are allowed to stand.”20 The Funds specifically asked the Fifth Circuit panel to revise

its opinion to clarify and “to confirm the Court’s holding that the impermissibly exculpated parties

are similarly struck from the protections of the injunction and gatekeeper provisions of the Plan

(in other words, that such parties cannot constitute ‘Protected Parties’), such that the injunction

and gatekeeper provisions extend only to Highland Capital, the Committee and its members, and

the Independent Directors.”21 The Funds’ argue that the fact that the panel granted the Motion for

Rehearing and removed the “perfectly lawful” sentence (replacing it with the sentence noted

above) and otherwise left the language unchanged means that the panel agreed with the Funds’

interpretation of the Initial Fifth Circuit Opinion that “the parties protected by the injunction and




18
   DE # 3503, ¶ 11.
19
   DE # 3539, ¶ 3.
20
   DE # 3539, ¶ 5.
21
   DE # 3539, Exhibit B thereto, at ¶ 3.

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gatekeeper provisions (the Protected Parties) must similarly be limited to the Properly Exculpated

Parties – Highland, the Committee and its members, and the Independent Directors.”22

Accordingly, the Funds request that, in addition to narrowing the defined term “Exculpated

Parties,” the bankruptcy court order a similar narrowing of the defined term “Protected Parties” to

read:

                “Protected Parties” means, collectively, (i) the Debtor, (ii) the Independent
        Directors, (iii) the Committee, and (iv) members of the Committee (in their official
        capacities).23


        Dugaboy’s Opposition. Dugaboy filed a short Joinder simply adopting the arguments of

the Funds.24

        The Advisors’ Opposition. The Advisors filed an Objection adopting the Funds’ Response

but requesting two additional revisions to the Plan.25 First, the Advisors proposed fully deleting

the provision in the Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims

against successors of the Debtor who are not entitled to limited qualified immunity under” the

Final Fifth Circuit Opinion.26 Second, the Advisors proposed “carv[ing] out from the gatekeeping

provision of the injunction those suits that are expressly allowed by 28 U.S.C. § 959(a),” by

“amend[ing] the fourth paragraph of Article IX.F of the Plan by excepting from the gatekeeping

provisions actions that relate to the Independent Directors or Debtor ‘carrying on business

connected with [their] property’ as provided in § 959(a).” With respect to the “carve out” request,

the Advisors point to footnote 18 of the Final Fifth Circuit Opinion, which states, “[W]e also leave




22
   DE # 3539, ¶ 14.
23
   DE # 3539, ¶ 19.
24
   DE # 3540.
25
   DE # 3551.
26
   Id. at ¶ 6.

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the applicability of Barton’s27 limited statutory exception to the bankruptcy and district courts in

the first instance.”28

           Highland’s Reply.        Highland replied to all of this by arguing that the Motion for

Rehearing—and what the Funds asked for therein—is hugely significant. The Funds specifically

requested, in their Motion for Rehearing, that the Fifth Circuit panel (a) limit the definition of

“Protected Parties” in the same way that it did with respect to the parties entitled to exculpation,

and (b) “tailor” the injunction and gatekeeper provisions, in order to confirm that the Fifth Circuit

meant to narrow the parties covered by the injunctions and gatekeeper provisions of the Plan. The

Fifth Circuit did none of those things when it granted the Motion for Rehearing; it simply deleted

the sentence stating that the gatekeeper provisions and injunction are “perfectly lawful” and

otherwise left its initial affirmance of the gatekeeper provisions and injunctions intact. Highland

argues that “the Fifth Circuit . . . clarified that the Injunction was ‘sound’ but not ‘perfectly lawful’”

and that nothing in the Final Fifth Circuit Opinion supports the position that the Fifth Circuit

intended to limit the Protected Parties that are protected by the Gatekeeper Provision from

“harassing and frivolous litigation.” Highland further argues that, since the Gatekeeper Provision

is not a release, it does not implicate § 524(e), but is necessary to prevent harassment.

     VI.      RULING ON MOTION TO CONFORM PLAN

           The court grants the request of the Reorganized Debtor, holding that the only thing that

needs to be done in response to the Final Fifth Circuit Opinion and mandate is to change the defined

term for “Exculpated Parties,” at Art. I.B.62 of the Plan as follows:




27
  This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
28
  48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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         “‘Exculpated Parties’ means, collectively, (i) the Debtor, (ii) the Independent
         Directors, (iii) the Committee, and (iv) the members of the Committee (in their
         official capacities).”


         In so holding, this court has scoured the Final Fifth Circuit Opinion to be clear what

language survived and to discern what the Court did or did not find problematic with the Plan

Protections. In that regard, this court notes the following:

         On Page 429, the Fifth Circuit states:

               We then turn to the merits, conclude the Plan exculpates certain non-debtors
         beyond the bankruptcy court’s authority, and affirm in all other respects.29


         On Page 432, the Court states:

                  We do, however, agree with Appellants that the bankruptcy court exceeded
         its statutory authority under § 524(e) by exculpating certain non-debtors, and so we
         reverse and vacate the Plan only to that extent.30



         On Page 435, the Fifth Circuit states, before launching into a discussion of the various type

of Plan Protections:

                 The bankruptcy court deemed the provisions legal, necessary under the
         circumstances, and in the best interest of all parties. We agree, but only in part.
         Though the injunction and gatekeeping provisions are sound, the exculpation of
         certain non-debtors exceeds the bankruptcy court’s authority. We reverse and
         vacate that limited portion of the Plan. . . . In a Chapter 11 bankruptcy proceeding,
         ‘‘discharge of a debt of the debtor does not affect the liability of any other entity
         on, or the property of any other entity for, such debt.’’ 11 U.S.C. § 524(e). Contrary
         to the bankruptcy court’s holding, the exculpation here partly runs afoul of that
         statutory bar on non-debtor discharge by reaching beyond Highland Capital, the
         Committee, and the Independent Directors. See Pacific Lumber, 584 F.3d at 251–
         53. We must reverse and strike the few unlawful parts of the Plan’s exculpation
         provision.31


29
   48 F.4th at 429.
30
   Id. at 432.
31
   Id. at 435.

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           On pages 437-438, in wrapping up its discussion of the Exculpation Provisions, the Fifth

Circuit states:

                   In sum, our precedent and § 524(e) require any exculpation in a Chapter 11
           reorganization plan be limited to the debtor, the creditors’ committee and its
           members for conduct within the scope of their duties, 11 U.S.C. § 1103(c), and the
           trustees within the scope of their duties, see Baron, 914 F.3d at 993. And so,
           excepting the Independent Directors and the Committee members, the exculpation
           of non-debtors here was unlawful. Accordingly, the other non-debtor exculpations
           must be struck from the Plan. See Pacific Lumber, 584 F.3d at 253.
                   As it stands, the Plan’s exculpation provision extends to Highland Capital
           and its employees and CEO; Strand; the Reorganized Debtor and HCMLP GP LLC;
           the Independent Directors; the Committee and its members; the Claimant Trust, its
           trustee, and the members of its Oversight Board; the Litigation Sub-Trust and its
           trustee; professionals retained by the Highland Capital and the Committee in this
           case; and all ‘‘Related Persons.’’ Consistent with § 524(e), we strike all exculpated
           parties from the Plan except Highland Capital, the Committee and its members, and
           the Independent Directors.32



           On page 438, immediately after the previously quoted language, the next section of the

Final Fifth Circuit Opinion has a subheading “Injunction & Gatekeeper Provisions,”

and then states:

                  We now turn to the Plan’s injunction and gatekeeper provisions.
           Appellants object to the bankruptcy court’s injunction as vague and the gatekeeper
           provision as overbroad. We are unpersuaded.33


           Note that the bolded sentence above is the only new sentence in the Final Fifth Circuit

Opinion, and it replaced a previous sentence that read: “The injunction and gatekeeper provisions

are on the other hand, perfectly lawful.”




32
     Id. at 437-38.
33
     Id. at 438 (emphasis added).

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            Finally, in the penultimate paragraph of the entire Final Fifth Circuit Opinion, the Fifth

Circuit states:

                    In sum, the Plan violates § 524(e), but only insofar as it exculpates and
            enjoins certain non-debtors. The exculpatory order is therefore vacated as to all
            parties except Highland Capital, the Committee and its members, and the
            Independent Directors for conduct within the scope of their duties. We otherwise
            affirm the inclusion of the injunction and the gatekeeper provisions in the Plan.



            On balance, this court does not know how it could be clearer, that the Fifth Circuit was

holding that the exculpations of certain parties violated section 524(e), but the other Plan

Protections were “sound.”34

            Of course, this still begs the question: what might the Fifth Circuit have meant in replacing

the sentence “The injunction and gatekeeper provisions are on the other hand, perfectly lawful”

with the sentence “We now turn to the Plan’s injunction and gatekeeper provisions”?35

            It is certainly awkward for this court to attempt to be a mind-reader regarding editorial or

wordsmithing decisions undertaken by the Fifth Circuit. All this court can be sure of is that the

Fifth Circuit declined the Funds' request, in their Motion for Rehearing, to strike or modify the

defined term “Protected Parties” (that pertains to the Gatekeeper Provision) so that it would be

coterminous with the defined term “Exculpated Parties.” The Fifth Circuit did not modify the

Gatekeeper Provision or its applicable definition of “Protected Parties” in any way, let alone in the

manner that the Funds requested. And the Fifth Circuit did not include anything in its Final Fifth

Circuit Opinion to indicate that the panel agreed with the Funds’ analysis.




34
     Id. at 435.
35
     Id. at 438.

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       Moreover, limiting the definition of “Protected Parties” to be coterminous with the defined

term “Exculpated Parties” would mean that the Gatekeeper Provision would have no effect on any

conduct that occurs after the Plan Effective Date. Why? Because the persons included in the

defined term “Exculpated Parties”—as now limited by the Fifth Circuit’s ruling to include only

the Debtor, the UCC, the UCC members, and Independent Directors—are all gone now. They

all ceased to exist on the Effective Date. Additionally, the Debtor would not even need a

Gatekeeper Provision for pre-Effective Date conduct because the Debtor was discharged. The

Gatekeeper Provision is largely forward-looking, to prevent interference with post-Effective-Date

management as they consummate the Plan, wind down the assets, and administer the Claimant

Trust and the Litigation Sub-Trust. As noted, the defined term for “Protected Parties” includes

several parties that did not even exist pre-confirmation such as the Claimant Trustee, Claimant

Trust Oversight Board, and Litigation Trustee. It is mostly a tool to deal with any future, potential

lawsuits that might be deemed to run afoul of Plan implementation. The Gatekeeper Provision did

not effectuate a release or an absolution of any liability. Rather, as the “gatekeeper” nickname

implies, it simply provided that a plaintiff would have to ask the gatekeeper before bringing a

claim against the defined universe of “Protected Parties.” If such a request is made, the bankruptcy

court will determine, after notice, whether such claim or cause of action represents a colorable

claim against a Protected Party and specifically authorize such plaintiff to bring such claim against

any such Protected Party. If the bankruptcy court denies permission, then, presumably, such denial

could be appealed.

       The bankruptcy court humbly suggests that the Fifth Circuit well understood all of this.

Perhaps they deleted the one sentence out of concern that there might be something in the

Injunction Provisions that ran afoul of the new, narrowed defined term for “Exculpated Parties”—


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for example, the catchall clause at Article IX.F(v) of the Injunction Provision. Specifically, that

catchall clause, appearing after the injunctions of all sorts of conduct against the Debtor or its

property, also enjoins parties from “(v) acting or proceeding in any manner, in any place

whatsoever, that does not conform to or comply with the provisions of the Plan.” Perhaps the

Fifth Circuit thought this injunctive language was a little vague or broad, but it had fixed any

problem with it, by making clear that no one was absolved from any liability except the Debtor,

the UCC, the UCC members, and the Independent Directors. The Fifth Circuit had fixed any

problem with the cause by ruling that the defined term “Exculpated Parties” was too broad.

       But perhaps the Fifth Circuit was simply making a stylistic edit—maybe they thought the

words “perfectly lawful” may have sounded a bit too rosy or glowing, with regard to gatekeeper

provisions generally, and they did not want to suggest that they had blessed them for every plan in

the future, no matter what the facts and circumstances were. Perhaps the word “sound” seemed

more measured and case-specific than the words “perfectly lawful.”

       In any event, in light of the Fifth Circuit keeping intact, in its Final Fifth Circuit Opinion,

the language that the “the injunction and gatekeeping provisions are sound,” this court sees no

need to tailor those provisions in any manner. This tailoring request was made to the Fifth Circuit

in the Motion for Rehearing, and they declined.

       Finally, with regard to the Advisors’ request that this court delete the provision in the

Injunctions section (Plan, Art. IX.F., third para.) that “purports to enjoin claims against successors

of the Debtor who are not entitled to limited qualified immunity” pursuant to the Final Fifth Circuit

Opinion and “carve out from the gatekeeping provision . . . those suits that are expressly allowed

by 28 U.S.C. § 959(a),” the bankruptcy court declines this request. This court does not read

footnote 18 of the Fifth Circuit’s Final Opinion, which states, “[W]e also leave the applicability of

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Barton’s36 limited statutory exception to the bankruptcy and district courts in the first instance,”37

as necessitating any modification to the Plan whatsoever.

     VII.    CONCLUSION

     The court grants the Motion and orders that one change be made to the Plan to conform it to

the mandate of the Fifth Circuit: revise the definition of “Exculpated Parties” as proposed in the

Motion and no more.

                  # # # END OF MEMORANDUM OPINION AND ORDER # # #




36
  This is, of course, a reference to Barton v. Barbour, 104 U.S. 126 (1881).
37
  48 F.4th at 439 n.18 (citing 28 U.S.C. § 959(a) “(allowing suit, without leave of the appointing court, if the
challenged acts relate to the trustee or debtor in possession ‘carrying on business connected with [their] property’”)).

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               SEALEDEXH, DirectAppeal, ADVAPL, 5thCircuitAppeal, APPEAL, SealedDocument, FUNDS,
                                           TRANSIN, REFORM, ClaimsAgent, EXHIBITS, COMPLEX

                                                   U.S. Bankruptcy Court
                                              Northern District of Texas (Dallas)
                                             Bankruptcy Petition #: 19-34054-sgj11
                                                                                                  Date filed:   10/16/2019
 Assigned to: Chief Bankruptcy Jud Stacey G Jernigan                                 Date Plan Confirmed:       02/22/2021
 Chapter 11                                                                                Date transferred:    12/04/2019
                                                                                            Plan confirmed:     02/22/2021
 Voluntary                                                                                      341 meeting:    01/09/2020
 Asset                                                                          Deadline for filing claims:     04/08/2020
                                                                          Deadline for filing claims (govt.):   04/13/2020


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     Filing Date                                                       Docket Text

                            1 (2 pgs) Order transferring case number 19-12239 from U.S. Bankruptcy Court for the District of
   12/04/2019             Delaware Filed by Highland Capital Management, L.P. (Okafor, M.)

                            2 (15 pgs) DOCKET SHEET filed in 19-12239 in the U.S. Bankruptcy Court for Delaware . (Okafor,
   12/04/2019             M.)

                             3 (106 pgs; 2 docs) Chapter 11 Voluntary Petition . Fee Amount $1717. Filed by Highland Capital
                          Management, L.P.. (Attachments: # 1 Creditor Matrix) [ORIGINALLY FILED AS DOCUMENT #1 ON
   12/04/2019             10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019               4 (31 pgs; 2 docs) Motion to Pay Employee Wages /Motion of the Debtors for Entry of Order (I)
                          Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation, Reimbursable Business
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                             6/56
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                      Expenses, and Employee Benefit Obligations, and (B) Maintain and Continue Certain Compensation and
                          Benefit Programs Postpetition; and (II) Granting Related Relief Filed Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A - Proposed Order) (O'Neill, James) [ORIGINALLY FILED
                          AS DOCUMENT #2 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)

                             5 (23 pgs; 2 docs) Motion to Pay Critical Trade Vendor Claims /Motion of the Debtor for Entry of
                          Interim and Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B)
                          Granting Related Relief Filed By Highland Capital Management, L.P. (Attachments: # 1 Exhibit A -
                          Proposed Order)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #3 ON 10/16/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE]

                             6 (9 pgs; 2 docs) Motion to Extend Deadline to File Schedules or Provide Required Information Filed
                          by Highland Capital Management, L.P.(Attachments: # 1 Exhibit A - Proposed Order) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #4 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE](Okafor, M.)

                             7 (24 pgs; 2 docs) Motion to Maintain Bank Accounts /Motion of the Debtor for Interim and Final
                          Orders Authorizing (A) Continuance of Existing Cash Management System and Brokerage Relationships,
                          (B) Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment
                          Requirements, and (D) Granting Related Relief Filed By Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT
                          #5 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor,
   12/04/2019             M.)

                            8 (32 pgs; 2 docs) **WITHDRAWN** - 10/29/2019. SEE DOCKET # 72. Motion to Approve Use of
                          Cash Collateral /Motion of Debtor for Entry of Interim and Final Orders (A) Authorizing the Use of Cash
                          Collateral, (B) Providing Adequate Protection, (C) Authorizing the Liquidation of Securities, (D)
                          Modifying the Automatic Stay, and (E) Scheduling a Final Hearing Filed By Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A - Order)(O'Neill, James) Modified on 10/30/2019 (DMC)
                          [ORIGINALLY FILED AS DOCUMENT #6 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE]

                             9 (36 pgs; 4 docs) Application to Appoint Claims/Noticing Agent KURTZMAN CARSON
                          CONSULTANTS, LLC Filed By Highland Capital Management, L.P. (Attachments: # 1 Exhibit A -
                          Engagement Agreement # 2 Exhibit B - Gershbein Declaration # 3 Exhibit C - Proposed Order) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #7 ON 10/16/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            10 (10 pgs; 2 docs) Motion to File Under Seal/Motion of the Debtor for Entry of Interim and Final
                          Orders Authorizing the Debtor to File Under Seal Portions of Its Creditor Matrix Containing Employee
                          Address Information Filed by Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A - Proposed
                          Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #8 ON 10/16/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            11 (44 pgs) Affidavit/Declaration in Support of First Day Motion /Declaration of Frank Waterhouse in
                          Support of First Day Motions Filed By Highland Capital Management, L.P. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #9 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE
   12/04/2019             DISTRICT OF DELAWARE](Okafor, M.)

                              12 (3 pgs) Notice of Hearing on First Day Motions (related document(s)2, 3, 5, 6, 7, 8, 9 [ON
                          DELAWARE DOCKET]) Filed by Highland Capital Management, L.P.. Hearing scheduled for 10/18/2019
                          at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #11 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)


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                             13 (15 pgs; 2 docs) Notice of Hearing // Notice of Interim Hearing on Motion of Debtor for Entry of
                          Interim and Final Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection,
                          (C) Authorizing the Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a
                          Final Hearing (related document(s)6) Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          10/18/2019 at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. (Attachments: # 1 Exhibit A) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #12
   12/04/2019             ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                              14 (3 pgs) Notice of Agenda of Matters Scheduled for Hearing Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 10/18/2019 at 10:00 AM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #13 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                            15 (3 pgs) Notice of appearance Filed by Alvarez & Marsal CRF Management, LLC, as Investment
                          Manager of the Highland Crusader Funds (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #14
   12/04/2019             ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             16 (1 pg) Motion to Appear pro hac vice of Marshall R. King of Gibson, Dunn & Crutcher LLP.
                          Receipt Number 2757354, Filed by Alvarez & Marsal CRF Management, LLC, as Investment Manager of
                          the Highland Crusader Funds. (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #15 ON 10/1/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             17 (1 pg) Motion to Appear pro hac vice of Michael A. Rosenthal of Gibson, Dunn & Crutcher LLP.
                          Receipt Number 2624495, Filed by Alvarez & Marsal CRF Management, LLC, as Investment Manager of
                          the Highland Crusader Funds. (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #16 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             18 (1 pg) Motion to Appear pro hac vice of Alan Moskowitz of Gibson, Dunn & Crutcher LLP. Receipt
                          Number 2624495, Filed by Alvarez & Marsal CRF Management, LLC, as Investment Manager of the
                          Highland Crusader Funds. (Beach, Sean) ) [ORIGINALLY FILED AS DOCUMENT #17 ON 10/17/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             19 (1 pg) Motion to Appear pro hac vice of Matthew G. Bouslog of Gibson, Dunn & Crutcher LLP.
                          Receipt Number 2581894, Filed by Alvarez & Marsal CRF Management, LLC, as Investment Manager of
                          the Highland Crusader Funds. (Beach, Sean)) [ORIGINALLY FILED AS DOCUMENT #18 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             20 (3 pgs) Notice of Appearance and Request for Notice by Louis J. Cisz filed by Interested Party
                          California Public Employees Retirement System (CalPERS) . (Okafor, M.) [ORIGINALLY FILED AS
                          DOCUMENT #19 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE]

                             21 (1 pg) Motion to Appear pro hac vice (Jeffrey N. Pomerantz). Receipt Number 2564620, Filed by
                          Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #20 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             22 (1 pg) Motion to Appear pro hac vice (Maxim B. Litvak). Receipt Number 2564620, Filed by
                          Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #21 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             23 (1 pg) Motion to Appear pro hac vice (Ira D. Kharasch). Receipt Number DEX032537, Filed by
                          Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #22 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               8/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.
                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
                                   Main Document
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                             24 (1 pg) Motion to Appear pro hac vice (Gregory V. Demo). Receipt Number DEX032536, Filed by
                          Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #23 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            25 (1 pg) Motion to Appear pro hac vice of Marc B. Hankin. Receipt Number 2757358, Filed by
                          Redeemer Committee of the Highland Crusader Fund. (Miller, Curtis) [ORIGINALLY FILED AS
                          DOCUMENT #24 ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE](Okafor, M.)

                             26 (1 pg) Order Approving Motion for Admission pro hac vice Marshall R. King of Gibson(Related
                          Doc # 15) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #25 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             27 (1 pg) Order Approving Motion for Admission pro hac vice Michael A. Rosenthal (Related Doc #
                          16) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #26 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            28 (1 pg) Order Approving Motion for Admission pro hac vice Alan Moskowitz (Related Doc # 17)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #27 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            29 (1 pg) Order Approving Motion for Admission pro hac vice Matthew G. Bouslog(Related Doc # 18)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #28 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             30 (1 pg) Order Approving Motion for Admission pro hac vice Jeffrey N. Pomerantz (Related Doc #
                          20) Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #29 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            31 (1 pg) Order Approving Motion for Admission pro hac vice Maxim B. Litvak (Related Doc # 21)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #30 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            32 (1 pg) Order Approving Motion for Admission pro hac vice Ira D. Kharasch (Related Doc # 22)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #31 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            33 (1 pg) Order Approving Motion for Admission pro hac vice Gregory V. Demo(Related Doc # 23)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #32 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            34 (1 pg) Order Approving Motion for Admission pro hac vice Marc B. Hankin(Related Doc # 24)
                          Order Signed on 10/17/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #33 ON 10/17/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             35 (7 pgs) Certificate of Service of: 1) Notice of Hearing on First Day Motions; 2) Notice of Interim
                          Hearing on Motion of Debtor for Entry of Interim and Final Orders (A) Authorizing the Use of Cash
                          Collateral, (B) Providing Adequate Protection, (C) Authorizing the Liquidation of Securities, (D)
                          Modifying the Automatic Stay, and (E) Scheduling a Final Hearing; and 3) Notice of Agenda for Hearing
                          of First Day Motions Scheduled for October 18, 2019 at 10:00 a.m. (related document(s)11, 12, 13) Filed
                          by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #34
   12/04/2019             ON 10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)



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                                            Filed 03/15/23
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                                                          Court - Northern       03/15/23
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              Case 3:23-cv-00573-E Document
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                             36 (1 pg) Motion to Appear pro hac vice (John A. Morris). Receipt Number 2635868, Filed by
                          Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #35 ON
   12/04/2019             10/17/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                            37 (3 pgs) Notice of Appearance and Request for Notice by Richard B. Levin , Marc B. Hankin , Kevin
                          M. Coen , Curtis S. Miller filed by Interested Party Redeemer Committee of the Highland Crusader Fund .
                          (Miller, Curtis) [ORIGINALLY FILED AS DOCUMENT #36 ON 10/17/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.)

                            38 (1 pg) Order Approving Motion for Admission pro hac vice John A. Morris(Related Doc # 35)
                          Order Signed on 10/18/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #38 ON 10/18/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             39 (5 pgs) Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                          Reimbursable Business Expenses, and Employee Benefit Obligations, and (B) Maintain and Continue
                          Certain Compensation and Benefit Programs Postpetition; and (II) Granting Related Relief. (related
                          document(s)2) Order Signed on 10/18/2019. (NAB) [ORIGINALLY FILED AS DOCUMENT #39 ON
   12/04/2019             10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             40 (9 pgs; 2 docs) Interim Order (A) Authorizing the Debtor to Pay Certain Prepetition Claims of
                          Critical Vendors and (B) Granting Related Relief (Related Doc 3) Order Signed on 10/18/2019
                          (Attachments: # 1 Agreement)) (NAB) Modified Text on 10/21/2019 (LB) [ORIGINALLY FILED AS
                          DOCUMENT #40 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                             41 (3 pgs) Notice of Appearance and Request for Notice by Eric Thomas Haitz filed by Debtor
   12/04/2019             Highland Capital Management, L.P.. (Haitz, Eric)

                            42 (7 pgs) Interim Order Authorizing (A) Continuance of Existing Cash Management System, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment
                          Requirements, and (D) Granting Related Relief. (Related Doc 5) Order Signed on 10/18/2019. (JS)
                          Modified Text on 10/21/2019 (LB). [ORIGINALLY FILED AS DOCUMENT #42 ON 10/18/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            43 (6 pgs) Order Appointing Kurtzman Carson Consultants, LLC as Claims and Noticing Agent for the
                          Debtors Pursuant to 28 U.S.C. §156(C), 11 U.S.C. §105(A), and Local Rule 2002-1(F) (Related Doc # 7)
                          Order Signed on 10/18/2019. (JS) [ORIGINALLY FILED AS DOCUMENT #43 ON 10/18/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            44 (3 pgs) Interim Order Authorizing the Debtor to File Under Seal Portions of Its Creditor Matrix
                          Containing Employee Address Information. (Related Doc # 8) Order Signed on 10/18/2019. (JS)
                          [ORIGINALLY FILED AS DOCUMENT #44 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

                             45 (1 pg) Notice of Appearance and Request for Notice by Elizabeth Weller filed by Irving ISD ,
                          Grayson County , Upshur County , Dallas County , Tarrant County , Kaufman County , Rockwall CAD ,
   12/04/2019             Allen ISD , Fannin CAD , Coleman County TAD . (Okafor, M.)

                             46 (4 pgs) Notice of hearing/scheduling conference filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)1 Order transferring case number 19-12239 from U.S. Bankruptcy Court for
                          the District of Delaware Filed by Highland Capital Management, L.P. (Okafor, M.)). Status Conference to
   12/04/2019             be held on 12/6/2019 at 09:30 AM at Dallas Judge Jernigan Ctrm. (Haitz, Eric)




https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               10/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.
                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
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                             47 (40 pgs; 3 docs) Notice of Service // Notice of Entry of Order on Motion of Debtor for Entry of
                          Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation, Reimbursable Business
                          Expenses, and Employee Benefit Obligations, and (B) Maintain and Continue Certain Compensation and
                          Benefit Programs Postpetition; and (II) Granting Related Relief (related document(s)2, 39) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #47 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

                             48 (83 pgs; 4 docs) Notice of Service // Notice of Entry of Order on Application for an Order
                          Appointing Kurtzman Carson Consultants LLC as Claims and Noticing Agent for the Debtor Pursuant to
                          28 U.S.C. §156(C), 11 U.S.C. §105(A), and Local Rule 2002-1(F) (related document(s)7, 43) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (Attachments: # 1 Exhibit
                          1 # 2 Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #48 ON 10/18/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) Additional attachment(s)
   12/04/2019             added on 12/9/2019 (Okafor, M.).

                             49 (13 pgs; 2 docs) Notice of Hearing // Notice of Motion of Debtor for Entry of an Order (I)
                          Extending Time to File Schedules of Assets and Liabilities, Schedules of Executory Contracts and
                          Unexpired Leases, and Statement of Financial Affairs, and (II) Granting Related Relief (related
                          document(s)4) Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00
                          PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 11/12/2019.(Attachments: # 1 Exhibit 1) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #49 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                              50 (37 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final Hearing on Motion
                          of Debtor for Entry of Interim and Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of
                          Critical Vendors and (B) Granting Related Relief (related document(s)3, 40) Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Exhibit 1 # 2 Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #50 ON 10/18/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             51 (36 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final Hearing on Motion
                          of Debtor for Entry of Interim and Final Orders Authorizing (A) Continuance of Existing Cash
                          Management System and Brokerage Relationships, (B) Continued Use of the Prime Account, (C) Limited
                          Waiver of Section 345(b) Deposit and Investment Requirements, and (D) Granting Related Relief (related
                          document(s)5, 42) Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/12/2019 (Attachments: # 1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #51 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.)

                             52 (22 pgs; 3 docs) Notice of Hearing // Notice of Entry of Interim Order and Final Hearing on Motion
                          of Debtor for Entry of Interim and Final Orders Authorizing Debtor to File Under Seal Portions of Its
                          Creditor Matrix Containing Employee Address Information (related document(s)8, 44) Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824
                          Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: #
                          1 Exhibit 1 # 2 Exhibit 2) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #52 ON 10/18/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019                 53 (36 pgs; 2 docs) Notice of Hearing // Notice of Motion of Debtor for Entry of Interim and Final
                          Orders (A) Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Authorizing
                          the Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a Final Hearing
                          (related document(s)6) Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/7/2019 at
                          03:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 10/31/2019. (Attachments: # 1 Exhibit 1) (O'Neill, James) [ORIGINALLY FILED AS
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                 11/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S. Filed  03/15/23
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                      DOCUMENT #53 ON 10/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF of 116 PageID 76
                          DELAWARE] (Okafor, M.)

                              54 (7 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Order Approving Motion for
                          Admission pro hac vice Jeffrey N. Pomerantz [Docket No. 29]; (2) [Signed] Order Approving Motion for
                          Admission pro hac vice Maxim B. Litvak [Docket No. 30]; (3) [Signed] Order Approving Motion for
                          Admission pro hac vice Ira D. Kharasch [Docket No. 31]; (4) [Signed] Order Approving Motion for
                          Admission pro hac vice Gregory V. Demo [Docket No. 32]; (5) [Signed] Order Approving Motion for
                          Admission pro hac vice John A. Morris [Docket No. 38]; (6) Notice of Entry of Order on Motion of
                          Debtor for Entry of Order (I) Authorizing the Debtor to (A) Pay and Honor Prepetition Compensation,
                          Reimbursable Business Expenses, and Employee Benefit Obligations, and (B) Maintain and Continue
                          Certain Compensation and Benefit Programs Postpetition; and (II) Granting Related Relief [Docket No.
                          47]; (7) Notice of Entry of Order on Application for an Order Appointing Kurtzman Carson Consultants
                          LLC as Claims and Noticing Agent for the Debtor Pursuant to 28 U.S.C. §156(C), 11 U.S.C. §105(A), and
                          Local Rule 2002-1(F) [Docket No. 48]; (8) Notice of Motion of Debtor for Entry of an Order (I) Extending
                          Time to File Schedules of Assets and Liabilities, Schedules of Executory Contracts and Unexpired Leases,
                          and Statement of Financial Affairs, and (II) Granting Related Relief [Docket No. 49]; (9) Notice of Entry
                          of Interim Order and Final Hearing on Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B) Granting Related Relief [Docket
                          No. 50]; (10) Notice of Entry of Interim Order and Final Hearing on Motion of Debtor for Entry of Interim
                          and Final Orders Authorizing (A) Continuance of Existing Cash Management System and Brokerage
                          Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit
                          and Investment Requirements, and (D) Granting Related Relief [Docket No. 51]; (11) Notice of Entry of
                          Interim Order and Final Hearing on Motion of Debtor for Entry of Interim and Final Orders Authorizing
                          Debtor to File Under Seal Portions of Its Creditor Matrix Containing Employee Address Information
                          [Docket No. 52]; and (12) Notice of Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Authorizing the
                          Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a Final Hearing [Docket
                          No. 53] (related document(s)29, 30, 31, 32, 38, 47, 48, 49, 50, 51, 52, 53) Filed by Highland Capital
                          Management, L.P. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #55 ON 10/21/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M)

                             55 (4 pgs; 2 docs) Notice of Appearance and Request for Notice by Josef W. Mintz , John E. Lucian ,
                          Phillip L. Lamberson , Rakhee V. Patel filed by Acis Capital Management, L.P. , Acis Capital Management
                          GP, LLC . (Attachments: # 1 Certificate of Service) (Mintz, Josef) [ORIGINALLY FILED AS
                          DOCUMENT #56 ON 10/22/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE](Okafor, M.)

                             56 (1 pg) Motion to Appear pro hac vice of Rakhee V. Patel of Winstead PC. Receipt Number
                          3112761165, Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.. (Mintz, Josef)
                          [ORIGINALLY FILED AS DOCUMENT #57 ON 10/22/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

                             57 (1 pg) Motion to Appear pro hac vice of Phillip Lamberson of Winstead PC. Receipt Number
                          3112761165, Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.. (Mintz, Josef)
                          [ORIGINALLY FILED AS DOCUMENT #58 ON 10/22/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

                             58 (1 pg) Motion to Appear pro hac vice of John E. Lucian of Blank Rome LLP. Receipt Number
                          3112548736, Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.. (Mintz, Josef)
                          [ORIGINALLY FILED AS DOCUMENT #59 ON 10/22/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019                59 (4 pgs; 3 docs) Notice of Appearance and Request for Notice by Michael I. Baird filed by Interested
                          Party Pension Benefit Guaranty Corporation . (Attachments: # 1 Certification of United States
                          Government Attorney # 2 Certificate of Service) (Baird, Michael) [ORIGINALLY FILED AS


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               12/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S. Filed  03/15/23
                                                   Bankruptcy          Entered
                                                              Court - Northern       03/15/23
                                                                               District of Texas 14:13:54 Desc
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                          DELAWARE](Okafor, M.)

                            60 (1 pg) Order Granting Motion for Admission pro hac vice for Rakhee V. Patel (Related Doc # 57)
                          Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #61 ON 10/24/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            61 (1 pg) Order Granting Motion for Admission pro hac vice of John E. Lucian (Related Doc # 59)
                          Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #62 ON 10/24/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            62 (1 pg) Order Granting Motion for Admission pro hac vice of Phillip Lamberson (Related Doc # 58)
                          Order Signed on 10/24/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #63 ON 10/24/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            63 (2 pgs) Notice of Appearance and Request for Notice by Michael L. Vild filed by Creditor Patrick
                          Daugherty . (Vild, Michael) [ORIGINALLY FILED AS DOCUMENT #64 ON 10/24/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            64 (1 pg) Notice of Appointment of Creditors' Committee Filed by U.S. Trustee. (Leamy, Jane)
                          [ORIGINALLY FILED AS DOCUMENT #65 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.)

                             65 (1 pg) Request of US Trustee to Schedule Section 341 Meeting of Creditors November 20,2019 at
                          9:30 a.m. Filed by U.S. Trustee. (Leamy, Jane) [ORIGINALLY FILED AS DOCUMENT #66 ON
   12/04/2019             10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                            66 (2 pgs) Notice of Meeting of Creditors/Commencement of Case Filed by Highland Capital
                          Management, L.P.. 341(a) meeting to be held on 11/20/2019 at 09:30 AM at J. Caleb Boggs Federal
                          Building, 844 King St., Room 3209, Wilmington, Delaware. (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #67 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.)

                             67 (27 pgs; 4 docs) Motion to Authorize /Motion of the Debtor for Entry of an Order (I) Authorizing
                          Bradley D. Sharp to Act as Foreign Representative Pursuant to 11 U.S.C. Section 1505 and (II) Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00
                          PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Form of Order # 3 Certificate of
                          Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #68 ON 10/29/2019
   12/04/2019             IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

                             68 (48 pgs; 8 docs) Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C -
                          Proposed Order # 5 2016 Statement # 6 Declaration Frank Waterhouse # 7 Certificate of Service) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE] (Okafor, M.)

   12/04/2019               69 (37 pgs; 7 docs) **WITHDRAWN per #437. Application/Motion to Employ/Retain Lynn Pinker
                          Cox & Hurst LLP as Special Texas Litigation Counsel Filed by Highland Capital Management, L.P..
                          Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2
                          Exhibit A - Hurst Declaration # 3 Exhibit B - Proposed Order # 4 2016 Statement # 5 Declaration Frank
                          Waterhouse # 6 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #70 ON

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                13/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.    Filed 03/15/23
                                                     Bankruptcy          Entered
                                                                Court - Northern       03/15/23
                                                                                 District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E       Document
                                         Main Document
                                                  1-1   Filed Page
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                      10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor,of 116 PageID 78 M.)
                          Modified on 2/11/2020 (Ecker, C.). (Entered: 12/05/2019)

                             70 (35 pgs; 7 docs) Application/Motion to Employ/Retain Pachulski Stang Ziehl & Jones LLP as
                          Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824
                          Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019(Attachments: # 1
                          Notice # 2 Rule 2016 Statement # 3 Declaration of Jeffrey N. Pomerantz in Support # 4 Declaration of
                          Frank Waterhouse # 5 Proposed Form of Order # 6 Certificate of Service and Service List) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #71 ON 10/29/2019 IN U.S. BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Main Document 70 replaced on 2/16/2022)
   12/04/2019             (Okafor, Marcey). Additional attachment(s) added on 2/16/2022 (Okafor, Marcey). (Entered: 12/05/2019)

                             71 (9 pgs; 2 docs) Notice of Withdrawal of Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Authorizing the
                          Liquidation of Securities, (D) Modifying the Automatic Stay, and (E) Scheduling a Final Hearing (related
                          document(s)6) Filed by Highland Capital Management, L.P. (Attachments: # 1 Certificate of Service and
                          Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #72 ON 10/29/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             72 (28 pgs; 4 docs) Motion for Order Establishing Procedures for Interim Compensation and
                          Reimbursement of Expenses of Professionals Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed
                          Order # 3 Certificate of Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #73 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              73 (41 pgs; 5 docs) Application/Motion to Employ/Retain Kurtzman Carson Consultants as
                          Administrative Advisor Effective Nunc Pro Tunc to the Petition Date Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Gershbein Declaration # 4 Certificate of Service and
                          Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #74 ON 10/29/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             74 (48 pgs; 6 docs) Application/Motion to Employ/Retain Development Specialists, Inc. as Provide a
                          Chief Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring-Related
                          Services, Nunc Pro Tunc As of the Petition Date Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A -
                          Engagement Letter # 3 Exhibit B - Sharp Declaration # 4 Exhibit C - Proposed Order # 5 Certificate of
                          Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #75 ON 10/29/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             75 (37 pgs; 6 docs) Motion to Authorize /Motion for an Order Authorizing the Debtor to Retain,
                          Employ, and Compensate Certain Professionals Utilized by the Debtors in the Ordinary Course of
                          Business Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at
                          US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - OCP List # 4 Exhibit
                          C - Form of Declaration of Disinterestedness # 5 Certificate of Service and Service List) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #76 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019               76 (99 pgs; 6 docs) **WITHDRAWN by # 360** Motion to Approve /Precautionary Motion of the
                          Debtor for Order Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                14/56
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              AM  19-34054-sgj11 Doc 3685 U.S.        Filed 03/15/23
                                                         Bankruptcy          Entered
                                                                    Court - Northern       03/15/23
                                                                                     District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E       Document
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                                                                           79   of 120
                                                                                     Page       75  of 116 PageID 79 at
                      Course of Business Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Appendix I # 3 Appendix II # 4 Proposed
                          Form of Order # 5 Certificate of Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #77 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.) Modified on 1/16/2020 (Ecker, C.). (Entered: 12/05/2019)

                             77 (2 pgs) Notice of Appearance and Request for Notice by William A. Hazeltine filed by Interested
                          Party Hunter Mountain Trust . (Okafor, M.) (Hazeltine, William) [ORIGINALLY FILED AS
                          DOCUMENT #78 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.). (Entered: 12/05/2019)

                             78 (2 pgs) Notice of Meeting of Creditors/Commencement of Case (Corrected) Filed by Highland
                          Capital Management, L.P.. 341(a) meeting to be held on 11/20/2019 at 09:30 AM at J. Caleb Boggs
                          Federal Building, 844 King St., Room 3209, Wilmington, Delaware. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #79 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             79 (1 pg) Motion to Appear pro hac vice of Brian P. Shaw of Rogge Dunn Group. Receipt Number
                          0311-27677, Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P. (Bibiloni, Jose)
                          [ORIGINALLY FILED AS DOCUMENT #80 ON 10/30/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             80 (4 pgs; 2 docs) Amended Notice of Appearance. The party has consented to electronic service. Filed
                          by Acis Capital Management GP LLC, Acis Capital Management, L.P. (Attachments: # 1 Certificate of
                          Service) (Bibiloni, Jose) [ORIGINALLY FILED AS DOCUMENT #81 ON 10/30/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             81 (3 pgs) Notice of Appearance and Request for Notice by Jessica Boelter , Alyssa Russell , Matthew
                          A. Clemente , Bojan Guzina filed by Creditor Committee Official Committee of Unsecured Creditors .
                          (Guzina, Bojan) [ORIGINALLY FILED AS DOCUMENT #82 ON 10/30/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             82 (21 pgs; 2 docs) Initial Reporting Requirements /Initial Monthly Operating Report of Highland
                          Capital Management, LP Filed by Highland Capital Management, L.P.. (Attachments: # 1 Certificate of
                          Service and Service List) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #83 ON 10/31/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             83 (1 pg) Order Approving Motion for Admission pro hac vice Brian P. Shaw(Related Doc # 80) Order
                          Signed on 11/1/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #84 ON 11/01/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             84 (4 pgs; 2 docs) Notice of Appearance and Request for Notice by Sarah E. Silveira , Michael J.
                          Merchant , Asif Attarwala , Jeffrey E. Bjork filed by Interested Parties UBS AG London Branch , UBS
                          Securities LLC . (Attachments: # 1 Certificate of Service) (Merchant, Michael) [ORIGINALLY FILED AS
                          DOCUMENT #85 ON 11/01/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            85 (159 pgs; 6 docs) Motion to Change Venue/Inter-district Transfer Filed by Official Committee of
                          Unsecured Creditors. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B # 3 Exhibit C # 4
                          Exhibit D # 5 Exhibit E - Certificate of Service) (Guzina, Bojan)[ORIGINALLY FILED AS DOCUMENT
                          #86 ON 11/01/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor,
   12/04/2019             M.) (Entered: 12/05/2019)



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                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
                                   Main Document
                                            1-1 FiledPage 03/15/23
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                            86 (15 pgs; 3 docs) Emergency Motion to Shorten Notice With Respect To The Motion Of Official
                          Committee Of Unsecured Creditors To Transfer Venue Of This Case To The United States Bankruptcy
                          Court For The Northern District Of Texas (related document(s)86) Filed by Official Committee of
                          Unsecured Creditors. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B - Certificate of Service)
                          (Guzina, Bojan) [ORIGINALLY FILED AS DOCUMENT #87 ON 11/01/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             87 (1 pg) Order Denying Emergency Motion to Shorten Notice With Respect to The Motion of Official
                          Committee of Unsecured Creditors to Transfer Venue of This Case to the United States Bankruptcy Court
                          for the Northern District Of Texas (Related Doc # 87) Order Signed on 11/4/2019. (JS) [ORIGINALLY
                          FILED AS DOCUMENT #88 ON 11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             88 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by Jefferies LLC.
                          (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #89 ON 11/04/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             89 (1 pg) Motion to Appear pro hac vice of Patrick C. Maxcy. Receipt Number 2770240, Filed by
                          Jefferies LLC. (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #90 ON 11/04/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             90 (1 pg) Motion to Appear pro hac vice of Lauren Macksoud. Receipt Number 2770389, Filed by
                          Jefferies LLC. (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #91 ON 11/04/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            91 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by
                          INTEGRATED FINANCIAL ASSOCIATES, INC. (Carlyon, Candace) [ORIGINALLY FILED AS
                          DOCUMENT #92 ON 11/04/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            92 (1 pg) Order Approving Motion for Admission pro hac vice Patrick C. Maxcy(Related Doc # 90)
                          Order Signed on 11/5/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #93 ON 11/05/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            93 (1 pg) Order Approving Motion for Admission pro hac vice Lauren Macksoud(Related Doc # 91)
                          Order Signed on 11/5/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #94 ON 11/05/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              94 (11 pgs; 2 docs) HEARING CANCELLED. Notice of Agenda of Matters not going forward. The
                          following hearing has been cancelled. Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          11/7/2019 at 03:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. (Attachments: # 1 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #95 ON 11/05/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             95 (3 pgs; 2 docs) Notice of Appearance. The party has consented to electronic service. Filed by BET
                          Investments, II, L.P.. (Attachments: # 1 Certificate of Service) (Kurtzman, Jeffrey) (Attachments: # 1
                          Certificate of Service) [ORIGINALLY FILED AS DOCUMENT #96 ON 11/05/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             96 (3 pgs; 2 docs) Certification of Counsel Regarding Order Scheduling Omnibus Hearing Date Filed
                          by Highland Capital Management, L.P.. (Attachments: # 1 Proposed Form of Order) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #97 ON 11/07/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               16/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.
                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
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                             98 (1 pg) Order Scheduling Omnibus Hearings. Omnibus Hearings scheduled for 12/17/2019 at 11:00
                          AM US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Signed on
                          11/7/2019. (CAS) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #98 ON 11/07/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              101 (17 pgs; 4 docs) Exhibit(s) // Notice of Filing of Amended Exhibit B to Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized By the Debtor
                          in the Ordinary Course of Business (related document(s)76) Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Certificate of Service) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #99 ON 11/07/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             102 (8 pgs) Affidavit/Declaration of Service for service of [Signed] Order Scheduling Omnibus
                          Hearing Date [Docket No. 98] (related document(s)98) Filed by Highland Capital Management, L.P..
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #100 ON 11/07/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              103 (10 pgs) Notice of Deposition - Notice to Take Rule 30(b)(6) Deposition Upon Oral Examination
                          of the Debtor, Highland Capital Management, L.P. Filed by Official Committee of Unsecured Creditors.
                          (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #101 ON 11/10/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)


                             104 (2 pgs) Notice of Deposition of Frank Waterhouse Filed by Official Committee of Unsecured
                          Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #102 ON 11/10/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             106 (2 pgs) Notice of Service - Notice of Intent to Serve Subpoena Filed by Official Committee of
                          Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #103 ON 11/10/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             107 (10 pgs; 2 docs) Notice of Substitution of Counsel Filed by Alvarez & Marsal CRF Management,
                          LLC, as Investment Manager of the Highland Crusader Funds. (Attachments: # 1 Certificate of Service)
                          (Ryan, Jeremy) [ORIGINALLY FILED AS DOCUMENT #104 ON 11/11/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             108 (3 pgs) Amended Notice of Appearance. The party has consented to electronic service. Filed by
                          Official Committee of Unsecured Creditors. (Beach, Sean) . [ORIGINALLY FILED AS DOCUMENT
                          #105 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor,
   12/04/2019             M.) (Entered: 12/05/2019)

                             110 (1 pg) Motion to Appear pro hac vice Of Bojan Guzina of Sidley Austin LLP. Receipt Number
                          2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean) [ORIGINALLY FILED AS
                          DOCUMENT #106 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             111 (1 pg) Motion to Appear pro hac vice of Alyssa Russell of Sidley Austin LLP. Receipt Number
                          2620330, Filed by Official Committee of Unsecured Creditors. (Beach, Sean)[ORIGINALLY FILED AS
                          DOCUMENT #107 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019
                            112 (1 pg) Motion to Appear pro hac vice of Matthew A. Clemente of Sidley Austin LLP. Receipt
                          Number 2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean) [ORIGINALLY


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                             17/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.Filed 03/15/23
                                                 Bankruptcy          Entered
                                                            Court - Northern       03/15/23
                                                                             District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E  Document
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                      FILED AS DOCUMENT #108 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT      82
                          OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             113 (1 pg) Motion to Appear pro hac vice of Paige Holden Montgomery. Receipt Number 2775584,
                          Filed by Official Committee of Unsecured Creditors. (Beach, Sean) [ORIGINALLY FILED AS
                          DOCUMENT #109 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             114 (1 pg) Motion to Appear pro hac vice of Penny P. Reid of Sidley Austin. Receipt Number
                          2775584, Filed by Official Committee of Unsecured Creditors. (Beach, Sean) [ORIGINALLY FILED AS
                          DOCUMENT #110 ON 11/11/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             115 (1 pg) Order Approving Motion for Admission pro hac vice Bojan Guzina(Related Doc # 106)
                          Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #111 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             116 (1 pg) Order Approving Motion for Admission pro hac vice Alyssa Russell (Related Doc # 107)
                          Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #112 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             117 (1 pg) Order Approving Motion for Admission pro hac vice Matthew A. Clemente (Related Doc #
                          108) Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #113 ON 11/12/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             118 (1 pg) Order Approving Motion for Admission pro hac vice Paige Holden(Related Doc # 109)
                          Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #114 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             119 (1 pg) Order Approving Motion for Admission pro hac vice Penny P. Reid(Related Doc # 110)
                          Order Signed on 11/12/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #115 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                              120 (94 pgs; 11 docs) Limited Objection to the Debtors: (I) Application for an Order Authorizing the
                          Retention and Employment of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel, Nunc Pro
                          Tunc to the Petition Date; and (II) Application for an Order Authorizing the Retention and Employment of
                          Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date
                          (related document(s)69, 70) Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7
                          Exhibit G # 8 Exhibit H # 9 Exhibit I # 10 Certificate of Service) (Mintz, Josef) [ORIGINALLY FILED
                          AS DOCUMENT #116 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             121 (26 pgs; 3 docs) Limited Objection and Reservation of Rights of Jefferies LLC to Debtor's Motion
                          for Order Approving Protocols for the Debtor to Implement Certain Transactions in the Ordinary Course of
                          Business (related document(s)77) Filed by Jefferies LLC (Attachments: # 1 Exhibit A # 2 Certificate of
                          Service) (Bowden, William) [ORIGINALLY FILED AS DOCUMENT #117 ON 11/12/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                122 (27 pgs) Objection of the Debtor to Motion of Official Committee of Unsecured Creditors to
                          Transfer Venue of This Case to the United States Bankruptcy Court for the Northern District of Texas
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               18/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.         Filed 03/15/23
                                                          Bankruptcy          Entered
                                                                     Court - Northern       03/15/23
                                                                                      District of Texas 14:13:54 Desc
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                                          Main   Document
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                                                                                      Page       79  of 116 PageID 83
                      (related document(s)86) Filed by Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #118 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             123 (5 pgs) Limited Objection to Motion of the Debtor for an Order Authorizing the Debtor to Retain,
                          Employee, and Compensate Certain Professionals Utilized by the Debtors in the Ordinary Course of
                          Business (related document(s)76) Filed by Official Committee of Unsecured Creditors (Weissgerber,
                          Jaclyn) [ORIGINALLY FILED AS DOCUMENT #119 ON 11/12/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE](Okafor, M.) (Entered: 12/05/2019)

                              124 (6 pgs) **WITHDRAWN per # 456** Limited Objection to the Debtor's Application for an Order
                          Authorizing the Retention and Employment of Foley Gardere, Foley & Lardner LLP and Lynn Pinker Cox
                          & Hurst as Special Texas Counsel and Special Litigation Counsel, Nunc Pro Tunc to the Petition Date
                          (related document(s)69, 70) Filed by Official Committee of Unsecured Creditors (Weissgerber, Jaclyn)
                          [ORIGINALLY FILED AS DOCUMENT #120 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR
                          THE DISTRICT OF DELAWARE] (Okafor, M.) Modified on 2/19/2020 (Ecker, C.). (Entered:
   12/04/2019             12/05/2019)

                             125 (4 pgs) Limited Objection to the Motion of Debtor for Entry of Interim and Final Orders (A)
                          Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B) Granting Related Relief (related
                          document(s)3) Filed by Official Committee of Unsecured Creditors (Weissgerber, Jaclyn) [ORIGINALLY
                          FILED AS DOCUMENT #121 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              126 (11 pgs) Joinder to Motion of the Official Committee of Unsecured Creditors For an Order
                          Transferring Venue of this Case to the United States Bankruptcy Court for the Northern District of Texas
                          (related document(s)86) Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P..
                          (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #122 ON 11/12/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.) (Entered: 12/05/2019)

                             127 (12 pgs; 3 docs) Motion to File Under Seal of the Omnibus Objection of the Official Committee of
                          Unsecured Creditors to the Debtors (I) Motion for Final Order Authorizing Continuance of the Existing
                          Cash Management System, (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a
                          Chief Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for Ordinary Course
                          Transactions Filed by Official Committee of Unsecured Creditors. Hearing scheduled for 11/19/2019 at
                          12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 11/19/2019. (Attachments: # 1 Notice # 2 Proposed Form of Order) [ORIGINALLY
                          FILED AS DOCUMENT #123 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             128 [SEALED in Delaware Bankruptcy Court] Omnibus Objection to the Debtor's (I) Motion for Final
                          Order Authorizing Continuance of the Existing Cash Management System, (II) Motion to Employ and
                          Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III) Precautionary
                          Motion for Approval of Protocols for "Ordinary Course" Transactions (related document(s)5, 75, 77, 123)
                          Filed by Official Committee of Unsecured Creditors (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit
                          C # 4 Exhibit D # 5 Exhibit E) (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #124 ON
                          11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             130 (162 pgs; 6 docs) Objection to the Debtor's (I) Motion for Final Order Authorizing Continuance of
                          the Existing Cash Management System, (II) Motion to Employ and Retain Development Specialists, Inc.
                          to Provide a Chief Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for
                          "Ordinary Course" Transactions (Redacted) (related document(s)5, 75, 77, 123, 124) Filed by Official
                          Committee of Unsecured Creditors (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Exhibit C # 4 Exhibit D
                          # 5 Exhibit E)(Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #125 ON 11/12/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

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                            131 (2 pgs) Notice of Service of Discovery Filed by Official Committee of Unsecured Creditors.
                          (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #126 ON 11/12/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             132 (5 pgs) Objection Motion of Debtor for Entry of Order Authorizing Debtor to File Under Seal
                          Portions of Creditor Matrix Containing Employee Address Information (related document(s)8) Filed by
                          U.S. Trustee (Leamy, Jane) [ORIGINALLY FILED AS DOCUMENT #127 ON 11/12/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             133 (7 pgs) Certificate of Service of Objection of the Debtor to Motion of Official Committee of
                          Unsecured Creditors to Transfer Venue of This Case to the United States Bankruptcy Court for the
                          Northern District of Texas (related document(s)118) Filed by Highland Capital Management, L.P..
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #128 ON 11/12/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.) Modified text on 12/5/2019 (Okafor, M.).
   12/04/2019             (Entered: 12/05/2019)

                             134 (5 pgs) Certificate of Service of Acis's Joinder in Motion to Transfer Venue (related
                          document(s)122) Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P.. (Mintz,
                          Josef) [ORIGINALLY FILED AS DOCUMENT #129 ON 11/13/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             135 (7 pgs; 2 docs) Objection U.S. Trustee's Objection to the Motion of Debtor Pursuant to 11 U.S.C.
                          §§ 105(a) and 363(b) to Provide a Chief Restructuring Officer, Additional Personnel and Financial
                          Advisory and Restructuring Related Services, Nunc Pro Tunc as of the Petition Date (related
                          document(s)75) Filed by U.S. Trustee (Attachments: # 1 Certificate of Service)(Leamy, Jane)
                          [ORIGINALLY FILED AS DOCUMENT #130 ON 11/13/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             136 (1 pg) Certificate of Service of United States Trustees Objection to Motion of Debtor for Entry of
                          Order Authorizing Debtor to File Under Seal Portions of Creditor Matrix Containing Employee Address
                          Information (related document(s)127) Filed by U.S. Trustee. (Leamy, Jane) [ORIGINALLY FILED AS
                          DOCUMENT #131 ON 11/13/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             137 (17 pgs; 3 docs) Certification of Counsel Regarding Debtor's Motion Pursuant to Sections 105(A),
                          330 and 331 of the Bankruptcy Code for Administrative Order Establishing Procedures for the Interim
                          Compensation and Reimbursement of Expenses of Professionals (related document(s)73) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B -
                          Blackline Order)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #132 ON 11/13/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             138 (17 pgs; 2 docs) Certificate of No Objection Regarding Debtor's Application for Authorization to
                          Employ and Retain Kurtzman Carson Consultants LLC as Administrative Advisor Effective Nunc Pro
                          Tunc to the Petition Date (related document(s)74) Filed by Highland Capital Management, L.P..
                          (Attachments: # 1 Exhibit A - Proposed Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT
                          #133 ON 11/13/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor,
   12/04/2019             M.) (Entered: 12/05/2019)

                              139 (5 pgs; 2 docs) Certificate of No Objection Regarding Motion of the Debtor for Entry of an Order
                          (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Executory Contracts and
                          Unexpired Leases, and Statement of Financial Affairs, and (II) Granting Related Relief (related
                          document(s)4) Filed by Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A - Proposed
                          Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #134 ON 11/13/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)



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                             140 (2 pgs) Notice of Appearance. The party has consented to electronic service. Filed by Crescent TC
                          Investors, L.P.. (Held, Michael) [ORIGINALLY FILED AS DOCUMENT #135 ON 11/14/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             141 (6 pgs) ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION AND
                          REIMI3URSEMENT OF EXPENSES OF PROFESSIONALS(Related Doc # 73) Order Signed on
                          11/14/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #136 ON 11/14/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             142 (14 pgs) ORDER AUTHORIZING THE DEBTOR TO EMPLOY AND RETAIN KURTZMAN
                          CARSON CONSULTANTS LLC AS ADMINISTRATIVE ADVISOR EFFECTIVE NUNC PRO TUNC
                          TO THE PETITION DATE (Related Doc # 74) Order Signed on 11/14/2019. (DRG) [ORIGINALLY
                          FILED AS DOCUMENT #137 ON 11/14/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             143 (2 pgs) ORDER (I) EXTENDING TIME TO FILE SCHEDULES OF ASSETS AND
                          LIABILITIES, SCHEDULES OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND
                          STATEMENTOF FINANCIAL AFFAIRS, AND (II) GRANTING RELATED RELIEF (Related Doc # 4)
                          Order Signed on 11/14/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #138 ON 11/14/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             144 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by Intertrust
                          Entities. (Desgrosseilliers, Mark) [ORIGINALLY FILED AS DOCUMENT #139 ON 11/14/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             145 (3 pgs) Notice of Appearance. The party has consented to electronic service. Filed by CLO
                          Entities. (Desgrosseilliers, Mark) [ORIGINALLY FILED AS DOCUMENT #140 ON 11/14/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             146 (11 pgs) Notice of Deposition Upon Oral Examination Under Rules 30 and 30(b)(6) of the Debtor,
                          Highland Capital Management, L.P. Filed by Official Committee of Unsecured Creditors. (Guerke, Kevin)
                          [ORIGINALLY FILED AS DOCUMENT #141 ON 11/15/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              147 (18 pgs; 2 docs) Notice of Agenda of Matters Scheduled for Hearing Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware (Attachments: # 1 Certificate of Service)
                          [ORIGINALLY FILED AS DOCUMENT #142 ON 11/15/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             148 (7 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Order Establishing Procedures
                          for Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 136]; (2)
                          [Signed] Order Authorizing the Debtor to Employ and Retain Kurtzman Carson Consultants LLC as
                          Administrative Advisor Effective Nunc Pro Tunc to the Petition Date [Docket No. 137]; and (3) [Signed]
                          Order (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Executory Contracts
                          and Unexpired Leases, and Statement of Financial Affairs, and (II) Granting Related Relief [Docket No.
                          138] (related document(s)136, 137, 138) Filed by Highland Capital Management, L.P.. (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #143 ON 11/15/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                149 (2 pgs) Notice of Hearing regarding Motion to Change Venue/Inter-district Transfer (related
                          document(s)86, 87, 88) Filed by Official Committee of Unsecured Creditors. Hearing scheduled for
                          12/2/2019 at 10:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,


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                      Delaware. (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #144 ON 11/18/2019 IN U.S.   PageID 86
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             150 (9 pgs; 2 docs) Notice of Rescheduled 341 Meeting (related document(s)67, 79) Filed by Highland
                          Capital Management, L.P.. 341(a) meeting to be held on 12/3/2019 at 10:30 AM (check with U.S. Trustee
                          for location) (Attachments: # 1 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #145 ON 11/18/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             151 (17 pgs; 2 docs) Agenda of Matters Scheduled for Telephonic Hearing (related document(s)142)
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.(Attachments: # 1
                          Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #146 ON 11/18/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            152 (2 pgs) Notice of Appearance. The party has consented to electronic service. Filed by CLO
                          Holdco, Ltd.. (Kane, John) [ORIGINALLY FILED AS DOCUMENT #149 ON 11/19/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             153 (2 pgs) Amended Notice of Deposition of Frank Waterhouse Filed by Official Committee of
                          Unsecured Creditors. (Guerke, Kevin) [ORIGINALLY FILED AS DOCUMENT #150 ON 11/19/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                              154 (3 pgs) Notice of Appearance and Request for Notice by Sally T. Siconolfi , Joseph T. Moldovan
                          filed by Interested Party Meta-e Discovery, LLC . (Moldovan, Joseph)[ORIGINALLY FILED AS
                          DOCUMENT #152 ON 11/20/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             156 (4 pgs) Affidavit/Declaration of Service regarding Notice of Hearing regarding Motion to Change
                          Venue/Inter-district Transfer (related document(s)144) Filed by Official Committee of Unsecured
                          Creditors. (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #153 ON 11/20/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             158 (5 pgs; 2 docs) Motion to Appear pro hac vice of Annmarie Chiarello of Winstead PC. Receipt
                          Number 0311-27843, Filed by Acis Capital Management GP LLC, Acis Capital Management, L.P..
                          (Bibiloni, Jose) [ORIGINALLY FILED AS DOCUMENT #154 ON 11/20/2019 IN U.S. BANKRUPTCY
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) Additional attachment(s) added on
   12/04/2019             12/5/2019 (Okafor, M.). (Entered: 12/05/2019)

                             159 (2 pgs; 2 docs) Order Approving Motion for Admission pro hac vice Annmarie Chiarello (Related
                          Doc # 154) Order Signed on 11/21/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #155 ON
                          11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             Additional attachment(s) added on 12/5/2019 (Okafor, M.). (Entered: 12/05/2019)

                             162 (8 pgs) Reply in Support of Motion to Transfer Venue of This Case to the United States
                          Bankruptcy Court for the Northern District of Texas (related document(s)86, 118) Filed by Official
                          Committee of Unsecured Creditors (Beach, Sean) [ORIGINALLY FILED AS DOCUMENT #156 ON
                          11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

   12/04/2019                163 (7 pgs) Reply in Support of the Motion of the Official Committee of Unsecured Creditors For an
                          Order Transferring Venue of this Case to the United States Bankruptcy Court for the Northern District of
                          Texas (related document(s)86, 118, 122, 156) Filed by Acis Capital Management GP LLC, Acis Capital

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                      Management, L.P. (Mintz, Josef) [ORIGINALLY FILED AS DOCUMENT #157 ON 11/21/2019 116 PageID 87 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             164 (4 pgs) Response of the Debtor to Acis's Joinder to Motion to Transfer Venue (related
                          document(s)86, 122) Filed by Highland Capital Management, L.P. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #158 ON 11/21/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              165 (265 pgs; 11 docs) Omnibus Reply In Support of (I) Application for an Order Authorizing the
                          Retention and Employment of Foley Gardere, Foley & Lardner as Special Texas Counsel Nunc Pro Tunc
                          to the Petition Date; and (II) Application for an Order Authorizing the Retention and Employment of Lynn
                          Pinker Cox & Hurst LLP as Special Texas Litigation Counsel Nunc Pro Tunc to Petition Date (related
                          document(s)69, 70, 116, 120) Filed by Highland Capital Management, L.P.(Attachments: # 1 Exhibit A # 2
                          Exhibit B # 3 Exhibit C # 4 Exhibit D # 5 Exhibit E # 6 Exhibit F # 7 Exhibit G # 8 Exhibit H # 9 Exhibit I
                          # 10 Exhibit J) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #159 ON 11/21/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) Modified text on
   12/04/2019             12/5/2019 (Okafor, M.). (Entered: 12/05/2019)

                             166 (46 pgs; 5 docs) Omnibus Reply of the Debtor in Support of: (1) Motion for Final Order
                          Authorizing Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III) Precautionary Motion for
                          Approval of Protocols for Ordinary Course Transactions (related document(s)5, 75, 77) Filed by Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A - Redline Order Approving Ordinary Course
                          Protocols Motion # 2 Exhibit B - Redline Order Approving Cash Management Motion # 3 Exhibit C -
                          Redline Order Approving DSI Retention Motion # 4 Exhibit D - Summary of Intercompany Transactions)
                          (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #160 ON 11/21/2019 IN U.S. BANKRUPTCY
   12/04/2019             COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             168 (8 pgs) Certificate of Service of 1) Response of the Debtor to Acis's Joinder to Motion to Transfer
                          Venue; 2) Omnibus Reply In Support of (I) Application for an Order Authorizing the Retention and
                          Employment of Foley Gardere, Foley & Lardner as Special Texas Counsel Nunc Pro Tunc to the Petition
                          Date, and (II) Application for an Order Authorizing the Retention and Employment of Lynn Pinker Cox &
                          Hurst LLP; and 3) Omnibus Reply of the Debtor in Support of: (I) Motion for Final Order Authorizing
                          Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain Development
                          Specialists, Inc. to Provide a Chief Restructuring Officer, and (III) Precautionary Motion for Approval of
                          Protocols for Ordinary Course Transactions (related document(s)158, 159, 160) Filed by Highland Capital
                          Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #161 ON 11/22/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                            169 (16 pgs; 4 docs) Exhibit(s) // Notice of Filing of Second Amended Exhibit B to Motion for an
                          Order Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized By the
                          Debtor in the Ordinary Course of Business (related document(s)76, 99) Filed by Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit 1 # 2 Exhibit 2 # 3 Certificate of Service) (O'Neill, James)
                          [ORIGINALLY FILED AS DOCUMENT #162 ON 11/25/2019 IN U.S. BANKRUPTCY COURT FOR
   12/04/2019             THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             170 (15 pgs; 3 docs) Certification of Counsel Regarding Motion of Debtor for Entry of Interim and
                          Final Orders (A) Authorizing Debtor to Pay Prepetition Claims of Critical Vendors and (B) Granting
                          Related Relief (related document(s)3, 40) Filed by Highland Capital Management, L.P..(Attachments: # 1
                          Exhibit A # 2 Exhibit B) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #163 ON 11/25/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

   12/04/2019                171 (19 pgs; 3 docs) **WITHDRAWN** - 11/26/2019. SEE DOCKET # 165. Certification of Counsel
                          Regarding Motion for an Order Authorizing the Debtor to Retain, Employ, and Compensate Certain
                          Professionals Utilized by the Debtor in the Ordinary Course of Business (related document(s)76, 99, 162)

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                                                                                    Page       84  of 116 PageID 88 James)
                      Filed by Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B) (O'Neill,
                          Modified on 11/26/2019 (DMC). [ORIGINALLY FILED AS DOCUMENT #164 ON 11/25/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              172 (2 pgs) Notice of Withdrawal of Certification of Counsel Regarding Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized By the Debtor
                          in the Ordinary Course of Business (related document(s)164) Filed by Highland Capital Management,
                          L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #165 ON 11/26/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             173 (29 pgs; 3 docs) Certification of Counsel Regarding Motion for an Order Authorizing the Debtor
                          to Retain, Employ, and Compensate Certain Professionals Utilized By the Debtor in the Ordinary Course
                          of Business (related document(s)76, 99, 162) Filed by Highland Capital Management, L.P (Attachments: #
                          1 Exhibit A # 2 Exhibit B)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #166 ON 11/26/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                              174 (17 pgs; 2 docs) Notice of Agenda of Matters Scheduled for Hearing Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 12/2/2019 at 10:00 AM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. (Attachments: # 1 Certificate of Service) (O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #167 ON 11/26/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE (Okafor, M.) (Entered: 12/05/2019)

                             175 (5 pgs) FINAL ORDER (A) AUTHORIZING THE DEBTOR TO PAY CERTAIN PREPETITION
                          CLAIMS OF CRITICAL VENDORS AND (B) GRANTING RELATED RELIEF (Related document(s) 3,
                          40) Signed on 11/26/2019. (DRG) [ORIGINALLY FILED AS DOCUMENT #168 ON 11/26/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            176 (12 pgs; 2 docs) ORDER PURSUANT TO SECTIONS 105(A), 327, 328, AND 330 OF THE
                          BANKRUPTCY CODE AUTH0RIZING THE DEBTOR TO RETAIN, EMPLOY, AND COMPENSATE
                          CERTAIN PROFESSIONALSUTILIZED BY THE DEBTORS IN THE ORDINARY COURSE OF
                          BUSINESS (Related Doc # 76, 99, 162) Order Signed on 11/26/2019. (Attachments: # 1 Exhibit A)
                          (DRG) [ORIGINALLY FILED AS DOCUMENT #169 ON 11/26/2019 IN U.S. BANKRUPTCY COURT
   12/04/2019             FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             177 (24 pgs; 3 docs) Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00
                          AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                              178 (32 pgs; 3 docs) Supplemental Declaration in Support of Jeffrey N. Pomerantz in Support of
                          Application Pursuant to Section 327(a) of the Bankruptcy Code, Rule 2014 of the Federal Rules of
                          Bankruptcy Procedure and Local Rule 2014-1 for Authorization to Employ and Retain Pachulski Stang
                          Ziehl & Jones LLP as Counsel for the Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date
                          (related document(s)71) Filed by Highland Capital Management, L.P.. (Attachments: # 1 Exhibit 1 # 2
                          Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #171 ON 11/26/2019 IN
   12/04/2019             U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE(Okafor, M.) (Entered: 12/05/2019)

   12/04/2019                179 (11 pgs; 3 docs) Certification of Counsel Regarding Debtor's Application Pursuant to Section
                          327(A) of the Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule
                          2014-1 for Authorization to Employ and Retain Pachulski Stang Ziehl & Jones LLP as Counsel for the
                          Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date (related document(s)71) Filed by
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A - Proposed Order # 2 Exhibit B -

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                      Blackline Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #172 ON 11/26/2019116 PageID 89 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE](Okafor, M.) (Entered: 12/05/2019)

                             180 (58 pgs; 6 docs) Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation
                          Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Declaration of John
                          Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives # 5 Certificate of Service and
                          Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             181 (7 pgs) Certificate of Service and Service List for service of Motion of the Debtor for Entry of an
                          Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus
                          Plans and Granting Related Relief [Docket No. 170] (related document(s)170) Filed by Highland Capital
                          Management, L.P.. (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #174 ON 11/27/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             182 (18 pgs; 2 docs) Amended Notice of Agenda of Matters Scheduled for Hearing (related
                          document(s)167) Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/2/2019 at 10:00
                          AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware (Attachments:
                          # 1 Certificate of Service)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #175 ON 11/27/2019
                          IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered:
   12/04/2019             12/05/2019)

                             183 (3 pgs) ORDER PURSUANT TO SECTION 327(a) OF THE BANKRUPTCY CODE, RULE
                          2414 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE AND LOCAL RULE 2014-1
                          AUTHORIZING THE EMPLOYMENT AND RETENTION OF PACHULSKI TANG ZIEHL & JONES
                          LLP AS COUNSEL FOR THE DEBTOR AND DEBTOR IN POSSESSION NUNC PRO TUNC TO THE
                          PETITION DATE (Related Doc # 71) Order Signed on 12/2/2019. (DRG) [ORIGINALLY FILED AS
                          DOCUMENT #176 ON 12/02/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
   12/04/2019             DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             184 (6 pgs) Certification of Counsel Regarding Order Transferring Venue of This Case to the United
                          States Bankruptcy Court for the Northern District of Texas (related document(s)86) Filed by Official
                          Committee of Unsecured Creditors. (Weissgerber, Jaclyn) [ORIGINALLY FILED AS DOCUMENT #182
                          ON 12/03/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
   12/04/2019             (Entered: 12/05/2019)

                             185 (8 pgs) Affidavit/Declaration of Service for service of (1) [Signed] Final Order (A) Authorizing
                          Debtor to Pay Prepetition Claims of Critical Vendors and (B) Granting Related Relief [Docket No. 168];
                          (2) [Signed] Order Pursuant to Sections 105(a), 327, 328, and 330 of the Bankruptcy Code Authorizing the
                          Debtor to Retain, Employ and Compensate Certain Professionals Utilized by the Debtor in the Ordinary
                          Course of Business [Docket No. 169]; and (3) [Signed] Order Pursuant to Section 327(a) of the
                          Bankruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure and Local Rule 2014-1
                          Authorizing the Employment and Retention of Pachulski Stang Ziehl & Jones LLP as Counsel for the
                          Debtor and Debtor in Possession Nunc Pro Tunc to the Petition Date [Docket No. 176] (related
                          document(s)168, 169, 176) Filed by Highland Capital Management, L.P.. (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #183 ON 12/03/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
   12/04/2019             OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                             186 (2 pgs) ORDER TRANSFERRING VENUE OF THIS CASE TO THE UNITED STATES
                          BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF TEXAS (related document(s)86) Order
                          Signed on 12/4/2019. (CAS) [ORIGINALLY FILED AS DOCUMENT #184 ON 12/04/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)



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                            187 (118 pgs) Certificate of Service re: 1) Notice of Chapter 11 Bankruptcy Case; and 2) [Corrected]
                          Notice of Chapter 11 Bankruptcy Case (related document(s)67, 79) Filed by Kurtzman Carson Consultants
                          LLC. (Kass, Albert) ( [ORIGINALLY FILED AS DOCUMENT #185 ON 12/04/2019 IN U.S.
   12/04/2019             BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Entered: 12/05/2019)

                            97 (3 pgs) Motion to appear pro hac vice for Bojan Guzina. Fee Amount $100 Filed by Creditor
   12/05/2019             Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27228141, amount $ 100.00 (re: Doc# 97). (U.S. Treasury)

                            99 (2 pgs) Notice of Appearance and Request for Notice by Linda D. Reece filed by Wylie ISD,
   12/05/2019             Garland ISD, City of Garland. (Reece, Linda)

                             100 (3 pgs) Motion to appear pro hac vice for Matthew A. Clemente. Fee Amount $100 Filed by
   12/05/2019             Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            105 (3 pgs) Motion to appear pro hac vice for Alyssa Russell. Fee Amount $100 Filed by Creditor
   12/05/2019             Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27228455, amount $ 100.00 (re: Doc# 100). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27228455, amount $ 100.00 (re: Doc# 105). (U.S. Treasury)

                             109 (3 pgs) Motion to appear pro hac vice for Ira D. Kharasch. Fee Amount $100 Filed by Debtor
   12/05/2019             Highland Capital Management, L.P. (Haitz, Eric)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27228644, amount $ 100.00 (re: Doc# 109). (U.S. Treasury)

                             129 (1 pg) Notice of Appearance and Request for Notice by Laurie A. Spindler filed by City of Allen,
                          Allen ISD, Dallas County, Grayson County, Irving ISD, Kaufman County, Tarrant County. (Spindler,
   12/05/2019             Laurie)

                            155 (3 pgs) Notice of Appearance and Request for Notice by Mark A. Platt filed by Interested Party
   12/05/2019             Redeemer Committee of the Highland Crusader Fund. (Platt, Mark)

                             157 (3 pgs) Motion to appear pro hac vice for Marc B. Hankin. Fee Amount $100 Filed by Interested
   12/05/2019             Party Redeemer Committee of the Highland Crusader Fund (Platt, Mark)

                             160 (5 pgs; 2 docs) Motion to appear pro hac vice for Richard Levin. Fee Amount $100 Filed by
                          Interested Party Redeemer Committee of the Highland Crusader Fund (Attachments: # 1 Addendum)
   12/05/2019             (Platt, Mark)

                             161 (3 pgs) Motion to appear pro hac vice for Terri L. Mascherin. Fee Amount $100 Filed by
   12/05/2019             Interested Party Redeemer Committee of the Highland Crusader Fund (Platt, Mark)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27229964, amount $ 100.00 (re: Doc# 157). (U.S. Treasury)



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                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27229964, amount $ 100.00 (re: Doc# 160). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27229964, amount $ 100.00 (re: Doc# 161). (U.S. Treasury)

                             167 (3 pgs) Motion to appear pro hac vice for Gregory V. Demo. Fee Amount $100 Filed by Debtor
   12/05/2019             Highland Capital Management, L.P. (Haitz, Eric)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/05/2019             Receipt number 27230422, amount $ 100.00 (re: Doc# 167). (U.S. Treasury)

                            188 (4 pgs) Notice of Appearance and Request for Notice by Juliana Hoffman filed by Creditor
   12/05/2019             Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)

                             189 (3 pgs) Motion to appear pro hac vice for Jeffrey N. Pomerantz. Fee Amount $100 Filed by Debtor
   12/06/2019             Highland Capital Management, L.P. (Haitz, Eric)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/06/2019             Receipt number 27233957, amount $ 100.00 (re: Doc# 189). (U.S. Treasury)

                             190 (3 pgs) Amended Motion to appear pro hac vice for Jeffrey N. Pomerantz. (related document: 189)
   12/06/2019             Filed by Debtor Highland Capital Management, L.P. (Haitz, Eric)

                             191 (3 pgs) Motion to appear pro hac vice for John A. Morris. Fee Amount $100 Filed by Debtor
   12/06/2019             Highland Capital Management, L.P. (Haitz, Eric)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/06/2019             Receipt number 27233983, amount $ 100.00 (re: Doc# 191). (U.S. Treasury)

                             192 (2 pgs) INCORRECT ENTRY - Incorrect Event Used; Refiled as Document 220. Motion to
                          withdraw as attorney (Eric T. Haitz) Filed by Debtor Highland Capital Management, L.P. (Haitz, Eric)
   12/06/2019             Modified on 12/9/2019 (Dugan, S.). Modified on 12/9/2019 (Dugan, S.).

                             193 Hearing held on 12/6/2019., Hearing continued (RE: related document(s)1 Order transferring case
                          number 19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by Highland Capital
                          Management, L.P.,) (Continued Hearing to be held on 12/12/2019 at 09:30 AM Dallas Judge Jernigan
   12/06/2019             Ctrm for 1, (Edmond, Michael)

                             194 Hearing held on 12/6/2019., Hearing continued (RE: related document(s)1 Order transferring case
                          number 19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by Highland Capital
                          Management, L.P. (Okafor, M.)) Hearing to be held on 12/12/2019 at 09:30 AM Dallas Judge Jernigan
                          Ctrm for 1, (Appearances: C. Gibbs, introducing J. Pomeranzt and I. Kharasch for Debtor (also J. Morris
                          on phone); M. Clemente and P. Reid for Official Committee of Unsecured Creditors; B. Shaw for Acis; M.
                          Platt for Redeemer Committee of Crusader Fund (also on phone M. Hankin and T. Mascherin); M.
                          Rosenthal for Alvarez and Marsal; P. Maxcy (telephonically) for Jeffries; L. Lambert for UST.
                          Nonevidentiary status conference. Court heard reports about case, parties, and ongoing discussions
                          regarding corporate governance. Schedules will be filed next 12/13/19. At request of parties, another status
                          conference is set for 12/12/19 at 9:30 am (telephonic participation will be allowed if requested). At current
   12/06/2019             time, parties are not requesting that pending motions be set.) (Edmond, Michael)

                             195 (1 pg) Request for transcript regarding a hearing held on 12/6/2019. The requested turn-around
   12/06/2019             time is hourly. (Edmond, Michael)

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                             196 (1 pg) Order granting motion to appear pro hac vice adding Bojan Guzina for Official Committee
   12/06/2019             of Unsecured Creditors (related document # 97) Entered on 12/6/2019. (Banks, Courtney)

                            197 (1 pg) Order granting motion to appear pro hac vice adding Matthew A. Clemente for Official
   12/06/2019             Committee of Unsecured Creditors (related document # 100) Entered on 12/6/2019. (Banks, Courtney)

                             198 (1 pg) Order granting motion to appear pro hac vice adding Alyssa Russell for Official Committee
   12/06/2019             of Unsecured Creditors (related document # 105) Entered on 12/6/2019. (Banks, Courtney)

                            199 (1 pg) Order granting motion to appear pro hac vice adding Ira D Kharasch for Highland Capital
   12/06/2019             Management, L.P. (related document # 109) Entered on 12/6/2019. (Banks, Courtney)

                            200 (1 pg) Order granting motion to appear pro hac vice adding Richard B. Levin for Redeemer
                          Committee of the Highland Crusader Fund (related document # 160) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                            201 (1 pg) Order granting motion to appear pro hac vice adding Terri L. Mascherin for Redeemer
                          Committee of the Highland Crusader Fund (related document # 161) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                            202 (1 pg) Order granting motion to appear pro hac vice adding Gregory V Demo for Highland Capital
   12/06/2019             Management, L.P. (related document # 167) Entered on 12/6/2019. (Banks, Courtney)

                            203 (1 pg) Order granting motion to appear pro hac vice adding Marc B. Hankin for Redeemer
                          Committee of the Highland Crusader Fund (related document # 157) Entered on 12/6/2019. (Banks,
   12/06/2019             Courtney)

                             204 (44 pgs) INCORRECT ENTRY: DRAFT OF MOTION. SEE DOCUMENT 206. Application to
                          employ Sidley Austin LLP as Attorney APPLICATION OF THE OFFICIAL COMMITTEE OF
                          UNSECURED CREDITORS, PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE
                          AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING THE
                          RETENTION AND EMPLOYMENT OF SIDLEY AUSTIN LLP AS COUNSEL TO THE OFFICIAL
                          COMMITTEE OF UNSECURED CREDITORS, NUNC PRO TUNC TO OCTOBER 29, 2019 Filed by
                          Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana) Modified on
   12/06/2019             12/18/2019 (Rielly, Bill).

                            205 (37 pgs) Application to employ FTI CONSULTING, INC. as Financial Advisor APPLICATION
                          PURSUANT TO FED. R. BANKR. P. 2014(a) FOR ORDER UNDER SECTION 1103 OF THE
                          BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND RETENTION OF FTI CONSULTING,
                          INC. AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
                          NUNC PRO TUNC TO NOVEMBER 6, 2019 Filed by Creditor Committee Official Committee of
   12/06/2019             Unsecured Creditors (Hoffman, Juliana)

                            206 (44 pgs) Application to employ Sidley Austin LLP as Attorney APPLICATION OF THE
                          OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328 AND 1103
                          OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR
                          AN ORDER APPROVING THE RETENTION AND EMPLOYMENT OF SIDLEY AUSTIN LLP AS
                          COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, NUNC PRO TUNC TO
                          OCTOBER 29, 2019 (related document: 204) Filed by Creditor Committee Official Committee of
   12/06/2019             Unsecured Creditors (Hoffman, Juliana) Modified on 12/18/2019 (Rielly, Bill).

                             220 (2 pgs) Withdrawal filed by Debtor Highland Capital Management, L.P. (RE: related
   12/06/2019             document(s)41 Notice of appearance and request for notice). (Dugan, S.) (Entered: 12/09/2019)


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                              207 (27 pgs) Transcript regarding Hearing Held 12/6/19 RE: Status and scheduling conference. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
                          DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 03/9/2020. Until that time
                          the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
                          transcriber. Court Reporter/Transcriber Palmer Reporting Services, Telephone number
                          PalmerRptg@aol.com, 800-665-6251. (RE: related document(s) 193 Hearing held on 12/6/2019., Hearing
                          continued (RE: related document(s)1 Order transferring case number 19-12239 from U.S. Bankruptcy
                          Court for the District of Delaware Filed by Highland Capital Management, L.P.,) (Continued Hearing to be
                          held on 12/12/2019 at 09:30 AM Dallas Judge Jernigan Ctrm for 1,, 194 Hearing held on 12/6/2019.,
                          Hearing continued (RE: related document(s)1 Order transferring case number 19-12239 from U.S.
                          Bankruptcy Court for the District of Delaware Filed by Highland Capital Management, L.P. (Okafor, M.))
                          Hearing to be held on 12/12/2019 at 09:30 AM Dallas Judge Jernigan Ctrm for 1, (Appearances: C. Gibbs,
                          introducing J. Pomeranzt and I. Kharasch for Debtor (also J. Morris on phone); M. Clemente and P. Reid
                          for Official Committee of Unsecured Creditors; B. Shaw for Acis; M. Platt for Redeemer Committee of
                          Crusader Fund (also on phone M. Hankin and T. Mascherin); M. Rosenthal for Alvarez and Marsal; P.
                          Maxcy (telephonically) for Jeffries; L. Lambert for UST. Nonevidentiary status conference. Court heard
                          reports about case, parties, and ongoing discussions regarding corporate governance. Schedules will be
                          filed next 12/13/19. At request of parties, another status conference is set for 12/12/19 at 9:30 am
                          (telephonic participation will be allowed if requested). At current time, parties are not requesting that
   12/08/2019             pending motions be set.)). Transcript to be made available to the public on 03/9/2020. (Palmer, Susan)

                             208 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)197 Order granting
                          motion to appear pro hac vice adding Matthew A. Clemente for Official Committee of Unsecured
                          Creditors (related document 100) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019.
   12/08/2019             (Admin.)

                              209 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)198 Order granting
                          motion to appear pro hac vice adding Alyssa Russell for Official Committee of Unsecured Creditors
   12/08/2019             (related document 105) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                             210 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)199 Order granting
                          motion to appear pro hac vice adding Ira D Kharasch for Highland Capital Management, L.P. (related
   12/08/2019             document 109) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            211 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)200 Order granting
                          motion to appear pro hac vice adding Richard B. Levin for Redeemer Committee of the Highland Crusader
   12/08/2019             Fund (related document 160) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                             212 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)201 Order granting
                          motion to appear pro hac vice adding Terri L. Mascherin for Redeemer Committee of the Highland
                          Crusader Fund (related document 161) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019.
   12/08/2019             (Admin.)

                             213 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)202 Order granting
                          motion to appear pro hac vice adding Gregory V Demo for Highland Capital Management, L.P. (related
   12/08/2019             document 167) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            214 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)203 Order granting
                          motion to appear pro hac vice adding Marc B. Hankin for Redeemer Committee of the Highland Crusader
   12/08/2019             Fund (related document 157) Entered on 12/6/2019.) No. of Notices: 1. Notice Date 12/08/2019. (Admin.)

                            215 (1 pg) Acknowledgment of split/transfer case received FROM another district, Delaware,
   12/09/2019             Delaware division, Case Number 19-12239. (Okafor, M.)




https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                              29/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.
                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
                                   Main Document
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                            216 (1 pg) Order granting motion to appear pro hac vice adding Jeffrey N. Pomerantz for Highland
   12/09/2019             Capital Management, L.P. (related document # 190) Entered on 12/9/2019. (Banks, Courtney)

                            217 (1 pg) Order granting motion to appear pro hac vice adding John A. Morris for Highland Capital
   12/09/2019             Management, L.P. (related document # 191) Entered on 12/9/2019. (Banks, Courtney)

                             218 (15 pgs; 3 docs) Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM THE
                          AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee amount $181,
                          Filed by Creditor PensionDanmark Pensionsforsikringsaktieselskab Objections due by 12/23/2019.
   12/09/2019             (Attachments: # 1 Declaration # 2 Proposed Order) (Crooks, David)

                             219 (3 pgs) Notice of Appearance and Request for Notice by Charles Martin Persons Jr. filed by
   12/09/2019             Creditor Committee Official Committee of Unsecured Creditors. (Persons, Charles)

                            Receipt of filing fee for Motion for relief from stay(19-34054-sgj11) [motion,mrlfsty] ( 181.00). Receipt
   12/09/2019             number 27240994, amount $ 181.00 (re: Doc# 218). (U.S. Treasury)

                            221 (2 pgs) Notice of Appearance and Request for Notice by Brian Patrick Shaw filed by Acis Capital
   12/09/2019             Management GP, LLC, Acis Capital Management, L.P.. (Shaw, Brian)

                            222 (3 pgs) Motion to appear pro hac vice for Dennis M. Twomey. Fee Amount $100 Filed by Creditor
   12/09/2019             Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/09/2019             Receipt number 27241671, amount $ 100.00 (re: Doc# 222). (U.S. Treasury)

                             223 (10 pgs) Certificate of service re: 1) Application Pursuant to Fed. R. Bankr. P. 2014(a) for Order
                          Under Section 1103 of the Bankruptcy Code Authorizing the Employment and Retention of FTI Consulting,
                          Inc. as Financial Advisor to the Official Committee of Unsecured Creditors Nunc Pro Tunc to November 6,
                          2019; and 2) [Amended] Application of the Official Committee of Unsecured Creditors, Pursuant to
                          Sections 328 and 1103 of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014, for an
                          Order Approving the Retention and Employment of Sidley Austin LLP as Counsel to the Official
                          Committee of Unsecured Creditors, Nunc Pro Tunc to October 29, 2019 Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)205 Application to employ FTI CONSULTING, INC. as
                          Financial Advisor APPLICATION PURSUANT TO FED. R. BANKR. P. 2014(a) FOR ORDER UNDER
                          SECTION 1103 OF THE BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND
                          RETENTION OF FTI CONSULTING, INC. AS FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE
                          OF UNSECURED CREDITORS NUNC PRO TUNC TO NOVEMBER 6, 2019 Filed by Creditor
                          Committee Official Committee of Unsecured Creditors filed by Creditor Committee Official Committee of
                          Unsecured Creditors, 206 Amended Application to employ Sidley Austin LLP as Attorney APPLICATION
                          OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO SECTIONS 328
                          AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY PROCEDURE
                          2014, FOR AN ORDER APPROVING THE RETENTION AND EMPLOYMENT OF SIDLEY AUSTIN LLP
                          AS COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, NUNC PRO TUNC
                          TO OCTOBER 29, 2019 (related document: 204) Filed by Creditor Committee Official Committee of
                          Unsecured Creditors filed by Creditor Committee Official Committee of Unsecured Creditors). (Kass,
   12/09/2019             Albert)

                             224 (1 pg) Certificate Certificate of Conference filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab (RE: related document(s)218 Motion for relief from stay MOTION OF
                          PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF
                          FROM THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee
   12/10/2019             amount $181,). (Crooks, David)


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3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.
                                            Filed 03/15/23
                                               Bankruptcy          Entered
                                                          Court - Northern       03/15/23
                                                                           District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E Document
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                             225 (4 pgs; 2 docs) Certificate of service re: Certificate of Service filed by Creditor PensionDanmark
                          Pensionsforsikringsaktieselskab (RE: related document(s)218 Motion for relief from stay MOTION OF
                          PENSIONDANMARK PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF
                          FROM THE AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee
   12/10/2019             amount $181,, 224 Certificate (generic)). (Attachments: # 1 Service List) (Crooks, David)

                             226 (32 pgs) Application to employ Young Conaway Stargatt & Taylor, LLP as Attorney (Co-Counsel)
                          Nunc Pro Tunc Filed by Creditor Committee Official Committee of Unsecured Creditors (Hoffman,
   12/10/2019             Juliana)

                             227 (2 pgs) INCORRECT ENTRY: DEFICIENCIES ARE DUE 12/13/2019 - Notice of deficiency.
                          Schedule A/B due 10/30/2019. Schedule D due 10/30/2019. Schedule E/F due 10/30/2019. Schedule G due
                          10/30/2019. Schedule H due 10/30/2019. Declaration Under Penalty of Perjury for Non-individual Debtors
                          due 10/30/2019. Summary of Assets and Liabilities and Certain Statistical Information due 10/30/2019.
   12/10/2019             Statement of Financial Affairs due 10/30/2019. (Okafor, M.) Modified on 12/10/2019 (Okafor, M.).

                             228 (2 pgs) Notice of deficiency. Schedule A/B due 12/13/2019. Schedule D due 12/13/2019. Schedule
                          E/F due 12/13/2019. Schedule G due 12/13/2019. Schedule H due 12/13/2019. Declaration Under Penalty
                          of Perjury for Non-individual Debtors due 12/13/2019. Summary of Assets and Liabilities and Certain
   12/10/2019             Statistical Information due 12/13/2019. Statement of Financial Affairs due 12/13/2019. (Okafor, M.)

                              229 (2 pgs) Meeting of creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room
                          976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be
   12/10/2019             filed by 01/9/2020. (Neary, William)

                             230 (2 pgs) Notice of Appearance and Request for Notice by Melissa S. Hayward filed by Debtor
   12/10/2019             Highland Capital Management, L.P.. (Hayward, Melissa)

                             231 (2 pgs) Notice of Appearance and Request for Notice by Zachery Z. Annable filed by Debtor
   12/10/2019             Highland Capital Management, L.P.. (Annable, Zachery)

                             232 (11 pgs; 3 docs) Joint Motion to continue hearing on (related documents 194 Hearing held,
                          Hearing set/continued)Joint Motion to Continue Status Conference Filed by Debtor Highland Capital
                          Management, L.P., Creditor Committee Official Committee of Unsecured Creditors (Attachments: # 1
   12/11/2019             Proposed Order # 2 Service List) (Hayward, Melissa)

                             233 (4 pgs; 2 docs) Motion to appear pro hac vice for Michael I. Baird. Fee Amount $100 Filed by
   12/11/2019             Creditor Pension Benefit Guaranty Corporation (Attachments: # 1 Certificate of Service) (Baird, Michael)

                             234 (2 pgs) Order granting joint motion to continue hearing on (related document # 232) (related
                          documents Hearing held) Status Conference to be held on 12/18/2019 at 09:30 AM. Entered on
   12/11/2019             12/11/2019. (Banks, Courtney)

                             235 (80 pgs) Application for compensation First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the
                          Period From October 16, 2019 Through October 31, 2019 for Highland Capital Management, L.P.,
                          Debtor's Attorney, Period: 10/16/2019 to 10/31/2019, Fee: $383,583.75, Expenses: $9,958.84. Filed by
   12/11/2019             Debtor Highland Capital Management, L.P. Objections due by 1/2/2020. (Pomerantz, Jeffrey)

                             236 (3 pgs) Motion to appear pro hac vice for Lauren Macksoud. Fee Amount $100 Filed by Interested
   12/11/2019             Party Jefferies LLC (Doherty, Casey)

   12/11/2019
                             Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).


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3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.     Filed  03/15/23
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                                                                  Court - Northern       03/15/23
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                      Receipt number 27250084, amount $ 100.00 (re: Doc# 236). (U.S. Treasury)92  of 116 PageID 96

                             237 (3 pgs) Motion to appear pro hac vice for Patrick C. Maxcy. Fee Amount $100 Filed by Interested
   12/11/2019             Party Jefferies LLC (Doherty, Casey)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   12/11/2019             Receipt number 27250165, amount $ 100.00 (re: Doc# 237). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] (0.00).
   12/11/2019             Receipt Number KF - No Fee Due, amount $ 0.00 (re: Doc233). (Floyd)

                              238 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)216 Order granting
                          motion to appear pro hac vice adding Jeffrey N. Pomerantz for Highland Capital Management, L.P.
   12/11/2019             (related document 190) Entered on 12/9/2019.) No. of Notices: 1. Notice Date 12/11/2019. (Admin.)

                             239 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)217 Order granting
                          motion to appear pro hac vice adding John A. Morris for Highland Capital Management, L.P. (related
   12/11/2019             document 191) Entered on 12/9/2019.) No. of Notices: 1. Notice Date 12/11/2019. (Admin.)

                            240 (3 pgs) Notice of Appearance and Request for Notice by J. Seth Moore filed by Creditor Siepe,
   12/12/2019             LLC. (Moore, J.)

                              241 (8 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Charles Harder)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). (Annable,
   12/12/2019             Zachery)

                            242 (1 pg) Order granting motion to appear pro hac vice adding Michael I. Baird for Pension Benefit
   12/12/2019             Guaranty Corporation (related document # 233) Entered on 12/12/2019. (Okafor, M.)

                             243 (4 pgs) BNC certificate of mailing. (RE: related document(s)227 INCORRECT ENTRY:
                          DEFICIENCIES ARE DUE 12/13/2019 - Notice of deficiency. Schedule A/B due 10/30/2019. Schedule D
                          due 10/30/2019. Schedule E/F due 10/30/2019. Schedule G due 10/30/2019. Schedule H due 10/30/2019.
                          Declaration Under Penalty of Perjury for Non-individual Debtors due 10/30/2019. Summary of Assets and
                          Liabilities and Certain Statistical Information due 10/30/2019. Statement of Financial Affairs due
                          10/30/2019. (Okafor, M.) Modified on 12/10/2019 (Okafor, M.).) No. of Notices: 8. Notice Date
   12/12/2019             12/12/2019. (Admin.)

                             244 (4 pgs) BNC certificate of mailing. (RE: related document(s)228 Notice of deficiency. Schedule
                          A/B due 12/13/2019. Schedule D due 12/13/2019. Schedule E/F due 12/13/2019. Schedule G due
                          12/13/2019. Schedule H due 12/13/2019. Declaration Under Penalty of Perjury for Non-individual Debtors
                          due 12/13/2019. Summary of Assets and Liabilities and Certain Statistical Information due 12/13/2019.
                          Statement of Financial Affairs due 12/13/2019. (Okafor, M.)) No. of Notices: 8. Notice Date 12/12/2019.
   12/12/2019             (Admin.)

                             245 (9 pgs) Certificate of service re: 1) Application of the Official Committee of Unsecured Creditors
                          to Retain and Employ Young Conaway Stargatt & Taylor, LLP as Co-Counsel, Nunc Pro Tunc to
                          November 8, 2019 Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)226
                          Application to employ Young Conaway Stargatt & Taylor, LLP as Attorney (Co-Counsel) Nunc Pro Tunc
                          Filed by Creditor Committee Official Committee of Unsecured Creditors filed by Creditor Committee
   12/13/2019             Official Committee of Unsecured Creditors). (Kass, Albert)

   12/13/2019                246 (10 pgs) Certificate of service re: 1) First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the
                          Period from October 16, 2019 Through October 31, 2019 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)235 Application for compensation First Monthly Application for
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                32/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.    Filed   03/15/23
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                                                                 Court - Northern       03/15/23
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              Case 3:23-cv-00573-E     Document
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                                                                                  Page       93  of 116 PageID 97 to the
                      Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel
                          Debtor for the Period From October 16, 2019 Through October 31, 2019 for Highland Capital
                          Management, L.P., Debtor's Attorney, Period: 10/16/2019 to 10/31/2019, Fee: $383,583.75, Expenses:
                          $9,958.84. Filed by Debtor Highland Capital Management, L.P. Objections due by 1/2/2020. filed by
                          Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             247 (82 pgs; 2 docs) Schedules: Schedules A/B and D-H with Summary of Assets and Liabilities (with
                          Declaration Under Penalty of Perjury for Non-Individual Debtors,). Filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)228 Notice of deficiency). (Attachments: # 1 Global notes
   12/13/2019             regarding schedules) (Hayward, Melissa)

                             248 (42 pgs; 2 docs) Statement of financial affairs for a non-individual . Filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)228 Notice of deficiency). (Attachments: # 1 Global
   12/13/2019             notes regarding SOFA) (Hayward, Melissa)

                             249 (4 pgs) BNC certificate of mailing - meeting of creditors. (RE: related document(s)229 Meeting of
                          creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due
                          by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by 01/9/2020.) No. of
   12/13/2019             Notices: 8. Notice Date 12/13/2019. (Admin.)

                             250 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)234 Order granting
                          joint motion to continue hearing on (related document 232) (related documents Hearing held) Status
                          Conference to be held on 12/18/2019 at 09:30 AM. Entered on 12/11/2019.) No. of Notices: 1. Notice Date
   12/13/2019             12/13/2019. (Admin.)

                              251 (1 pg) Order granting motion to appear pro hac vice adding Lauren Macksoud for Jefferies LLC
   12/16/2019             (related document # 236) Entered on 12/16/2019. (Dugan, S.)

                              252 (1 pg) Order granting motion to appear pro hac vice adding Patrick C. Maxcy for Jefferies LLC
   12/16/2019             (related document # 237) Entered on 12/16/2019. (Dugan, S.)

                              253 (1 pg) Order rescheduling status conference (RE: related document(s)1 Order transferring case
                          filed by Debtor Highland Capital Management, L.P.). Status Conference to be held on 12/18/2019 at 10:30
   12/16/2019             AM at Dallas Judge Jernigan Ctrm. Entered on 12/16/2019 (Dugan, S.)

                             254 (2 pgs) Notice of Appearance and Request for Notice by Jason Patrick Kathman filed by Creditor
   12/17/2019             Patrick Daugherty. (Kathman, Jason)

                             255 (8 pgs) Declaration re: Supplemental Declaration In Support of filed by Creditor Committee
                          Official Committee of Unsecured Creditors (RE: related document(s)206 Amended Application to employ
                          Sidley Austin LLP as Attorney APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
                          CREDITORS, PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND
                          FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING T). (Hoffman,
   12/18/2019             Juliana)

   12/18/2019                  Hearing held on 12/18/2019. (RE: related document(s)1 Status/Scheduling Conference; Order
                          transferring case number 19-12239 from U.S. Bankruptcy Court for the District of Delaware Filed by
                          Highland Capital Management, L.P.) (Appearances: J. Pomerantz and I. Kharasch for Debtor; M.
                          Hayward, local counsel for Debtor; M. Clemente and P. Reid for Unsecured Creditors Committee; M. Platt
                          and T. Mascherin and M. Hankin (each telephonically) for Redeemer Committee; L. Spindler for taxing
                          authorities; A. Chiarello and R. Patel (telephonically) for Acis; L. Lambert for UST; P. Maxcy
                          (telephonically) for Jeffries. Nonevidentiary status conference. Court heard reports regarding continued
                          negotiations between Debtor and UCC regarding a proposed management structure for Debtor and
                          ordinary course protocols. Debtor expects to file a motion for approval of same (if agreements reached) by
                          12/27/19 for a 1/9/20 hearing. Otherwise, UCC will file a motion for a chapter 11 trustee (which, if filed,

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                 33/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.          Filed  03/15/23
                                                            Bankruptcy          Entered
                                                                       Court - Northern       03/15/23
                                                                                        District of Texas 14:13:54 Desc
              Case 3:23-cv-00573-E         Document
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                      will be filed 12/30/19 and set 1/20/20-1/21/20). Scheduling order to be submitted. Also, US Trustee
                          announced intention to move for a Chapter 11 Trustee.) (Edmond, Michael)

                             256 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)251 Order granting
                          motion to appear pro hac vice adding Lauren Macksoud for Jefferies LLC (related document 236) Entered
   12/18/2019             on 12/16/2019. (Dugan, S.)) No. of Notices: 1. Notice Date 12/18/2019. (Admin.)

                             257 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)252 Order granting
                          motion to appear pro hac vice adding Patrick C. Maxcy for Jefferies LLC (related document 237) Entered
   12/18/2019             on 12/16/2019. (Dugan, S.)) No. of Notices: 1. Notice Date 12/18/2019. (Admin.)

                              258 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Dechert LLP)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). (Demo,
   12/19/2019             Gregory)

                             259 (5 pgs) Support/supplemental document to the Motion of Debtor for Interim and Final Orders
                          Authorizing (A) Continuance of Existing Cash Management System, (B) Continued Use of the Prime
                          Account, (C) Limited Waiver filed by Debtor Highland Capital Management, L.P. (RE: related
   12/19/2019             document(s)7 Motion to maintain bank accounts.). (Hayward, Melissa)

                             260 (4 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (ASW Law
                          Limited) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document).
   12/19/2019             (Hayward, Melissa)

                             261 (3 pgs) Certificate of service re: Disclosure Declaration of Ordinary Course Professional Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)241 Declaration re: Disclosure
                          Declaration of Ordinary Course Professional (Charles Harder) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
   12/19/2019             Management, L.P.). (Kass, Albert)

                             262 (115 pgs) Certificate of service re: Notice of Chapter 11 Bankruptcy Case and Meeting of
                          Creditors Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)229 Meeting of
                          creditors 341(a) meeting to be held on 1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due
                          by 4/8/2020. Attorney(s)certificate of service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass,
   12/20/2019             Albert)

                             263 (8 pgs) Certificate of service re: Supplemental Declaration of Bojan Guzina in Support of
                          Application of the Official Committee of Unsecured Creditors, Pursuant to Sections 328 and 1103 of the
                          Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014, for an Order Approving the Retention
                          and Employment of Sidley Austin LLP as Counsel to the Official Committee of Unsecured Creditors Filed
                          by Claims Agent Kurtzman Carson Consultants LLC (related document(s)255 Declaration re:
                          Supplemental Declaration In Support of filed by Creditor Committee Official Committee of Unsecured
                          Creditors (RE: related document(s)206 Amended Application to employ Sidley Austin LLP as Attorney
                          APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, PURSUANT TO
                          SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND FEDERAL RULE OF BANKRUPTCY
                          PROCEDURE 2014, FOR AN ORDER APPROVING T). filed by Creditor Committee Official Committee
   12/20/2019             of Unsecured Creditors). (Kass, Albert)

   12/20/2019                264 (10 pgs) Certificate of service re: Supplement to the Motion of Debtor for Interim and Final
                          Orders Authorizing (A) Continuance of Existing Cash Management System, (B) Continued Use of the
                          Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment Requirements, and (D)
                          Granting Related Relief Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)259 Support/supplemental document to the Motion of Debtor for Interim and Final Orders
                          Authorizing (A) Continuance of Existing Cash Management System, (B) Continued Use of the Prime
                          Account, (C) Limited Waiver filed by Debtor Highland Capital Management, L.P. (RE: related


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                  34/56
3/15/23, 9:09 Case
              AM  19-34054-sgj11 Doc 3685 U.S.       Filed  03/15/23
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                                                                   03/15/23
                                                                          99   of 120
                                                                                    Page       95  of 116 PageID 99 L.P.).
                      document(s)7 Motion to maintain bank accounts.). filed by Debtor Highland Capital Management,
                          (Kass, Albert)

                             265 (4 pgs) Objection to (related document(s): 176 Document)Limited Objection of The Official
                          Committee of Unsecured Creditors to the Retention of Harder LLP as Ordinary Course Professional filed
   12/22/2019             by Creditor Committee Official Committee of Unsecured Creditors. (Hoffman, Juliana)

                             266 (40 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Houlihan Lokey
                          Financial Advisors Inc.) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/23/2019             Document). (Hayward, Melissa)

                            267 (6 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Rowlett Law
                          PLLC) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document).
   12/23/2019             (Hayward, Melissa)

                            268 (10 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (DLA Piper LLP
                          (US)) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document).
   12/23/2019             (Hayward, Melissa)

                            269 (6 pgs) Agreed scheduling Order (RE: related document(s)1 Order transferring case filed by
   12/23/2019             Debtor Highland Capital Management, L.P.). Entered on 12/23/2019 (Blanco, J.)

                             270 (40 pgs; 2 docs) Application for compensation - First Monthly Application for Compensation and
                          Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel to the
                          Debtor for the Period from October 16, 2019 through November 30, 2019 for Foley Gardere, Foley &
                          Lardner LLP f/k/a Gardere Wynne Sewell LLP, Special Counsel, Period: 10/16/2019 to 11/30/2019, Fee:
                          $176129.00, Expenses: $7836.31. Filed by Spec. Counsel Foley Gardere, Foley & Lardner LLP f/k/a
   12/23/2019             Gardere Wynne Sewell LLP Objections due by 1/13/2020. (Attachments: # 1 Exhibit A) (O'Neil, Holland)

                             271 (13 pgs) Trustee's Motion to appoint trustee Filed by U.S. Trustee United States Trustee (Lambert,
   12/23/2019             Lisa)

                             272 (5 pgs) Trustee's Objection to Motion to Seal Official Committee's Omnibus Objection and
   12/23/2019             Supporting Exhibits (RE: related document(s)127 Document) (Lambert, Lisa)

                             273 (7 pgs) Motion for leave to Extend Deadline to Object to Motion for Relief of Stay of
                          PensionDanmark (related document(s) 218 Motion for relief from stay) Filed by Debtor Highland Capital
                          Management, L.P., Creditor Committee Official Committee of Unsecured Creditors Objections due by
   12/23/2019             1/6/2020. (Hoffman, Juliana)

                            274 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Carey Olsen
                          Cayman Limited) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/24/2019             Document). (Hayward, Melissa)

                            275 (30 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Hunton
                          Andrews Kurth LLP) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
   12/24/2019             Document). (Hayward, Melissa)

                             276 (6 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Wilmer Cutler
                          Pickering Hale and Dorr LLP) filed by Debtor Highland Capital Management, L.P. (RE: related
   12/24/2019             document(s)176 Document). (Hayward, Melissa)

   12/25/2019                277 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)269 Agreed
                          scheduling Order (RE: related document(s)1 Order transferring case filed by Debtor Highland Capital

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               35/56
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                     Management, L.P.). Entered on 12/23/2019 (Blanco, J.)) No. of Notices: 1. Notice Date 12/25/2019.
                          (Admin.)

                              278 (5 pgs) Declaration re: Disclosure Declaration of Ordinary Course Professional (Kim & Chang)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). (Hayward,
   12/26/2019             Melissa)

                              279 (5 pgs) Certificate of service re: 1) Disclosure Declaration of Ordinary Course Professional; 2)
                          Disclosure Declaration of Ordinary Course Professional; 3) Declaration of Marc D. Katz Filed by Claims
                          Agent Kurtzman Carson Consultants LLC (related document(s)266 Declaration re: Disclosure Declaration
                          of Ordinary Course Professional (Houlihan Lokey Financial Advisors Inc.) filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
                          Management, L.P., 267 Declaration re: Disclosure Declaration of Ordinary Course Professional (Rowlett
                          Law PLLC) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document).
                          filed by Debtor Highland Capital Management, L.P., 268 Declaration re: Disclosure Declaration of
                          Ordinary Course Professional (DLA Piper LLP (US)) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)176 Document). filed by Debtor Highland Capital Management, L.P.). (Kass,
   12/26/2019             Albert)

                             280 (13 pgs) Motion for protective orderJoint Motion for Entry of an Order Approving the Agreed
                          Protective Order Filed by Debtor Highland Capital Management, L.P., Creditor Committee Official
   12/27/2019             Committee of Unsecured Creditors (Hoffman, Juliana)

                             281 (100 pgs; 4 docs) Motion to compromise controversy with Official Committee of Unsecured
                          Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B
   12/27/2019             # 3 Proposed Order) (Hayward, Melissa)

                             282 (10 pgs; 2 docs) Support/supplemental document to the Motion of the Debtor Pursuant to 11
                          U.S.C. §§ 105(a) and 363(b) to Employ and Retain Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring Related Services,
                          Nunc Pro Tunc as of the Petition Date filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)74 Application to employ Development Specialists, Inc as Financial Advisor). (Attachments: #
   12/27/2019             1 Exhibit A) (Hayward, Melissa)

                             283 (5 pgs; 2 docs) Motion for expedited hearing(related documents 281 Motion to compromise
                          controversy) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order)
   12/27/2019             (Hayward, Melissa)

                             284 (61 pgs; 2 docs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation
                          Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Declaration of John
                          Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives # 5 Certificate of Service and
                          Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on
   12/28/2019             1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, (Attachments: # 1 Exhibit) (Hayward, Melissa)

   12/28/2019                285 (28 pgs; 2 docs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00
                          AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF


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                                                                                120       97  of 116  PageID 101Ctrm for
                     DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan
                          177, (Attachments: # 1 Exhibit) (Hayward, Melissa)

                             286 (123 pgs) Application for compensation Second Monthly Application for Compensation and for
                          Reimbursement of Expenses for the Period from November 1, 2019 through November 30, 2019 for
                          Highland Capital Management, L.P., Debtor's Attorney, Period: 11/1/2019 to 11/30/2019, Fee:
                          $798,767.50, Expenses: $26,317.71. Filed by Debtor Highland Capital Management, L.P. Objections due
   12/30/2019             by 1/21/2020. (Pomerantz, Jeffrey)

                             287 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)281 Motion to compromise controversy with Official Committee of Unsecured Creditors.
                          Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3
                          Proposed Order)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 281,
   12/30/2019             (Hayward, Melissa)

                             288 (3 pgs) Certificate No Objection to Retention of Sidley Austin LLP filed by Creditor Committee
                          Official Committee of Unsecured Creditors (RE: related document(s)206 Amended Application to employ
                          Sidley Austin LLP as Attorney APPLICATION OF THE OFFICIAL COMMITTEE OF UNSECURED
                          CREDITORS, PURSUANT TO SECTIONS 328 AND 1103 OF THE BANKRUPTCY CODE AND
                          FEDERAL RULE OF BANKRUPTCY PROCEDURE 2014, FOR AN ORDER APPROVING T). (Hoffman,
   12/31/2019             Juliana)

                            289 (9 pgs) Debtor-in-possession monthly operating report for filing period November 1, 2019 to
   12/31/2019             November 30, 2019 filed by Debtor Highland Capital Management, L.P.. (Hayward, Melissa)

                             290 (3 pgs) Certificate No Objection to Retention of FTI Consulting, Inc. filed by Creditor Committee
                          Official Committee of Unsecured Creditors (RE: related document(s)205 Application to employ FTI
                          CONSULTING, INC. as Financial Advisor APPLICATION PURSUANT TO FED. R. BANKR. P. 2014(a)
                          FOR ORDER UNDER SECTION 1103 OF THE BANKRUPTCY CODE AUTHORIZING THE
                          EMPLOYMENT AND RETENTION OF FTI CONSULTING, INC. AS FINANCIAL ADVIS). (Hoffman,
   12/31/2019             Juliana)

                             291 (2 pgs) Order granting motion for expedited hearing (Related Doc# 283)(document set for hearing:
                          281 Motion to compromise controversy) Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge
   12/31/2019             Jernigan Ctrm for 281, Entered on 12/31/2019. (Whitaker, Sheniqua)

                             292 (5 pgs) Certificate of service re: 1) Disclosure Declaration of Ordinary Course Professional; 2)
                          Disclosure Declaration Alexander G. McGeoch in Support of Hunton Andrews Kurth LLP as Ordinary
                          Course Professional; 3) Disclosure Declaration of Ordinary Course Professional Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)274 Declaration re: Disclosure Declaration of
                          Ordinary Course Professional (Carey Olsen Cayman Limited) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
                          Management, L.P., 275 Declaration re: Disclosure Declaration of Ordinary Course Professional (Hunton
                          Andrews Kurth LLP) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176
                          Document). filed by Debtor Highland Capital Management, L.P., 276 Declaration re: Disclosure
                          Declaration of Ordinary Course Professional (Wilmer Cutler Pickering Hale and Dorr LLP) filed by
                          Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). filed by Debtor
   01/02/2020             Highland Capital Management, L.P.). (Kass, Albert)

                             293 (5 pgs) Certificate of service re: Disclosure Declaration of Ordinary Course Professional Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)278 Declaration re: Disclosure
                          Declaration of Ordinary Course Professional (Kim & Chang) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)176 Document). filed by Debtor Highland Capital
   01/02/2020             Management, L.P.). (Kass, Albert)




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                             294 (3 pgs) Certificate Certificate of No Objection filed by Creditor Committee Official Committee of
                          Unsecured Creditors (RE: related document(s)226 Application to employ Young Conaway Stargatt &
   01/02/2020             Taylor, LLP as Attorney (Co-Counsel) Nunc Pro Tunc). (Hoffman, Juliana)

                             295 (2 pgs) Notice of Appearance and Request for Notice by Edwin Paul Keiffer filed by Interested
   01/02/2020             Party Hunter Mountain Trust. (Keiffer, Edwin)

                             296 (14 pgs) Certificate of service re: Documents Served on December 27, 2019 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)280 Motion for protective orderJoint Motion for
                          Entry of an Order Approving the Agreed Protective Order Filed by Debtor Highland Capital Management,
                          L.P., Creditor Committee Official Committee of Unsecured Creditors filed by Debtor Highland Capital
                          Management, L.P., Creditor Committee Official Committee of Unsecured Creditors, 281 Motion to
                          compromise controversy with Official Committee of Unsecured Creditors. Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order) filed by Debtor
                          Highland Capital Management, L.P., 282 Support/supplemental document to the Motion of the Debtor
                          Pursuant to 11 U.S.C. §§ 105(a) and 363(b) to Employ and Retain Development Specialists, Inc. to
                          Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring
                          Related Services, Nunc Pro Tunc as of the Petition Date filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)74 Application to employ Development Specialists, Inc as Financial
                          Advisor). (Attachments: # 1 Exhibit A) filed by Debtor Highland Capital Management, L.P., 283 Motion
                          for expedited hearing(related documents 281 Motion to compromise controversy) Filed by Debtor
                          Highland Capital Management, L.P. (Attachments: # 1 Proposed Order) filed by Debtor Highland Capital
   01/02/2020             Management, L.P.). (Kass, Albert)

                             297 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)291 Order granting
                          motion for expedited hearing (Related Doc283)(document set for hearing: 281 Motion to compromise
                          controversy) Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 281, Entered on
   01/02/2020             12/31/2019.) No. of Notices: 2. Notice Date 01/02/2020. (Admin.)

   01/03/2020                298 (2 pgs) Order Regarding Telephonic Appearances Entered on 1/3/2020 (Okafor, M.)

                            299 (4 pgs) Motion to extend time to (RE: related document(s)273 Motion for leave) Filed by Creditor
   01/03/2020             Committee Official Committee of Unsecured Creditors Objections due by 1/8/2020. (Hoffman, Juliana)

                            300 (1 pg) Order granting motion to appear pro hac vice adding Dennis M. Twomey for Official
   01/03/2020             Committee of Unsecured Creditors (related document # 222) Entered on 1/3/2020. (Okafor, M.)

                             301 (2 pgs) Order granting the joint motion to extend time to object to the motion of
                          PensionDanmark's motion for relief from the automatic stay (related document # 273). The Committee and
                          the Debtor shall have until January 6, 2020 to object to PensionDanmarks Stay Relief Motion Entered on
   01/03/2020             1/3/2020. (Okafor, M.)

                             302 (5 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)298 Order
                          Regarding Telephonic Appearances Entered on 1/3/2020 (Okafor, M.)) No. of Notices: 45. Notice Date
   01/05/2020             01/05/2020. (Admin.)

                              303 (3 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)300 Order granting
                          motion to appear pro hac vice adding Dennis M. Twomey for Official Committee of Unsecured Creditors
                          (related document 222) Entered on 1/3/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 01/05/2020.
   01/05/2020             (Admin.)

                             304 (2 pgs) Order granting 299 joint motion to extend time to object to the motion of
                          PensionDanmark's motion for relief from the automatic stay (Re: related document(s) 299 Motion to
   01/06/2020             extend time to (RE: related document(s)273 Motion for leave)) Entered on 1/6/2020. (Okafor, M.)

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                             305 (3 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation
                          Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM
                          at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Declaration of John
                          Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives # 5 Certificate of Service and
                          Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on
   01/06/2020             1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, (Annable, Zachery)

                             306 (4 pgs) Amended Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00
                          AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm
   01/06/2020             for 177, (Annable, Zachery)

                             307 (10 pgs) Trustee's Objection to Joint Motion for Entry of an Order Approving the Agreed
   01/06/2020             Protective Order (RE: related document(s)280 Motion for protective order) (Lambert, Lisa)

                             308 (4 pgs) Motion to appear pro hac vice for Asif Attarwala. Fee Amount $100 Filed by Interested
   01/06/2020             Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             309 (4 pgs) Motion to appear pro hac vice for Kimberly A. Posin. Fee Amount $100 Filed by
   01/06/2020             Interested Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             310 (4 pgs) Motion to appear pro hac vice for Andrew Clubok. Fee Amount $100 Filed by Interested
   01/06/2020             Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                             311 (3 pgs) Motion to appear pro hac vice for Kuan Huang. Fee Amount $100 Filed by Interested
   01/06/2020             Parties UBS AG London Branch, UBS Securities LLC (Hoffman, Juliana)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   01/06/2020             Receipt number 27322441, amount $ 100.00 (re: Doc# 308). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   01/06/2020             Receipt number 27322441, amount $ 100.00 (re: Doc# 309). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   01/06/2020             Receipt number 27322441, amount $ 100.00 (re: Doc# 310). (U.S. Treasury)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   01/06/2020             Receipt number 27322441, amount $ 100.00 (re: Doc# 311). (U.S. Treasury)

                             312 (25 pgs; 2 docs) Response opposed to (related document(s): 281 Motion to compromise
                          controversy with Official Committee of Unsecured Creditors. filed by Debtor Highland Capital
   01/06/2020             Management, L.P.) filed by Interested Party Jefferies LLC. (Attachments: # 1 Exhibit A) (Doherty, Casey)

                            313 (6 pgs) Trustee's Objection to Motion to Approve Joint Agreement (RE: related document(s)281
   01/06/2020             Motion to compromise controversy) (Lambert, Lisa)


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                                                         Court - Northern       03/15/23
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                             314 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy Case and
                          Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)229 Meeting of creditors 341(a) meeting to be held on
                          1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of
   01/06/2020             service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass, Albert)

                             315 (6 pgs) Certificate of service re: 1) Notice of Hearing on Debtors Application Pursuant to Sections
                          327(a) and 328(a) of the Bankruptcy Code for Authority to Employ Mercer (US) Inc. as Compensation
                          Consultant; to held on January 9, 2020 at 9:30 a.m. (CT); and 2) Notice of Hearing on Motion of the
                          Debtor for Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations
                          Under Employee Bonus Plans and Granting Related Relief; to be held on January 9, 2020 at 9:30 a.m.
                          (CT) Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)284 Notice of
                          hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)180
                          Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation Consultant Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824
                          Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: #
                          1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4
                          Exhibit C - Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM
                          Dallas Judge Jernigan Ctrm for 180, (Attachments: # 1 Exhibit) filed by Debtor Highland Capital
                          Management, L.P., 285 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)177 Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the Debtor
                          to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for
   01/06/2020             177, (Attachments: # 1 Exhibit) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             316 (12 pgs) Certificate of service re: 1) Second Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the
                          Period from November 1, 2019 Through November 30, 2019; 2) Notice of Hearing re: Motion of the
                          Debtor to Approve Settlement with Official Committee of Unsecured Creditors Regarding Governance of
                          the Debtor and Procedures for Operations in the Ordinary Course; to be Held on January 9, 2020 at 9:30
                          a.m. (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)286
                          Application for compensation Second Monthly Application for Compensation and for Reimbursement of
                          Expenses for the Period from November 1, 2019 through November 30, 2019 for Highland Capital
                          Management, L.P., Debtor's Attorney, Period: 11/1/2019 to 11/30/2019, Fee: $798,767.50, Expenses:
                          $26,317.71. Filed by Debtor Highland Capital Management, L.P. Objections due by 1/21/2020. filed by
                          Debtor Highland Capital Management, L.P., 287 Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)281 Motion to compromise controversy with Official
                          Committee of Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Proposed Order)). Hearing to be held on 1/9/2020 at 09:30 AM Dallas Judge
   01/06/2020             Jernigan Ctrm for 281, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             317 (1 pg) Order granting motion to appear pro hac vice adding Asif Attarwala for UBS AG London
   01/07/2020             Branch and UBS Securities LLC (related document # 308) Entered on 1/7/2020. (Okafor, M.)

                            318 (1 pg) Order granting motion to appear pro hac vice adding Kimberly A. Posin for UBS AG
   01/07/2020             London Branch and UBS Securities LLC (related document # 309) Entered on 1/7/2020. (Okafor, M.)

                             319 (1 pg) Order granting motion to appear pro hac vice adding Andrew Clubok for UBS AG London
                          Branch and UBS Securities LLC (related document 310) Entered on 1/7/2020. (Okafor, M.) MODIFIED
   01/07/2020             text on 1/7/2020 (Okafor, M.).


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                40/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.
                                           Filed 03/15/23
                                              Bankruptcy          Entered
                                                         Court - Northern       03/15/23
                                                                          District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E Document
                                  Main Document
                                          1-1 FiledPage03/15/23105 ofPage 120 101 of 116 PageID 105
                             320 (1 pg) Order granting motion to appear pro hac vice adding Kuan Huang for UBS AG London
   01/07/2020             Branch and UBS Securities LLC (related document # 311) Entered on 1/7/2020. (Okafor, M.)

                             321 (4 pgs) Witness and Exhibit List filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)281 Motion to compromise controversy with Official Committee of Unsecured Creditors. ).
   01/07/2020             (Annable, Zachery)

                             322 (1 pg) Certificate of service re: Certificate of Service filed by Interested Party Jefferies LLC (RE:
   01/07/2020             related document(s)312 Response). (Doherty, Casey)

                             323 (5 pgs) Notice of Appearance and Request for Notice (Amended) by Joseph E. Bain filed by
   01/07/2020             Creditor Issuer Group. (Bain, Joseph)

                             324 (8 pgs) ***WITHDRAWN per docket # 467** Objection to (related document(s): 281 Motion to
                          compromise controversy with Official Committee of Unsecured Creditors. filed by Debtor Highland
                          Capital Management, L.P.)Limited Objection to Motion of the Debtor for Approval of Settlement With the
                          Official Committee of Unsecured Creditors Regarding Governance of the Debtor and Procedures for
                          Operations in the Ordinary Course filed by Creditor Issuer Group. (Bain, Joseph) Modified on 2/24/2020
   01/07/2020             (Ecker, C.).

                             325 (3 pgs) Motion to appear pro hac vice for James T. Bentley. Fee Amount $100 Filed by Creditor
   01/08/2020             Issuer Group (Anderson, Amy)

                            Receipt of filing fee for Motion to Appear pro hac vice(19-34054-sgj11) [motion,mprohac] ( 100.00).
   01/08/2020             Receipt number 27331269, amount $ 100.00 (re: Doc# 325). (U.S. Treasury)

                            326 (4 pgs) Notice of Compliance with Local Bankruptcy Rule 2090-4 filed by Creditor Issuer Group.
   01/08/2020             (Anderson, Amy)

                             327 (3 pgs) Declaration re: (Declaration of Bradley D. Sharp in Support of the Motion of the Debtor
                          for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding Governance of
                          the Debtor and Procedures for Operations in the Ordinary Course) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)281 Motion to compromise controversy with Official
   01/08/2020             Committee of Unsecured Creditors. ). (Annable, Zachery)

                              328 (3 pgs) Agreed Notice of hearingwith PensionDanmark and Highland Capital Management, L.P.
                          filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related document(s)218
                          Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM THE
                          AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee amount $181,
                          Filed by Creditor PensionDanmark Pensionsforsikringsaktieselskab Objections due by 12/23/2019.
                          (Attachments: # 1 Declaration # 2 Proposed Order)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas
   01/08/2020             Judge Jernigan Ctrm for 218, (Hoffman, Juliana)

                             329 (13 pgs; 2 docs) Response unopposed to (related document(s): 313 Objection) filed by Debtor
                          Highland Capital Management, L.P.. (Attachments: # 1 Exhibit A) (Hayward, Melissa) Modified to match
   01/08/2020             docket text to PDF on 1/9/2020 (Ecker, C.).

                             330 (5 pgs) Response unopposed to (related document(s): 313 Objection) filed by Creditor Committee
                          Official Committee of Unsecured Creditors. (Hoffman, Juliana) Modified text to match PDF on 1/9/2020
   01/08/2020             (Ecker, C.).

   01/08/2020                331 (6 pgs) Certificate of service re: Order Regarding Request for Expedited Hearing; to be Held on
                          January 9, 2020 at 9:30 a.m. (Prevailing Central Time) Filed by Claims Agent Kurtzman Carson
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                   41/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.       Filed  03/15/23
                                                       Bankruptcy          Entered
                                                                  Court - Northern       03/15/23
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            Case 3:23-cv-00573-E      Document
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                     Consultants LLC (related document(s)291 Order granting motion for expedited hearing (Related Doc283)
                          (document set for hearing: 281 Motion to compromise controversy) Hearing to be held on 1/9/2020 at
                          09:30 AM Dallas Judge Jernigan Ctrm for 281, Entered on 12/31/2019.). (Kass, Albert)

                              332 (8 pgs) Certificate of service re: 1) Amended Notice of Hearing on Debtor's Application Pursuant
                          to Sections 327(a) and 328(a) of the Bankruptcy Code for Authority to Employ Mercer (US) Inc. as
                          Compensation Consultant; to be Held on January 21, 2020 at 9:30 a.m. (Central Time); 2) Amended
                          Notice of Hearing on Motion of the Debtor for Entry of an Order Authorizing the Debtor to Pay and
                          Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting Related Relief; to be
                          Held on January 21, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)305 Amended Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019
                          at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B -
                          Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives # 5
                          Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173
                          ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)).
                          Hearing to be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 180, filed by Debtor
                          Highland Capital Management, L.P., 306 Amended Notice of hearing filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an
                          Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus
                          Plans and Granting Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice)
                          [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR
                          THE DISTRICT OF DELAWARE] (Okafor, M.)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas
   01/08/2020             Judge Jernigan Ctrm for 177, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                              333 (1 pg) Order granting motion to appear pro hac vice adding James T. Bentley for Issuer Group
   01/09/2020             (related document # 325) Entered on 1/9/2020. (Okafor, M.)

                            334 (3 pgs) Order granting application to employ Sidley Austin LLP for Official Committee of
   01/09/2020             Unsecured Creditors as Attorney (related document # 206) Entered on 1/9/2020. (Okafor, M.)

                             335 (1 pg) Court admitted exhibits date of hearing 01/09/2020. DEBTOR EXHIBIT 1 ADMITTED.
                          (RE: related document(s)281 Motion to compromise controversy with Official Committee of Unsecured
                          Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A # 2 Exhibit B
   01/09/2020             # 3 Proposed Order)) (Jeng, Hawaii)

                             336 (4 pgs) Order granting application to employ FTI Consulting, Inc. as Financial Advisor to The
   01/09/2020             Official Committee of Unsecured Creditors (related document # 205) Entered on 1/9/2020. (Okafor, M.)

                            337 (3 pgs) Order granting application to employ Young Conway Stargatt & Taylor, LLP for Official
                          Committee of Unsecured Creditors as Attorney (Co-Counsel) (related document 226) Entered on 1/9/2020.
   01/09/2020             (Okafor, M.) Modified to correct Firm name on 1/13/2020 (Ecker, C.).

                             338 (8 pgs) Stipulation by Highland Capital Management, L.P. and Official Committee of Unsecured
                          Creditors, Strand Advisors, Inc., and James Dondero. filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)281 Motion to compromise controversy with Official Committee of Unsecured
   01/09/2020             Creditors. ). (Hayward, Melissa)

                             339 (5 pgs) Order Approve Settlement with Official Committee of Unsecured Creditors Regarding
                          Governance of the Debtor and Procedures for Operations in the Ordinary Course ( (related document #
   01/09/2020             281) Entered on 1/9/2020. (Okafor, M.)


https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               42/56
3/15/23, 9:09 Case
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                                           Filed 03/15/23
                                              Bankruptcy          Entered
                                                         Court - Northern       03/15/23
                                                                          District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E Document
                                  Main Document
                                          1-1 FiledPage03/15/23107 ofPage 120 103 of 116 PageID 107
                             340 (20 pgs; 3 docs) Application to employ Hayward & Associates PLLC as Attorney (Debtor's
                          Application Pursuant to Sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy Rules
                          2014(a) and 2016 for an Order Authorizing the Employment of Hayward & Associates PLLC as Local
                          Counsel) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Declaration of
   01/09/2020             Melissa S. Hayward # 2 Proposed Order) (Annable, Zachery)

                             341 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)317 Order granting
                          motion to appear pro hac vice adding Asif Attarwala for UBS AG London Branch and UBS Securities
                          LLC (related document 308) Entered on 1/7/2020. (Okafor, M.)) No. of Notices: 1. Notice Date
   01/09/2020             01/09/2020. (Admin.)

                               Hearing held on 1/9/2020. (RE: related document(s)281 Motion to compromise controversy with
                          Official Committee of Unsecured Creditors, filed by Debtor Highland Capital Management, L.P.)
                          (Appearances: J. Pomerantz, I. Kharasch, G. Demo, M. Hayward, and Z. Annabel for Debtor; M.
                          Clemente, P. Reid and D. Tumi for Unsecured Creditors Committee; A. Chiarello and R. Patel for Asic; L.
                          Lambert for UST; J. Bentley and J. Bain (both telephonically) for CLO and CDO Issuer Group; T.
                          Mascherin and M. Hankin (telephonically) for Redeemer Committee; P. Maxcy (telephonically) for
                          Jeffries. Evidentiary hearing. Motion granted. Counsel to upload appropriate form of order.) (Edmond,
   01/09/2020             Michael) (Entered: 01/10/2020)

                             342 (13 pgs) Order granting application to employ Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, Additional Personnel, and Financial Advisory and Restructuring-Related Services
                          for Such Debtor, Nunc Pro Tunc as of the Petition Date (related document # 74) Entered on 1/10/2020.
   01/10/2020             (Okafor, M.)

                             343 (70 pgs) Application for compensation First Monthly Application for Compensation and for
                          Reimbursement of Expenses of Sidley Austin LLP for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 10/29/2019 to 11/30/2019, Fee: $795,054.96, Expenses: $10,247.88. Filed by Creditor
   01/10/2020             Committee Official Committee of Unsecured Creditors Objections due by 1/31/2020. (Hoffman, Juliana)

                             344 (9 pgs) Certificate of service re: Documents Served on January 8, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)327 Declaration re: (Declaration of Bradley D.
                          Sharp in Support of the Motion of the Debtor for Approval of Settlement with the Official Committee of
                          Unsecured Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary
                          Course) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)281 Motion to
                          compromise controversy with Official Committee of Unsecured Creditors. ). filed by Debtor Highland
                          Capital Management, L.P., 328 Agreed Notice of hearingwith PensionDanmark and Highland Capital
                          Management, L.P. filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)218 Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM THE
                          AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee amount $181,
                          Filed by Creditor PensionDanmark Pensionsforsikringsaktieselskab Objections due by 12/23/2019.
                          (Attachments: # 1 Declaration # 2 Proposed Order)). Hearing to be held on 1/21/2020 at 09:30 AM Dallas
                          Judge Jernigan Ctrm for 218, filed by Creditor Committee Official Committee of Unsecured Creditors,
                          329 Response unopposed to (related document(s): 313 Objection) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit A) (Hayward, Melissa) Modified to match docket text to
                          PDF on 1/9/2020 (Ecker, C.). filed by Debtor Highland Capital Management, L.P., 330 Response
                          unopposed to (related document(s): 313 Objection) filed by Creditor Committee Official Committee of
                          Unsecured Creditors. (Hoffman, Juliana) Modified text to match PDF on 1/9/2020 (Ecker, C.). filed by
   01/10/2020             Creditor Committee Official Committee of Unsecured Creditors). (Kass, Albert)

   01/10/2020                345 (9 pgs) Certificate of service re: Documents Served on January 9, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)334 Order granting application to employ Sidley
                          Austin LLP for Official Committee of Unsecured Creditors as Attorney (related document 206) Entered on
                          1/9/2020. (Okafor, M.), 336 Order granting application to employ FTI Consulting, Inc. as Financial
                          Advisor to The Official Committee of Unsecured Creditors (related document 205) Entered on 1/9/2020.
                          (Okafor, M.), 337 Order granting application to employ Conway Stargatt & Taylor, LLP for Official
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                 43/56
3/15/23, 9:09 Case
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                                                       Bankruptcy          Entered
                                                                  Court - Northern       03/15/23
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            Case 3:23-cv-00573-E
                     Committee of Unsecured Creditors as Attorney (Co-Counsel) (related document 226) Entered108
                                     Document
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                          (Okafor, M.), 338 Stipulation by Highland Capital Management, L.P. and Official Committee of
                          Unsecured Creditors, Strand Advisors, Inc., and James Dondero. filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)281 Motion to compromise controversy with Official
                          Committee of Unsecured Creditors. ). filed by Debtor Highland Capital Management, L.P., 340
                          Application to employ Hayward & Associates PLLC as Attorney (Debtor's Application Pursuant to
                          Sections 327(a) and 328(a) of the Bankruptcy Code and Bankruptcy Rules 2014(a) and 2016 for an Order
                          Authorizing the Employment of Hayward & Associates PLLC as Local Counsel) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Declaration of Melissa S. Hayward # 2 Proposed
                          Order) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                            346 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)319 Order granting
                          motion to appear pro hac vice adding Andrew Clubok for UBS AG London Branch and UBS Securities
                          LLC (related document 310) Entered on 1/7/2020. (Okafor, M.) MODIFIED text on 1/7/2020 (Okafor,
   01/10/2020             M.).) No. of Notices: 1. Notice Date 01/10/2020. (Admin.)

                              347 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)320 Order granting
                          motion to appear pro hac vice adding Kuan Huang for UBS AG London Branch and UBS Securities LLC
                          (related document 311) Entered on 1/7/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 01/10/2020.
   01/10/2020             (Admin.)

                             348 (4 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)333 Order granting
                          motion to appear pro hac vice adding James T. Bentley for Issuer Group (related document 325) Entered
   01/11/2020             on 1/9/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 01/11/2020. (Admin.)

                              349 (16 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as
                          of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)) No. of Notices: 1. Notice
   01/12/2020             Date 01/12/2020. (Admin.)

                             350 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy Case and
                          Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)229 Meeting of creditors 341(a) meeting to be held on
                          1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of
   01/13/2020             service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass, Albert)

                             351 (11 pgs; 2 docs) Motion to extend time to (Debtor's Motion for Entry of an Order Extending the
                          Period Within Which It May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal
                          Rules of Bankruptcy Procedure) Filed by Debtor Highland Capital Management, L.P. Objections due by
   01/13/2020             2/6/2020. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                             352 (1 pg) DOCKET IN ERROR: Request for transcript regarding a hearing held on 1/9/2020. The
                          requested turn-around time is daily. (Edmond, Michael) Modified on 1/21/2020 REQUEST WAS
   01/13/2020             CANCELLED THE SAME DATE AS REQUESTED OF 1/13/2020. (Edmond, Michael).

                              353 (7 pgs) Objection to (related document(s): 270 Application for compensation - First Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through November 30, 2019)
   01/13/2020             filed by Acis Capital Management GP, LLC, Acis Capital Management, L.P.. (Patel, Rakhee)

                             354 (65 pgs; 2 docs) Notice (Notice of Final Term Sheet) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)281 Motion to compromise controversy with Official
                          Committee of Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P. (Attachments: #
                          1 Exhibit A # 2 Exhibit B # 3 Proposed Order)). (Attachments: # 1 Exhibit A--Final Term Sheet) (Annable,
   01/14/2020             Zachery)

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                44/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.
                                           Filed 03/15/23
                                              Bankruptcy          Entered
                                                         Court - Northern       03/15/23
                                                                          District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E Document
                                  Main Document
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                             355 (5 pgs) Certificate of service re: Summary and First Monthly Application of Sidley Austin LLP for
                          Allowance of Compensation and Reimbursement of Expenses for the Period from October 29, 2019 to and
                          Including November 30, 2019 Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)343 Application for compensation First Monthly Application for Compensation and for
                          Reimbursement of Expenses of Sidley Austin LLP for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 10/29/2019 to 11/30/2019, Fee: $795,054.96, Expenses: $10,247.88. Filed by Creditor
                          Committee Official Committee of Unsecured Creditors Objections due by 1/31/2020. filed by Creditor
   01/14/2020             Committee Official Committee of Unsecured Creditors). (Kass, Albert)

                             356 (10 pgs) Certificate of service re: Debtor's Motion for Entry of an Order Extending the Period
                          Within Which it May Remove Actions Pursuant to 28 U.S.C. § 1452 and Rule 9027 of the Federal Rules of
                          Bankruptcy Procedure Filed by Claims Agent Kurtzman Carson Consultants LLC (related document(s)351
                          Motion to extend time to (Debtor's Motion for Entry of an Order Extending the Period Within Which It
                          May Remove Actions Pursuant to 28 U.S.C. 1452 and Rule 9027 of the Federal Rules of Bankruptcy
                          Procedure) Filed by Debtor Highland Capital Management, L.P. Objections due by 2/6/2020.
                          (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital Management, L.P.).
   01/14/2020             (Kass, Albert)

                             357 (3 pgs) Witness and Exhibit List in Connection with Motion to Appoint a Chapter 11 Trustee filed
                          by U.S. Trustee United States Trustee (RE: related document(s)271 Trustee's Motion to appoint trustee).
   01/14/2020             (Lambert, Lisa)

                             358 (3 pgs) Witness and Exhibit List in connection with Motion to Seal and Joint Motion for an Agreed
                          Protective Order filed by U.S. Trustee United States Trustee (RE: related document(s)10 Motion to file
                          document under seal., 280 Motion for protective orderJoint Motion for Entry of an Order Approving the
   01/14/2020             Agreed Protective Order). (Lambert, Lisa)

                             359 (4 pgs) Agreed Motion to continue hearing on (related documents 218 Motion for relief from stay)
   01/15/2020             Filed by Creditor Committee Official Committee of Unsecured Creditors (Hoffman, Juliana)

                            360 (2 pgs) Withdrawal of Precautionary Motion of the Debtor for Order Approving Protocols for the
                          Debtor to Implement Certain Transactions in the Ordinary Course of Business filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)76 Motion by Highland Capital Management, L.P..).
   01/15/2020             (Hayward, Melissa)

                              361 (4 pgs) Order granting motion to continue hearing on (related document # 359) (related documents
                          Motion for relief from stay MOTION OF PENSIONDANMARK
                          PENSIONSFORSIKRINGSAKTIESELSKAB FOR AN ORDER GRANTING RELIEF FROM THE
                          AUTOMATIC STAY TO TERMINATE INVESTMENT MANAGEMENT AGREEMENT Fee amount $181,).
                          It is hereby ORDERED that a hearing on the Stay Relief Motion shall be continued to a later date provided
   01/15/2020             by the Court and mutually acceptable to the Parties. Entered on 1/15/2020. (Okafor, M.)

                             362 (13 pgs) Response opposed to (related document(s): 271 Trustee's Motion to appoint trustee filed
                          by U.S. Trustee United States Trustee) filed by Debtor Highland Capital Management, L.P.. (Annable,
   01/15/2020             Zachery)

   01/15/2020                363 (4 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)7 Motion to Maintain Bank Accounts /Motion of the Debtor for Interim and Final Orders
                          Authorizing (A) Continuance of Existing Cash Management System and Brokerage Relationships, (B)
                          Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment
                          Requirements, and (D) Granting Related Relief Filed By Highland Capital Management, L.P.
                          (Attachments: 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #5
                          ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.),
                          68 Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner LLP as Special Texas Counsel
                          Filed by Highland Capital Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                              45/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.        Filed  03/15/23
                                                        Bankruptcy          Entered
                                                                   Court - Northern       03/15/23
                                                                                    District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E       Document
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                                                                                    120      106   of 116 PageID 110# 5 2016
                     11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit C - Proposed Order
                          Statement # 6 Declaration Frank Waterhouse # 7 Certificate of Service) (O'Neill, James) [ORIGINALLY
                          FILED AS DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.), 69 Application/Motion to Employ/Retain Lynn Pinker Cox & Hurst LLP
                          as Special Texas Litigation Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A - Hurst Declaration # 3
                          Exhibit B - Proposed Order # 4 2016 Statement # 5 Declaration Frank Waterhouse # 6 Certificate of
                          Service) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #70 ON 10/29/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 177 Motion to Authorize
                          Motion of the Debtor for Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course
                          Obligations Under Employee Bonus Plans and Granting Related Relief Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1
                          Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019 IN
                          U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 180
                          Application/Motion to Employ/Retain Mercer (US) Inc. as Compensation Consultant Filed by Highland
                          Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824
                          Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: #
                          1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4
                          Exhibit C - Highland Key Employee Incentives # 5 Certificate of Service and Service List)(O'Neill,
                          James) [ORIGINALLY FILED AS DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 259 Support/supplemental document to the Motion
                          of Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing Cash Management
                          System, (B) Continued Use of the Prime Account, (C) Limited Waiver filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)7 Motion to maintain bank accounts.)., 271 Trustee's Motion
                          to appoint trustee Filed by U.S. Trustee United States Trustee, 280 Motion for protective orderJoint
                          Motion for Entry of an Order Approving the Agreed Protective Order Filed by Debtor Highland Capital
                          Management, L.P., Creditor Committee Official Committee of Unsecured Creditors). Hearing to be held
                          on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 7 and for 68 and for 177 and for 259 and for
                          280 and for 271 and for 180 and for 69, (Annable, Zachery)

                             364 (4 pgs) Objection to (related document(s): 271 Trustee's Motion to appoint trustee filed by U.S.
                          Trustee United States Trustee) filed by Creditor Committee Official Committee of Unsecured Creditors.
   01/15/2020             (Hoffman, Juliana)

                             365 (5 pgs) Certificate of service re: Objection to First Monthly Application for Compensation and
                          Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel for the
                          Period From October 16, 2019 Through November 30, 2019 filed by Acis Capital Management GP, LLC,
                          Acis Capital Management, L.P. (RE: related document(s)270 Application for compensation - First Monthly
                          Application for Compensation and Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as
                          Special Texas Counsel to the Debtor for the Period from October 16, 2019 through November 30, 2019).
   01/16/2020             (Chiarello, Annmarie)

                             366 (4 pgs) Amended Witness and Exhibit List in Connection with Motion to Appoint a Chapter 11
                          Trustee filed by U.S. Trustee United States Trustee (RE: related document(s)357 List
   01/16/2020             (witness/exhibit/generic)). (Lambert, Lisa)

                             367 (5 pgs) Witness and Exhibit List filed by Acis Capital Management GP, LLC, Acis Capital
                          Management, L.P. (RE: related document(s)68 Application to employ Foley Gardere, Foley & Lardner
                          LLP as Special Counsel, 69 Application to employ Lynn Pinker Cox & Hurst LLP as Special Counsel).
   01/16/2020             (Chiarello, Annmarie)

                             368 (11 pgs) Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30
   01/16/2020             a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

   01/17/2020                369 (47 pgs; 2 docs) Notice (Notice of Filing of Monthly Staffing Report by Development Specialists,
                          Inc for the Period from October 16, 2019, Through November 30, 2019) filed by Debtor Highland Capital
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                  46/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.        Filed 03/15/23
                                                        Bankruptcy          Entered
                                                                   Court - Northern       03/15/23
                                                                                    District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E      Document
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                     Management, L.P. (RE: related document(s)342 Order granting application to employ Development
                          Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory
                          and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date (related
                          document 74) Entered on 1/10/2020. (Okafor, M.)). (Attachments: # 1 Exhibit A--Staffing Report)
                          (Annable, Zachery)

                             370 (9 pgs; 2 docs) Joint Motion to continue hearing on (related documents 68 Application to employ,
                          69 Application to employ)(Joint Motion for Continuance of Hearing on (i) Debtor's Application for an
                          Order Authorizing the Employment of Foley Gardere, Foley & Lardner LLP as Special Texas Counsel,
                          Nunc Pro Tunc to the Petition Date, and (ii) Debtor's Application for an Order Authorizing the Retention
                          and Employment of Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel, Nunc Pro Tunc to
                          the Petition Date) Filed by Debtor Highland Capital Management, L.P. (Attachments: # 1 Proposed Order)
   01/17/2020             (Annable, Zachery)

                             371 (2 pgs) Order granting joint motion to continue hearing on (related document # 370) (related
                          documents Application to employ Foley Gardere, Foley & Lardner LLP as Special Counsel, Application to
                          employ Lynn Pinker Cox & Hurst LLP as Special Counsel). ORDERED that the hearing on the
                          Applications currently scheduled for January 21, 2020 at 9:30 a.m., will be continued to a new hearing
   01/17/2020             date to be determined by the Parties; and it is further Entered on 1/17/2020. (Okafor, M.)

                             372 (3 pgs) Witness and Exhibit List (Debtor's Witness and Exhibit List in Connection with Its
                          Opposition to Motion to Appoint a Chapter 11 Trustee) filed by Debtor Highland Capital Management,
   01/17/2020             L.P. (RE: related document(s)362 Response). (Annable, Zachery)

                             373 (12 pgs) Amended Notice (First Amended Notice of Agenda of Matters Scheduled for Hearing on
                          January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)368 Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020
   01/19/2020             at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P..). (Annable, Zachery)

                             374 (13 pgs) Amended Notice (Second Amended Notice of Agenda of Matters Scheduled for Hearing
                          on January 21, 2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.
                          (RE: related document(s)368 Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21,
                          2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.., 373 Amended
                          Notice (First Amended Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30
                          a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)368
                          Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central
   01/20/2020             Time)) filed by Debtor Highland Capital Management, L.P..).). (Annable, Zachery)

                             375 (3 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy Case and
                          Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)229 Meeting of creditors 341(a) meeting to be held on
                          1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of
   01/21/2020             service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass, Albert)

                              Hearing held on 1/21/2020. (RE: related document(s)271 Trustee's Motion to appoint trustee filed by
                          U.S. Trustee United States Trustee) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z.
                          Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R.
                          Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer
                          Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Evidentiary hearing. Motion denied. Debtors counsel should upload a form of order consistent
   01/21/2020             with the courts ruling.) (Edmond, Michael)

   01/21/2020                 Hearing held on 1/21/2020. (RE: related document(s)7 Motion to Maintain Bank Accounts /Motion of
                          the Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing Cash Management
                          System and Brokerage Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of
                          Section 345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed By Highland
                          Capital Management, L.P. (Attachments: 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                   47/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.Filed  03/15/23
                                                Bankruptcy          Entered
                                                           Court - Northern       03/15/23
                                                                            District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E  Document
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                     FILED AS DOCUMENT #5 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT PageID 112 OF
                          DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z.
                          Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R.
                          Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer
                          Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Nonevidentiary hearing. Motion granted on a final basis. Debtors counsel should upload order.)
                          (Edmond, Michael)

                             376 (8 pgs) Certificate of service re: Notice of Final Term Sheet Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)354 Notice (Notice of Final Term Sheet) filed by Debtor
                          Highland Capital Management, L.P. (RE: related document(s)281 Motion to compromise controversy with
                          Official Committee of Unsecured Creditors. Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A # 2 Exhibit B # 3 Proposed Order)). (Attachments: # 1 Exhibit A--Final Term
   01/21/2020             Sheet) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                               Hearing held on 1/21/2020. (RE: related document(s)177 Motion to Authorize Motion of the Debtor
                          for Entry of an Order Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under
                          Employee Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2
                          Notice) [ORIGINALLY FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak,
                          M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured
                          Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for
                          Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley
                          (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion, as narrowed, granted. Debtors counsel
   01/21/2020             should upload order.) (Edmond, Michael)

                              Hearing held on 1/21/2020. (RE: related document(s)180 Application/Motion to Employ/Retain
                          Mercer (US) Inc. as Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing
                          scheduled for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6,
                          Wilmington, Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed
                          Order # 3 Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee
                          Incentives # 5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #173 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z.
                          Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R.
                          Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer
                          Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Nonevidentiary hearing. Motion granted. Debtors counsel should upload order.) (Edmond,
   01/21/2020             Michael)

   01/21/2020                 377 (8 pgs) Certificate of service re: 1) Objection of the Debtor to United States Trustee's Motion for
                          an Order Directing the Appointment of a Chapter 11 Trustee; and 2) Notice of Hearing; to be Held on
                          January 21, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC
                          (related document(s)362 Response opposed to (related document(s): 271 Trustee's Motion to appoint
                          trustee filed by U.S. Trustee United States Trustee) filed by Debtor Highland Capital Management, L.P..
                          filed by Debtor Highland Capital Management, L.P., 363 Notice of hearing filed by Debtor Highland
                          Capital Management, L.P. (RE: related document(s)7 Motion to Maintain Bank Accounts /Motion of the
                          Debtor for Interim and Final Orders Authorizing (A) Continuance of Existing Cash Management System
                          and Brokerage Relationships, (B) Continued Use of the Prime Account, (C) Limited Waiver of Section
                          345(b) Deposit and Investment Requirements, and (D) Granting Related Relief Filed By Highland Capital
                          Management, L.P. (Attachments: 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #5 ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.), 68 Application/Motion to Employ/Retain Foley Gardere, Foley & Lardner
                          LLP as Special Texas Counsel Filed by Highland Capital Management, L.P.. Hearing scheduled for
                          11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 11/12/2019. (Attachments: # 1 Notice # 2 Exhibit A # 3 Exhibit B # 4 Exhibit
                          C - Proposed Order # 5 2016 Statement # 6 Declaration Frank Waterhouse # 7 Certificate of Service)
https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                                48/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.     Filed 03/15/23
                                                     Bankruptcy          Entered
                                                                Court - Northern       03/15/23
                                                                                 District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E       Document
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                     (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #69 ON 10/29/2019 IN U.S. BANKRUPTCY      113
                          COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.), 69 Application/Motion to Employ/Retain
                          Lynn Pinker Cox & Hurst LLP as Special Texas Litigation Counsel Filed by Highland Capital
                          Management, L.P.. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market
                          St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by 11/12/2019. (Attachments: # 1
                          Notice # 2 Exhibit A - Hurst Declaration # 3 Exhibit B - Proposed Order # 4 2016 Statement # 5
                          Declaration Frank Waterhouse # 6 Certificate of Service) (O'Neill, James) [ORIGINALLY FILED AS
                          DOCUMENT #70 ON 10/29/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.), 177 Motion to Authorize Motion of the Debtor for Entry of an Order
                          Authorizing the Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and
                          Granting Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019
                          at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY
                          FILED AS DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT
                          OF DELAWARE] (Okafor, M.), 180 Application/Motion to Employ/Retain Mercer (US) Inc. as
                          Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019
                          at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware.
                          Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3 Exhibit B -
                          Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives # 5
                          Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173
                          ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.),
                          259 Support/supplemental document to the Motion of Debtor for Interim and Final Orders Authorizing (A)
                          Continuance of Existing Cash Management System, (B) Continued Use of the Prime Account, (C) Limited
                          Waiver filed by Debtor Highland Capital Management, L.P. (RE: related document(s)7 Motion to maintain
                          bank accounts.)., 271 Trustee's Motion to appoint trustee Filed by U.S. Trustee United States Trustee, 280
                          Motion for protective orderJoint Motion for Entry of an Order Approving the Agreed Protective Order
                          Filed by Debtor Highland Capital Management, L.P., Creditor Committee Official Committee of
                          Unsecured Creditors). Hearing to be held on 1/21/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 7 and
                          for 68 and for 177 and for 259 and for 280 and for 271 and for 180 and for 69, filed by Debtor Highland
                          Capital Management, L.P.). (Kass, Albert)

                               Hearing held on 1/21/2020. (RE: related document(s)280 Motion for protective order Joint Motion for
                          Entry of an Order Approving the Agreed Protective Order filed by Debtor Highland Capital Management,
                          L.P., Creditor Committee Official Committee of Unsecured Creditors) (Appearances: J. Pomerantz, J.
                          Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for
                          Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin
                          (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS; A.
                          Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion granted, with
   01/21/2020             certain amendments as discussed on the record. Debtors counsel should upload order.) (Edmond, Michael)

                              Hearing held on 1/21/2020. (RE: related document(s)127 Motion to File Under Seal of the Omnibus
                          Objection of the Official Committee of Unsecured Creditors to the Debtors (I) Motion for Final Order
                          Authorizing Continuance of the Existing Cash Management System, (II) Motion to Employ and Retain
                          Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III) Precautionary Motion for
                          Approval of Protocols for Ordinary Course Transactions Filed by Official Committee of Unsecured
                          Creditors. Hearing scheduled for 11/19/2019 at 12:00 PM at US Bankruptcy Court, 824 Market St., 5th Fl.,
                          Courtroom #6, Wilmington, Delaware. Objections due by 11/19/2019. (Attachments: # 1 Notice # 2
                          Proposed Form of Order) [ORIGINALLY FILED AS DOCUMENT #123 ON 11/12/2019 IN U.S.
                          BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)(Appearances: J.
                          Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J.
                          Hoffman for Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and
                          M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS;
                          A. Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing. Motion denied for
   01/21/2020             mootness. UCCs counsel should upload order.) (Edmond, Michael)

                             378 (27 pgs) Application for compensation First Monthly Application for Compensation and
                          Reimbursement of Expenses on behalf of the Unsecured Creditors Committee for FTI Consulting, Inc.,
                          Financial Advisor, Period: 11/6/2019 to 11/30/2019, Fee: $322,274.88, Expenses: $4,687.35. Filed by
   01/21/2020             Attorney Juliana Hoffman Objections due by 2/11/2020. (Hoffman, Juliana)

https://txnb-ecf.sso.dcn/cgi-bin/DktRpt.pl?198758175710081-L_1_0-1                                                               49/56
3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.
                                           Filed 03/15/23
                                              Bankruptcy          Entered
                                                         Court - Northern       03/15/23
                                                                          District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E Document
                                  Main Document
                                          1-1 FiledPage03/15/23114 ofPage 120 110 of 116 PageID 114
                             383 (1 pg) Court admitted exhibits date of hearing January 21, 2020 (RE: related document(s)271
                          Trustee's Motion to appoint trustee filed by Lisa Lambert representing the U.S. Trustee) (Court Admitted
                          U.S. Trustee's Exhibits #4, #5, #7, #8, #9, #10 and Took Judicial Notice of Exhibit #11) (Edmond,
   01/21/2020             Michael) (Entered: 01/22/2020)

                            379 (6 pgs) Final Order Authorizing (A) Continuance of Existing Cash Management System, (B)
                          Continued Use of the Prime Account and Maxim Prime Account, (C) Limited Waiver of Section 345(b)
                          Deposit and Investment Requirements, and (D) Granting Related Relief Filed By Highland Capital
   01/22/2020             Management, L.P (related document # 7) Entered on 1/22/2020. (Okafor, M.)

                             380 (3 pgs) Order Authorizing Debtor to Pay and Honor Ordinary Course Obligations Under
                          Employee Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P. (related
   01/22/2020             document # 177) Entered on 1/22/2020. (Okafor, M.)

                             381 (3 pgs) Order Granting Application to Employ Mercer (US) Inc. as Compensation Consultant to
   01/22/2020             the debtor (related document # 180) Entered on 1/22/2020. (Okafor, M.)

                             382 (10 pgs) Agreed Order Granting Motion for Protective Order (related document # 280) Entered on
   01/22/2020             1/22/2020. (Okafor, M.)

                             384 (3 pgs) Declaration re: Notice / Declaration of Conor P. Tully in Support of the Retention of FTI
                          Consulting, Inc. filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)205 Application to employ FTI CONSULTING, INC. as Financial Advisor APPLICATION
                          PURSUANT TO FED. R. BANKR. P. 2014(a) FOR ORDER UNDER SECTION 1103 OF THE
                          BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT AND RETENTION OF FTI CONSULTING,
   01/22/2020             INC. AS FINANCIAL ADVIS). (Hoffman, Juliana)

                             385 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)235 Application for compensation First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the
   01/22/2020             Period From October 16, 2019 Through October 31, 2019 for Highland C). (Annable, Zachery)

                             386 (3 pgs) Certificate of No Objection filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)286 Application for compensation Second Monthly Application for Compensation and
                          for Reimbursement of Expenses for the Period from November 1, 2019 through November 30, 2019 for
   01/22/2020             Highland Capital Management, L.P., Debtor's Attorney, Period: 11/1). (Annable, Zachery)

                             387 (1 pg) Request for transcript regarding a hearing held on 1/21/2020. The requested turn-around
   01/22/2020             time is hourly. (Edmond, Michael) (Entered: 01/23/2020)

                             388 (1 pg) Certificate of service re: First Supplemental Declaration of Conor P. Tully In Support of the
                          Application Authorizing the Employment and Retention of FTI Consulting, Inc., as Financial Advisor to
                          the Official Committee of Unsecured Creditors Nunc Pro Tunc to November 6, 2019 filed by Creditor
                          Committee Official Committee of Unsecured Creditors (RE: related document(s)384 Declaration).
   01/23/2020             (Hoffman, Juliana)

                             389 (60 pgs) Application for compensation First and Final Application for Compensation and
                          Reimbursement of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as Co-Counsel for
                          Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 11/8/2019 to 1/13/2020, Fee:
                          $272,300.00, Expenses: $8,855.56. Filed by Attorney Juliana Hoffman Objections due by 2/13/2020.
   01/23/2020             (Hoffman, Juliana)

   01/23/2020                 390 (2 pgs) Supplemental Notice of the Young Conaway Stargatt & Taylor, LLP Final Fee Application
                          filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related document(s)389

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3/15/23, 9:09 Case
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                     Application for compensation First and Final Application for Compensation and Reimbursement  115of
                          Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as Co-Counsel for Official Committee of
                          Unsecured Creditors, Creditor Comm. Aty, Period: 11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses:
                          $8,855.56. Filed by Attorney Juliana Hoffman Objections due by 2/13/2020.). (Hoffman, Juliana)

                             391 (1 pg) Certificate of service re: Final Fee Application on behalf of Young Conaway Stargatt &
                          Taylor, LLP filed by Creditor Committee Official Committee of Unsecured Creditors (RE: related
                          document(s)389 Application for compensation First and Final Application for Compensation and
                          Reimbursement of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as Co-Counsel for
   01/23/2020             Official Committee of Unsecured Creditors, Creditor Comm. Aty, Perio). (Hoffman, Juliana)

                             392 (103 pgs) Application for compensation Third Monthly Application for Compensation and for
                          Reimbursement of Expenses for the Period from December 1, 2019 through December 31, 2019 for
                          Highland Capital Management, L.P., Debtor's Attorney, Period: 12/1/2019 to 12/31/2019, Fee:
                          $589,730.35, Expenses: $26,226.80. Filed by Debtor Highland Capital Management, L.P. Objections due
   01/24/2020             by 2/14/2020. (Pomerantz, Jeffrey)

   01/24/2020                393 (140 pgs) Transcript regarding Hearing Held 01/21/2020 (140 pgs.) RE: Motions. THIS
                          TRANSCRIPT WILL BE MADE ELECTRONICALLY AVAILABLE TO THE GENERAL PUBLIC 90
                          DAYS AFTER THE DATE OF FILING. TRANSCRIPT RELEASE DATE IS 04/23/2020. Until that time
                          the transcript may be viewed at the Clerk's Office or a copy may be obtained from the official court
                          transcriber. Court Reporter/Transcriber Kathy Rehling, kathyrehlingtranscripts@gmail.com, Telephone
                          number 972-786-3063. (RE: related document(s) Hearing held on 1/21/2020. (RE: related document(s)271
                          Trustee's Motion to appoint trustee filed by U.S. Trustee United States Trustee) (Appearances: J.
                          Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P. Reid, and J.
                          Hoffman for Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST; M. Platt and
                          M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A. Attarwala for UBS;
                          A. Anderson and J. Bentley (telephonically) for CLO Issuers. Evidentiary hearing. Motion denied. Debtors
                          counsel should upload a form of order consistent with the courts ruling.), Hearing held on 1/21/2020. (RE:
                          related document(s)7 Motion to Maintain Bank Accounts /Motion of the Debtor for Interim and Final
                          Orders Authorizing (A) Continuance of Existing Cash Management System and Brokerage Relationships,
                          (B) Continued Use of the Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment
                          Requirements, and (D) Granting Related Relief Filed By Highland Capital Management, L.P.
                          (Attachments: 1 Exhibit A - Interim Order) (O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #5
                          ON 10/16/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P.
                          Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert for UST;
                          M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A.
                          Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing.
                          Motion granted on a final basis. Debtors counsel should upload order.), Hearing held on 1/21/2020. (RE:
                          related document(s)177 Motion to Authorize Motion of the Debtor for Entry of an Order Authorizing the
                          Debtor to Pay and Honor Ordinary Course Obligations Under Employee Bonus Plans and Granting
                          Related Relief Filed by Highland Capital Management, L.P.. Hearing scheduled for 12/17/2019 at 11:00
                          AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections
                          due by 12/10/2019. (Attachments: # 1 Exhibit A - Proposed Order # 2 Notice) [ORIGINALLY FILED AS
                          DOCUMENT #170 ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z.
                          Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R.
                          Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer
                          Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Nonevidentiary hearing. Motion, as narrowed, granted. Debtors counsel should upload order.),
                          Hearing held on 1/21/2020. (RE: related document(s)180 Application/Motion to Employ/Retain Mercer
                          (US) Inc. as Compensation Consultant Filed by Highland Capital Management, L.P.. Hearing scheduled
                          for 12/17/2019 at 11:00 AM at US Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington,
                          Delaware. Objections due by 12/10/2019. (Attachments: # 1 Notice # 2 Exhibit A - Proposed Order # 3
                          Exhibit B - Declaration of John Dempsey in Support # 4 Exhibit C - Highland Key Employee Incentives #
                          5 Certificate of Service and Service List)(O'Neill, James) [ORIGINALLY FILED AS DOCUMENT #173
                          ON 11/26/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF DELAWARE] (Okafor, M.)
                          (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z. Annable for Debtor; D. Twomey, P.

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                     Reid, and J. Hoffman for Official Unsecured Creditors Committee; R. Patel for Acis; L. Lambert116for UST;
                          M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer Committee; K. Posin and A.
                          Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO Issuers. Nonevidentiary hearing.
                          Motion granted. Debtors counsel should upload order.), Hearing held on 1/21/2020. (RE: related
                          document(s)280 Motion for protective order Joint Motion for Entry of an Order Approving the Agreed
                          Protective Order filed by Debtor Highland Capital Management, L.P., Creditor Committee Official
                          Committee of Unsecured Creditors) (Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and
                          Z. Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee;
                          R. Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund
                          Redeemer Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for
                          CLO Issuers. Nonevidentiary hearing. Motion granted, with certain amendments as discussed on the
                          record. Debtors counsel should upload order.), Hearing held on 1/21/2020. (RE: related document(s)127
                          Motion to File Under Seal of the Omnibus Objection of the Official Committee of Unsecured Creditors to
                          the Debtors (I) Motion for Final Order Authorizing Continuance of the Existing Cash Management
                          System, (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief Restructuring
                          Officer, and (III) Precautionary Motion for Approval of Protocols for Ordinary Course Transactions Filed
                          by Official Committee of Unsecured Creditors. Hearing scheduled for 11/19/2019 at 12:00 PM at US
                          Bankruptcy Court, 824 Market St., 5th Fl., Courtroom #6, Wilmington, Delaware. Objections due by
                          11/19/2019. (Attachments: # 1 Notice # 2 Proposed Form of Order) [ORIGINALLY FILED AS
                          DOCUMENT #123 ON 11/12/2019 IN U.S. BANKRUPTCY COURT FOR THE DISTRICT OF
                          DELAWARE] (Okafor, M.)(Appearances: J. Pomerantz, J. Morris, M. Litvak, M. Hayward, and Z.
                          Annable for Debtor; D. Twomey, P. Reid, and J. Hoffman for Official Unsecured Creditors Committee; R.
                          Patel for Acis; L. Lambert for UST; M. Platt and M. Hankin (telephonically) for Crusader Fund Redeemer
                          Committee; K. Posin and A. Attarwala for UBS; A. Anderson and J. Bentley (telephonically) for CLO
                          Issuers. Nonevidentiary hearing. Motion denied for mootness. UCCs counsel should upload order.)).
                          Transcript to be made available to the public on 04/23/2020. (Rehling, Kathy)

                              394 (28 pgs) Application for compensation Second Monthly Application for Compensation and
                          Reimbursement of Expenses of Foley Gardere, Foley & Lardner LLP as Proposed Special Texas Counsel
                          to the Debtor for the Period from December 1, 2019 through December 30, 2019 for Foley Gardere, Foley
                          & Lardner LLP f/k/a Gardere Wynne Sewell LLP, Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee:
                          $143,328.50, Expenses: $2,808.29. Filed by Attorney Holland N. O'Neil Objections due by 2/14/2020.
   01/24/2020             (O'Neil, Holland)

                            395 (11 pgs; 2 docs) Motion to extend or limit the exclusivity period Filed by Debtor Highland Capital
   01/24/2020             Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order) (Annable, Zachery)

                             396 (8 pgs) Motion for expedited hearing(related documents 395 Motion to extend/shorten time)
                          (Motion for (i) Expedited Hearing on Debtor's Motion for Entry of an Order Pursuant to 11 U.S.C.
                          1121(d) and Local Rule 3016-1 Extending the Exclusivity Periods for the Filing and Solicitation of
                          Acceptances of a Chapter 11 Plan, or Alternatively, (ii) Entry of a Bridge Order Extending the Exclusivity
                          Period for the Filing of a Chapter 11 Plan Through February 19, 2020) Filed by Debtor Highland Capital
   01/24/2020             Management, L.P. (Annable, Zachery)

                             397 (17 pgs; 3 docs) Motion to enforce(Motion of the Debtor for the Entry of an Order Concerning the
                          "Sealing Motion" and for a Conference Concerning the Substance, Scope and Intent of Certain Recent
                          Rulings) (related document(s): 382 Order on motion for protective order) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Email
   01/24/2020             Correspondence) (Annable, Zachery)

                             398 (6 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)381 Order Granting
                          Application to Employ Mercer (US) Inc. as Compensation Consultant to the debtor (related document 180)
   01/24/2020             Entered on 1/22/2020. (Okafor, M.)) No. of Notices: 1. Notice Date 01/24/2020. (Admin.)

   01/24/2020               399 (8 pgs) BNC certificate of mailing - PDF document. (RE: related document(s)379 Final Order
                          Authorizing (A) Continuance of Existing Cash Management System, (B) Continued Use of the Prime
                          Account and Maxim Prime Account, (C) Limited Waiver of Section 345(b) Deposit and Investment

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                     Requirements, and (D) Granting Related Relief Filed By Highland Capital Management, L.P (related
                          document 7) Entered on 1/22/2020. (Okafor, M.)) No. of Notices: 44. Notice Date 01/24/2020. (Admin.)

                             400 (10 pgs) Certificate of service re: (Supplemental) Notice of Chapter 11 Bankruptcy Case and
                          Meeting of Creditors; to be Held on January 9, 2020 at 11:00 a.m. Filed by Claims Agent Kurtzman
                          Carson Consultants LLC (related document(s)229 Meeting of creditors 341(a) meeting to be held on
                          1/9/2020 at 11:00 AM at Dallas, Room 976. Proofs of Claims due by 4/8/2020. Attorney(s)certificate of
   01/27/2020             service of 341 meeting chapter 11 to be filed by 01/9/2020.). (Kass, Albert)

                             401 (8 pgs) Certificate of service re: Notice of Agenda of Matters Scheduled for Hearing on January
                          21, 2020 at 9:30 a.m. (Central Time) Filed by Claims Agent Kurtzman Carson Consultants LLC (related
                          document(s)368 Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30
                          a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.. filed by Debtor Highland
   01/27/2020             Capital Management, L.P.). (Kass, Albert)

                              402 (9 pgs) Certificate of service re: Documents Served on January 17, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)369 Notice (Notice of Filing of Monthly Staffing
                          Report by Development Specialists, Inc for the Period from October 16, 2019, Through November 30,
                          2019) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)342 Order granting
                          application to employ Development Specialists, Inc. to Provide a Chief Restructuring Officer, Additional
                          Personnel, and Financial Advisory and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as
                          of the Petition Date (related document 74) Entered on 1/10/2020. (Okafor, M.)). (Attachments: # 1 Exhibit
                          A--Staffing Report) filed by Debtor Highland Capital Management, L.P., 370 Joint Motion to continue
                          hearing on (related documents 68 Application to employ, 69 Application to employ)(Joint Motion for
                          Continuance of Hearing on (i) Debtor's Application for an Order Authorizing the Employment of Foley
                          Gardere, Foley & Lardner LLP as Special Texas Counsel, Nunc Pro Tunc to the Petition Date, and (ii)
                          Debtor's Application for an Order Authorizing the Retention and Employment of Lynn Pinker Cox & Hurst
                          LLP as Special Texas Litigation Counsel, Nunc Pro Tunc to the Petition Date) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Proposed Order) filed by Debtor Highland Capital
                          Management, L.P., 371 Order granting joint motion to continue hearing on (related document 370) (related
                          documents Application to employ Foley Gardere, Foley & Lardner LLP as Special Counsel, Application to
                          employ Lynn Pinker Cox & Hurst LLP as Special Counsel). ORDERED that the hearing on the
                          Applications currently scheduled for January 21, 2020 at 9:30 a.m., will be continued to a new hearing
                          date to be determined by the Parties; and it is further Entered on 1/17/2020. (Okafor, M.), 372 Witness and
                          Exhibit List (Debtor's Witness and Exhibit List in Connection with Its Opposition to Motion to Appoint a
                          Chapter 11 Trustee) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)362
   01/27/2020             Response). filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             403 (13 pgs) Certificate of service re: Documents Served on or before January 21, 2020 Filed by
                          Claims Agent Kurtzman Carson Consultants LLC (related document(s)373 Amended Notice (First
                          Amended Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central
                          Time)) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)368 Notice (Notice of
                          Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by
                          Debtor Highland Capital Management, L.P..). filed by Debtor Highland Capital Management, L.P., 374
                          Amended Notice (Second Amended Notice of Agenda of Matters Scheduled for Hearing on January 21,
                          2020 at 9:30 a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)368 Notice (Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30
                          a.m. (Central Time)) filed by Debtor Highland Capital Management, L.P.., 373 Amended Notice (First
                          Amended Notice of Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central
                          Time)) filed by Debtor Highland Capital Management, L.P. (RE: related document(s)368 Notice (Notice of
                          Agenda of Matters Scheduled for Hearing on January 21, 2020 at 9:30 a.m. (Central Time)) filed by
                          Debtor Highland Capital Management, L.P..).). filed by Debtor Highland Capital Management, L.P., 378
                          Application for compensation First Monthly Application for Compensation and Reimbursement of
                          Expenses on behalf of the Unsecured Creditors Committee for FTI Consulting, Inc., Financial Advisor,
                          Period: 11/6/2019 to 11/30/2019, Fee: $322,274.88, Expenses: $4,687.35. Filed by Attorney Juliana
   01/27/2020             Hoffman Objections due by 2/11/2020. filed by Financial Advisor FTI Consulting, Inc.). (Kass, Albert)




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            Case 3:23-cv-00573-E Document
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                             404 (11 pgs) Certificate of service re: Documents Served on January 22, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)379 Final Order Authorizing (A) Continuance of
                          Existing Cash Management System, (B) Continued Use of the Prime Account and Maxim Prime Account,
                          (C) Limited Waiver of Section 345(b) Deposit and Investment Requirements, and (D) Granting Related
                          Relief Filed By Highland Capital Management, L.P (related document 7) Entered on 1/22/2020. (Okafor,
                          M.), 380 Order Authorizing Debtor to Pay and Honor Ordinary Course Obligations Under Employee
                          Bonus Plans and Granting Related Relief Filed by Highland Capital Management, L.P. (related document
                          177) Entered on 1/22/2020. (Okafor, M.), 381 Order Granting Application to Employ Mercer (US) Inc. as
                          Compensation Consultant to the debtor (related document 180) Entered on 1/22/2020. (Okafor, M.), 382
                          Agreed Order Granting Motion for Protective Order (related document 280) Entered on 1/22/2020.
                          (Okafor, M.), 385 Certificate of No Objection filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)235 Application for compensation First Monthly Application for Compensation and
                          Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP as Counsel to the Debtor for the
                          Period From October 16, 2019 Through October 31, 2019 for Highland C). filed by Debtor Highland
                          Capital Management, L.P., 386 Certificate of No Objection filed by Debtor Highland Capital Management,
                          L.P. (RE: related document(s)286 Application for compensation Second Monthly Application for
                          Compensation and for Reimbursement of Expenses for the Period from November 1, 2019 through
                          November 30, 2019 for Highland Capital Management, L.P., Debtor's Attorney, Period: 11/1). filed by
   01/27/2020             Debtor Highland Capital Management, L.P.). (Kass, Albert)

                              405 (11 pgs) Debtor-in-possession monthly operating report for filing period 10/16/2019 to 10/31/2019
   01/27/2020             filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                              406 (10 pgs; 3 docs) Notice (Notice of Filing of Third Amended Exhibit B to Motion for an Order
                          Authorizing the Debtor to Retain, Employ, and Compensate Certain Professionals Utilized by the Debtor
                          in the Ordinary Course of Business) filed by Debtor Highland Capital Management, L.P.. (Attachments: #
   01/27/2020             1 Exhibit 1--Updated OCP List # 2 Exhibit 2--Blackline OCP List) (Annable, Zachery)

                              407 (4 pgs) Declaration re: (Disclosure Declaration of Ordinary Course Professional--Shawn Raver)
                          filed by Debtor Highland Capital Management, L.P. (RE: related document(s)176 Document). (Annable,
   01/27/2020             Zachery)

                             408 (3 pgs) Notice of hearing(Notice of Status Conference) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)397 Motion to enforce(Motion of the Debtor for the Entry of
                          an Order Concerning the "Sealing Motion" and for a Conference Concerning the Substance, Scope and
                          Intent of Certain Recent Rulings) (related document(s): 382 Order on motion for protective order) Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--
                          Email Correspondence)). Status Conference to be held on 2/19/2020 at 09:30 AM at Dallas Judge Jernigan
   01/27/2020             Ctrm. (Annable, Zachery)

                             409 (3 pgs) Order Denying as Moot the Motion of the Official Committee of Unsecured Creditors for
                          an Order Authorizing Filing Under Seal of the Omnibus Objection to the Debtor's (I) Motion for Final
                          Order Authorizing Continuance of the Existing Cash Management System, (II) Motion to Employ and
                          Retain Development Specialists, Inc. to Provide a Chief Restructuring Officer, and (III) Precautionary
                          Motion for Approval of Protocols for "Ordinary Course" Transactions (RE: related document(s) 128
                          Document and 127 Motion ). Entered on 1/28/2020 (Okafor, M.). Modified linkage on 2/11/2020 (Okafor,
   01/28/2020             M.).

                             410 (3 pgs) Bridge Order extending the exclusivity periods for filing Chapter 11 Plan and granting
                          motion for expedited hearing (Related Doc# 396)(document set for hearing: 395 Motion to extend/shorten
                          time) Hearing to be held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 395, Entered on
   01/28/2020             1/28/2020. (Okafor, M.)

                            411 (2 pgs) Notice of Appearance and Request for Notice by Shawn M. Christianson Filed by Creditor
   01/28/2020             Oracle America, Inc.. (Christianson, Shawn)


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                             412 (3 pgs) Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related
                          document(s)395 Motion to extend or limit the exclusivity period Filed by Debtor Highland Capital
                          Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 2/19/2020 at
   01/28/2020             09:30 AM Dallas Judge Jernigan Ctrm for 395, (Annable, Zachery)

                             413 (5 pgs) Certificate of service re: 1) First and Final Application of Young Conaway Stargatt &
                          Taylor, LLP as Co- Counsel for the Official Committee of Unsecured Creditors for Allowance of
                          Compensation and Reimbursement of Expenses Incurred for the First and Final Period from November 8,
                          2019 Through and Including January 13, 2020; 2) Notice of First and Final Application of Young
                          Conaway Stargatt & Taylor, LLP as Co-Counsel for the Official Committee of Unsecured Creditors for
                          Allowance of Compensation and Reimbursement of Expenses Incurred for the First and Final Period from
                          November 8, 2019 Through and Including January 13, 2020 Filed by Claims Agent Kurtzman Carson
                          Consultants LLC (related document(s)389 Application for compensation First and Final Application for
                          Compensation and Reimbursement of Expenses on behalf of Young Conaway Stargatt & Taylor, LLP as
                          Co-Counsel for Official Committee of Unsecured Creditors, Creditor Comm. Aty, Period: 11/8/2019 to
                          1/13/2020, Fee: $272,300.00, Expenses: $8,855.56. Filed by Attorney Juliana Hoffman Objections due by
                          2/13/2020. filed by Creditor Committee Official Committee of Unsecured Creditors, 390 Supplemental
                          Notice of the Young Conaway Stargatt & Taylor, LLP Final Fee Application filed by Creditor Committee
                          Official Committee of Unsecured Creditors (RE: related document(s)389 Application for compensation
                          First and Final Application for Compensation and Reimbursement of Expenses on behalf of Young
                          Conaway Stargatt & Taylor, LLP as Co-Counsel for Official Committee of Unsecured Creditors, Creditor
                          Comm. Aty, Period: 11/8/2019 to 1/13/2020, Fee: $272,300.00, Expenses: $8,855.56. Filed by Attorney
                          Juliana Hoffman Objections due by 2/13/2020.). filed by Creditor Committee Official Committee of
   01/29/2020             Unsecured Creditors). (Kass, Albert)

                             414 (11 pgs) Certificate of service re: Documents Served on January 24, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)392 Application for compensation Third Monthly
                          Application for Compensation and for Reimbursement of Expenses for the Period from December 1, 2019
                          through December 31, 2019 for Highland Capital Management, L.P., Debtor's Attorney, Period: 12/1/2019
                          to 12/31/2019, Fee: $589,730.35, Expenses: $26,226.80. Filed by Debtor Highland Capital Management,
                          L.P. Objections due by 2/14/2020. filed by Debtor Highland Capital Management, L.P., 394 Application
                          for compensation Second Monthly Application for Compensation and Reimbursement of Expenses of Foley
                          Gardere, Foley & Lardner LLP as Proposed Special Texas Counsel to the Debtor for the Period from
                          December 1, 2019 through December 30, 2019 for Foley Gardere, Foley & Lardner LLP f/k/a Gardere
                          Wynne Sewell LLP, Special Counsel, Period: 12/1/2019 to 12/31/2019, Fee: $143,328.50, Expenses:
                          $2,808.29. Filed by Attorney Holland N. O'Neil Objections due by 2/14/2020. (O'Neil, Holland), 395
                          Motion to extend or limit the exclusivity period Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order) filed by Debtor Highland Capital Management, L.P., 396
                          Motion for expedited hearing(related documents 395 Motion to extend/shorten time) (Motion for (i)
                          Expedited Hearing on Debtor's Motion for Entry of an Order Pursuant to 11 U.S.C. 1121(d) and Local
                          Rule 3016-1 Extending the Exclusivity Periods for the Filing and Solicitation of Acceptances of a Chapter
                          11 Plan, or Alternatively, (ii) Entry of a Bridge Order Extending the Exclusivity Period for the Filing of a
                          Chapter 11 Plan Through February 19, 2020) Filed by Debtor Highland Capital Management, L.P. filed
                          by Debtor Highland Capital Management, L.P., 397 Motion to enforce(Motion of the Debtor for the Entry
                          of an Order Concerning the "Sealing Motion" and for a Conference Concerning the Substance, Scope and
                          Intent of Certain Recent Rulings) (related document(s): 382 Order on motion for protective order) Filed by
                          Debtor Highland Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--
   01/29/2020             Email Correspondence) filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

   01/30/2020                 415 (10 pgs) Certificate of service re: Documents Served on January 27, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)406 Notice (Notice of Filing of Third Amended
                          Exhibit B to Motion for an Order Authorizing the Debtor to Retain, Employ, and Compensate Certain
                          Professionals Utilized by the Debtor in the Ordinary Course of Business) filed by Debtor Highland Capital
                          Management, L.P.. (Attachments: # 1 Exhibit 1--Updated OCP List # 2 Exhibit 2--Blackline OCP List)
                          filed by Debtor Highland Capital Management, L.P., 407 Declaration re: (Disclosure Declaration of
                          Ordinary Course Professional--Shawn Raver) filed by Debtor Highland Capital Management, L.P. (RE:
                          related document(s)176 Document). filed by Debtor Highland Capital Management, L.P., 408 Notice of
                          hearing(Notice of Status Conference) filed by Debtor Highland Capital Management, L.P. (RE: related

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3/15/23, 9:09 Case
              AM 19-34054-sgj11 Doc 3685 U.S.       Filed 03/15/23
                                                       Bankruptcy          Entered
                                                                  Court - Northern       03/15/23
                                                                                   District of Texas 14:13:54 Desc
            Case 3:23-cv-00573-E     Document
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                     document(s)397 Motion to enforce(Motion of the Debtor for the Entry of an Order Concerning 120
                                                                                                                 the
                          "Sealing Motion" and for a Conference Concerning the Substance, Scope and Intent of Certain Recent
                          Rulings) (related document(s): 382 Order on motion for protective order) Filed by Debtor Highland
                          Capital Management, L.P. (Attachments: # 1 Exhibit A--Proposed Order # 2 Exhibit B--Email
                          Correspondence)). Status Conference to be held on 2/19/2020 at 09:30 AM at Dallas Judge Jernigan Ctrm.
                          filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             416 (6 pgs) Certificate of service re: Documents Served on January 28, 2020 Filed by Claims Agent
                          Kurtzman Carson Consultants LLC (related document(s)409 Order Denying as Moot the Motion of the
                          Official Committee of Unsecured Creditors for an Order Authorizing Filing Under Seal of the Omnibus
                          Objection to the Debtor's (I) Motion for Final Order Authorizing Continuance of the Existing Cash
                          Management System, (II) Motion to Employ and Retain Development Specialists, Inc. to Provide a Chief
                          Restructuring Officer, and (III) Precautionary Motion for Approval of Protocols for "Ordinary Course"
                          Transactions (RE: related document(s) 128 Document). Entered on 1/28/2020 (Okafor, M.), 410 Bridge
                          Order extending the exclusivity periods for filing Chapter 11 Plan and granting motion for expedited
                          hearing (Related Doc396)(document set for hearing: 395 Motion to extend/shorten time) Hearing to be
                          held on 2/19/2020 at 09:30 AM Dallas Judge Jernigan Ctrm for 395, Entered on 1/28/2020. (Okafor, M.),
                          412 Notice of hearing filed by Debtor Highland Capital Management, L.P. (RE: related document(s)395
                          Motion to extend or limit the exclusivity period Filed by Debtor Highland Capital Management, L.P.
                          (Attachments: # 1 Exhibit A--Proposed Order)). Hearing to be held on 2/19/2020 at 09:30 AM Dallas
   01/30/2020             Judge Jernigan Ctrm for 395, filed by Debtor Highland Capital Management, L.P.). (Kass, Albert)

                             417 (47 pgs) Notice (Notice of Filing of Monthly Staffing Report by Development Specialists, Inc. for
                          the Period from December 1, 2019 through December 31, 2019) filed by Debtor Highland Capital
                          Management, L.P. (RE: related document(s)342 Order granting application to employ Development
                          Specialists, Inc. to Provide a Chief Restructuring Officer, Additional Personnel, and Financial Advisory
                          and Restructuring-Related Services for Such Debtor, Nunc Pro Tunc as of the Petition Date (related
   01/31/2020             document 74) Entered on 1/10/2020. (Okafor, M.)). (Annable, Zachery)

                            418 (9 pgs) Debtor-in-possession monthly operating report for filing period December 1, 2019 to
   01/31/2020             December 31, 2019 filed by Debtor Highland Capital Management, L.P.. (Annable, Zachery)

                             419 (10 pgs; 2 docs) Motion to extend time to (Agreed Motion to Extend by One Hundred Twenty
                          Days the Deadline to Assume or Reject Unexpired Nonresidential Real Property Lease) Filed by Debtor
   01/31/2020             Highland Capital Management, L.P. (Attachments: # 1 Proposed Order) (Annable, Zachery)

                             420 (82 pgs; 3 docs) Application for compensation Second Monthly Application of Sidley Austin LLP
                          for Allowance of Compensation and Reimbursement of Expenses for Official Committee of Unsecured
                          Creditors, Creditor Comm. Aty, Period: 12/1/2019 to 12/31/2019, Fee: $702,665.28, Expenses:
                          $30,406.08. Filed by Attorney Juliana Hoffman, Creditor Committee Official Committee of Unsecured
                          Creditors Objections due by 2/21/2020. (Attachments: # 1 Exhibit A Fee Statement # 2 Exhibit B Expense
   01/31/2020             Detail




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